Case 22-11068-JTD   Doc 3724-4   Filed 11/12/23   Page 1 of 179




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              22-11068-JTD
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                                                                     179 Document
                                  Pg 1 of 178
                                                                          Page 1

      1      UNITED STATES BANKRUPTCY COURT

      2      SOUTHERN DISTRICT OF NEW YORK

      3      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

      4      In the Matter of:

      5

      6      PURDUE PHARMA L.P., ET AL.                      Case No. 19-23649-rdd

      7

      8                     Debtors.

      9      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

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     12                          U.S. Bankruptcy Court

     13                          300 Quarropas Street

     14                          White Plains, New York 10601

     15

     16                          November 19, 2019

     17                          10:31 AM

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     22      B E F O R E :

     23      HON ROBERT D. DRAIN

     24      U.S. BANKRUPTCY JUDGE

     25      ECRO:       NAROTAM RAI

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                                           Filed11/27/19
                                                 11/12/2310:48:17
                                                           Page 3 ofMain
                                                                     179 Document
                                  Pg 2 of 178
                                                                           Page 2

      1      Notice of Agenda for November 19, 2019 Hearing

      2

      3      Motion of Debtors for Entry of an Order (I) Authorizing the

      4      Rejection of Commercial Lease and (II) Granting Related

      5      Relief filed by Eli J. Vonnegut on behalf of Purdue Pharma

      6      L.P. (ECF 435)

      7

      8      Motion of Debtors for Authority to Employ Professionals Used

      9      in the Ordinary Course of Business Nunc Pro Tune to the

     10      Petition Date filed by Eli J. Vonnegut on behalf of Purdue

     11      Pharma L.P. (ECF 128)

     12

     13      Debtors' Motion Establishing Procedures for Interim

     14      Compensation and Reimbursement of Expenses for Retained

     15      Professionals filed by Eli J. Vonnegut on behalf of Purdue

     16      Pharma L.P. (ECF 434)

     17

     18      Application of Debtors for Authority to Retain and Employ

     19      Dechert LLP as Special Counsel to the Debtors Nunc Pro Tune

     20      to the Petition Date filed by Eli J. Vonnegut on behalf of

     21      Purdue Pharma L.P. (ECF 424)

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                             Doc 3724-4Entered
                                           Filed11/27/19
                                                 11/12/2310:48:17
                                                           Page 4 ofMain
                                                                     179 Document
                                  Pg 3 of 178
                                                                           Page 3

      1      Application of Debtors for Authority to Retain and Employ

      2      King & Spalding LLP as Special Counsel to the Debtors Nunc

      3      Pro Tune to the Petition Date filed by Eli J. Vonnegut on

      4      behalf of Purdue Pharma L.P. (ECF 427)

      5

      6      Debtors' Application for Authority to Retain and Employ

      7      AlixPartners, LLP as Financial Advisor Nunc Pro Tune to the

      8      Petition Date filed by Eli J. Vonnegut on behalf of Purdue

      9      Pharma L.P. (ECF 429)

     10

     11      Debtors' Application for an Order Authorizing Employment and

     12      Retention of Prime Clerk LLC as Administrative Advisor Nunc

     13      Pro Tune to the Petition Date filed by Eli J. Vonnegut on

     14      behalf of Purdue Pharma L.P. (ECF 439)

     15

     16      Application of the Official Committee of Unsecured Creditors

     17      of Purdue Pharma L.P., et al. to Retain and Employ Akin Gump

     18      Strauss Hauer & Feld LLP as Counsel, Nunc Pro Tune to

     19      September 26, 2019 filed by Ira S. Dizengoff on behalf of

     20      The Official Committee of Unsecured Creditors of Purdue

     21      Pharma L.P., et al. (ECF 421)

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                                           Filed11/27/19
                                                 11/12/2310:48:17
                                                           Page 5 ofMain
                                                                     179 Document
                                  Pg 4 of 178
                                                                           Page 4

      1      Application of the Official Committee of Unsecured Creditors

      2      for Entry of an Order Authorizing Retention and Employment

      3      of Bayard, P.A. as Efficiency Counsel to the Official

      4      Committee of Unsecured Creditors, Nunc Pro Tune to September

      5      29, 2019 filed by Ira S. Dizengoff on behalf of The Official

      6      Committee of Unsecured Creditors of Purdue Pharma L.P., et

      7      al. (ECF 422)

      8

      9      Application of the Official Committee of Unsecured Creditors

     10      of Purdue Pharma L.P., et al. to Retain and Employ Province,

     11      Inc. as Financial Advisor Nunc Pro Tune to October 1, 2019

     12      filed by Ira S. Dizengoff on behalf of The Official

     13      Committee of Unsecured Creditors of Purdue Pharma L.P, et

     14      al. (ECF 423)

     15

     16      Application for Order Authorizing Employment and Retention

     17      of Jefferies LLC as Investment Banker to the Official

     18      Committee of Unsecured Creditors Nunc Pro Tune to October 4,

     19      2019 filed by Ira S. Dizengoff on behalf of The Official

     20      Committee of Unsecured Creditors of Purdue Pharma L.R, et

     21      al. (ECF 425)

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                                                 11/12/2310:48:17
                                                           Page 6 ofMain
                                                                     179 Document
                                  Pg 5 of 178
                                                                           Page 5

      1      Application of the Official Committee of Unsecured Creditors

      2      of Purdue Pharma L.P., et al. to Retain and Employ Kurtzman

      3      Carson Consultants LLC as Information Agent, Nunc Pro Tune

      4      to November 1, 2019 filed by Ira S. Dizengoff on behalf of

      5      The Official Committee of Unsecured Creditors of Purdue

      6      Pharma L.R, et al. (ECF 426)

      7

      8      Motion of the Official Committee of Unsecured Creditors of

      9      Purdue Pharma L.R, et al. for Entry of an Order Clarifying

     10      the Requirement to Provide Access to Confidential or

     11      Privileged Information and Approving a Protocol Regarding

     12      Creditor Requests for Information filed by Ira S. Dizengoff

     13      on behalf of The Official Committee of Unsecured Creditors

     14      of Purdue Pharma L.R, et al. (ECF 415)

     15

     16      Motion of Debtors for Entry of Interim and Final Orders

     17      Authorizing (I) Debtors to Continue to Use Existing Cash

     18      Management Systems and Maintain Existing Bank Accounts and

     19      Business Forms and (II) Financial Institutions to Honor and

     20      Process Related Checks and Transfers filed by Eli J.

     21      Vonnegut on behalf of Purdue Pharma L.R (ECF 5)

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                                                 11/12/2310:48:17
                                                           Page 7 ofMain
                                                                     179 Document
                                  Pg 6 of 178
                                                                           Page 6

      1      Application of Debtors for Authority to Employ and Retain

      2      Davis Polk & Wardwell LLP as Attorneys for the Debtors Nunc

      3      Pro Tune to the Petition Date filed by Eli J. Vonnegut on

      4      behalf of Purdue Pharma L.R (ECF 419)

      5

      6      Application of Debtors for Authority to Retain and Employ

      7      Skadden, Arps, Slate, Meagher & Flom LLP as Special Counsel

      8      to the Debtors Nimc Pro Tune to the Petition Date filed by

      9      Eli J. Vonnegut on behalf of Purdue Pharma L.R (ECF 438)

     10

     11      Application of Debtors for Authority to Retain and Employ

     12      Wilmer Cutler Pickering Hale and Dorr LLP as Special Counsel

     13      to the Debtors Nunc Pro Tune to the Petition Date filed by

     14      Eli J. Vonnegut on behalf of Purdue Pharma L.R (ECF 427)

     15

     16      Motion to Assume the Prepetition Reimbursement Agreement

     17      with Ad Hoc Committee, and to Pay the Fees and Expenses of

     18      the Ad Hoc Committee's Professionals filed by Eli J.

     19      Vonnegut on behalf of Purdue Pharma L.P. (ECF 394)

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                                                 11/12/2310:48:17
                                                           Page 8 ofMain
                                                                     179 Document
                                  Pg 7 of 178
                                                                           Page 7

      1      Motion of Debtors for Entry of an Order Authorizing (I)

      2      Debtors to (A) Pay PrePetition Wages, Salaries, Employee

      3      Benefits and Other Compensation and (B) Maintain Employee

      4      Benefits Programs and Pay Related Administrative

      5      Obligations, (II) Employees and Retirees to Proceed with

      6      Outstanding Workers' Compensation Claims and (III) Financial

      7      Institutions to Honor and Process Related Checks and

      8      Transfers filed by Eli J. Vonnegut on behalf of Purdue

      9      Pharma L.P. (ECF 6)

     10

     11      Debtors' Application for Authority to Employ PIT Partners LP

     12      as Investment Banker Nunc Pro Tune to the Petition Date

     13      filed by Eli J. Vonnegut on behalf of Purdue Pharma L.P.

     14      (ECF 430)

     15

     16      Debtors' Application to Employ Ernst & Young as its Auditor,

     17      Nunc Pro Tune to the Petition Date filed by Eli J. Vonnegut

     18      on behalf of Purdue Pharma L.P. (ECF 432)

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     25      Transcribed by:    Sherri L. Breach & Penny Skaw

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                                                 11/12/2310:48:17
                                                           Page 9 ofMain
                                                                     179 Document
                                  Pg 8 of 178
                                                                          Page 8

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                                                          Page 10 of
                                                                  Main
                                                                     179Document
                                 Pg 9 of 178
                                                                         Page 9

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                                                          Page 11 of
                                                                  Main
                                                                     179Document
                                Pg 10 of 178
                                                                        Page 10

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     17      BY:   KATHERINE PORTER, ESQ.

     18            ARIK PREIS, ESQ.

     19            SARA BRAUNER, ESQ.

     20            MITCHELL HURLEY, ESQ.

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     22      BAYARD, P.A.

     23            Attorneys for Official Creditors' Committee

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     25      BY:   JUSTIN ALBERTO, ESQ.

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                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 12 of
                                                                  Main
                                                                     179Document
                                Pg 11 of 178
                                                                        Page 11

      1      MARTZELL BICKFORD & CENTOLA

      2            Attorneys for NAS Ad Hoc Committee

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                                               11/12/23 10:48:17
                                                          Page 13 of
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                                Pg 12 of 178
                                                                       Page 12

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     10              Attorneys for U.S. Trustee

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     12              New York, New York 10014

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     15              BRIAN MASUMOTO, ESQ.

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        Case 22-11068-JTD
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                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 14 of
                                                                  Main
                                                                     179Document
                                Pg 13 of 178
                                                                             Page 13

      1                                 P R O C E E D I N G S

      2                    THE CLERK:     Please be seated,

      3                    THE COURT:     Good morning.       In re: Purdue Pharma

      4      L.P., et al.

      5                    And before we start, let me apologize for the

      6      delay.      They were apparently impaneling a grand jury today,

      7      so there was a long line before everyone present added to

      8      the line, which delayed the security process.

      9                    Okay.   So I have the amended agenda.

     10                    MR. HUEBNER:     I'm going to say that.       Your Honor,

     11      Mr. Preis asked to address two things quickly which I, of

     12      course, acceded to.

     13                    THE COURT:     Okay.

     14                    MR. PREIS:     Okay.     Good morning, Your Honor.    Arik

     15      Preis from Akin, Gump, Strauss, Hauer & Feld on behalf of

     16      the creditors' committee.            I just wanted to address two

     17      things because you will quickly understand why I want to do

     18      this before the hearing starts.

     19                    Late on -- when we submitted our response to the

     20      motion to assume the reimbursement agreement, we had

     21      indicated that the State of Maryland was added as an ex

     22      officio member to our creditors' committee.              That was true

     23      at the time.      They had accepted.

     24                    As of Saturday night, they have decided to

     25      withdraw.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 15 of
                                                                  Main
                                                                     179Document
                                Pg 14 of 178
                                                                             Page 14

      1                  THE COURT:     Okay.

      2                  MR. PREIS:     I didn't want to file something on the

      3      docket and then have -- then have some sort of colloquy in

      4      front of the judge where Maryland had to respond.

      5                  I actually -- I know that they were outside.            They

      6      actually may not be in the room yet.            But I didn't want

      7      there to be any confusion today in case it came up --

      8                  THE COURT:     Okay.

      9                  MR. PREIS:     But we did not have a chance to file

     10      something on the docket taking that off.              Okay.

     11                  THE COURT:     That's fine.

     12                  MR. PREIS:     The second thing, just very quickly,

     13      Your Honor, one of our creditor committee individual members

     14      is here today, Ms. Cheryl Shulayer (ph).              She just wanted to

     15      -- we just wanted to introduce her.

     16                  THE COURT:     Okay.

     17                  MR. PREIS:     That's all.

     18                  THE COURT:     Good morning.

     19                  MR. PREIS:     Thank you.

     20                  MR. HUEBNER:     Good morning, Your Honor.         May it

     21      please the Court, Marshall Huebner, of the law firm of Davis

     22      Polk & Wardwell, here on behalf of the debtors.

     23                  Your Honor, let me begin with a piece of good

     24      news, which is actually not apparent on the docket, but an

     25      email should be on its way to chambers almost literally as

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 16 of
                                                                  Main
                                                                     179Document
                                Pg 15 of 178
                                                                            Page 15

      1      we speak, which is we have actually reached agreement with

      2      all parties on the form of injunction order.

      3                  Your Honor, may remember I described a double exit

      4      ramp where on two dates, on December 19th and February 21st,

      5      the dissenting states as it were could choose to flip from

      6      being voluntarily bound to the terms of the injunction to

      7      being involuntarily bound and, thereby, triggering an appeal

      8      right.

      9                  THE COURT:     Right.

     10                  MR. HUEBNER:     The mechanic that actually, I and I

     11      think Ms. Finer (ph) as well described on the docket to you

     12      last week ended up working just fine.             It took us a few days

     13      to get the language right because, you know, everyone likes

     14      their own drafting.      But that is now done done and it is on

     15      the way into court.

     16                  And I don't want to let that actually go too

     17      quickly because I think it is worth noting for a moment that

     18      the fact that with the exception of the two counties -- Your

     19      Honor may remember there was one very specific lawsuit, but

     20      I think we were all quite surprised when someone stood up

     21      out of the blue having not spoken at all at the earlier

     22      hearing and made a big speech.

     23                  With that one exception, which I think is a very

     24      small exception, the fact that essentially now every state

     25      in the union that potentially has police powers that they

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 17 of
                                                                  Main
                                                                     179Document
                                Pg 16 of 178
                                                                           Page 16

      1      alleged might be exempt from the automatic stay has

      2      voluntarily consented to an injunction that may go as long

      3      as April 8th.      But at a minimum will go at least as long

      4      voluntarily until either December 19th or February 21st.

      5      It's just a tremendous accomplishment and not a place that I

      6      thought that we would be.

      7                    And so, you know, I know that, you know, we

      8      promised you on the opening day of the case, as we feel very

      9      passionate about, that we worked day and night and night and

     10      day to settle everything that we possibly can.         I am

     11      obviously not unaware that we have two smaller contested

     12      matters and one large contested matter on for today, but I

     13      also don't want that to mask the tremendous underlying

     14      progress that (indiscernible) made on issues large and

     15      small.      There is a lot going on behind the scenes with many

     16      of the parties in this courtroom, even ones with whom we are

     17      constrained to litigate against today that we believe are

     18      advancing the ball.      It's not appropriate for me to talk

     19      about what those things are in terms of documents or

     20      stipulations or diligence or meetings because that is work

     21      that should be behind the scenes.

     22                    But, obviously, the injunction which is what we

     23      had aspired to really starting to months and months before

     24      the case to give us all an initial window to try to progress

     25      this in a very unusual and, you know, materially less

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 18 of
                                                                  Main
                                                                     179Document
                                Pg 17 of 178
                                                                           Page 17

      1      litigious case that I think anybody could possibly have

      2      imagined is actually proceeding exactly as we had hoped.

      3                  THE COURT:     All right.      That's very positive and

      4      relevant.    So is that going to be in the form of an amended

      5      order?

      6                  MR. HUEBNER:     Yes.    Yeah.     There's a supplemental

      7      order that build -- it -- the way the order that we

      8      submitted on November 6th worked, it sort of bridged, you

      9      know, there was a footnote that said, the following parties

     10      agree to voluntarily comply, essentially until we submit the

     11      order which we hope will have the (indiscernible).            There's

     12      now an order that does it all.          So there will be one amended

     13      order, just like there was after the October 11tgh hearing

     14      when, a week later, we got the full list of --

     15                  THE COURT:     Right.

     16                  MR. HUEBNER:     -- interim voluntary compliers and

     17      we sent in an order.       So this order will do it all and,

     18      frankly, you may never need to enter another one because if

     19      the voluntary compliance does not terminate by filing a

     20      notice of termination on the docket, this order actually

     21      runs till April.

     22                  THE COURT:     All right.

     23                  MR. HUEBNER:     So it's done, done.

     24                  THE COURT:     Okay.    And then I guess one other

     25      point I wanted to raise with you.            The stipulation with the

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 19 of
                                                                  Main
                                                                     179Document
                                Pg 18 of 178
                                                                         Page 18

      1      creditors' committee and various shareholders --

      2                  MR. HUEBNER:     Uh-huh.

      3                  THE COURT:     -- and companies was noticed for

      4      presentment.    I think the objection date has passed.

      5                  MR. HUEBNER:     Yes.    I believe --

      6                  THE COURT:     Is --

      7                  MR. HUEBNER:     -- it was actually yesterday, Your

      8      Honor.

      9                  THE COURT:     So will you be sending that to me

     10      also?

     11                  MR. HUEBNER:     Yes.    The answer is yes.   There's

     12      actually one thing that someone asked me to clarify with

     13      them and just in the frenzy of preparing for this we weren't

     14      able to do that.    I think it works just perfectly and we'll

     15      probably send it in some -- someone will -- someone at Davis

     16      Polk please remind me to make sure we take care of that when

     17      this hearing is over.       And that should, I believe, be ready

     18      for entry as well, another milestone and maybe I should have

     19      listed as yet another thing I think is atypical and quite

     20      important to try and help us all proceed rationally in an

     21      almost impossibly difficult and complex situation.

     22                  THE COURT:     Okay.

     23                  MR. HUEBNER:     With that, Your Honor, the -- I

     24      think it probably makes sense to just knock out the

     25      uncontested matters first so that we can get them out of the

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 20 of
                                                                  Main
                                                                     179Document
                                Pg 19 of 178
                                                                             Page 19

      1      way and ensure that the Court does not have any questions.

      2      And I would turn the podium over to my colleague, Dylon

      3      Consla, for that.

      4                  MR. CONSLA:    Good morning, Your Honor.

      5                  THE COURT:    Good morning.

      6                  MR. CONSLA:    So I'll try and move through the

      7      uncontested matters quickly here.

      8                  THE COURT:    Sure.

      9                  MR. CONSLA:    So the first item on the agenda is

     10      the commercial lease projection, Docket Entry Number 435.

     11      There were no objections and we filed a CNO at Docket Number

     12      507.   So unless there are any questions we would ask that

     13      that relief be granted.

     14                  THE COURT:    This is the lease in Princeton?

     15                  MR. CONSLA:    That's correct.

     16                  THE COURT:    All right.      Where the property was

     17      turned over towards the end of September?

     18                  MR. CONSLA:    That's right, yeah, as of the date

     19      that we're seeking to reject as of.           It was vacated.

     20                  THE COURT:    Okay.    I'll grant that motion which,

     21      as you say, is unopposed and supported by good business

     22      reasons.    So you can email that order to chambers.

     23                  MR. CONSLA:    Thank you.

     24                  The next item on the docket is the ordinary course

     25      professionals' motion.      This is Agenda Item Number 2, Docket

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 21 of
                                                                  Main
                                                                     179Document
                                Pg 20 of 178
                                                                        Page 20

      1      Entry 128.

      2                   So in this case after extensive discussions with

      3      the committee and the ad hoc group, we filed a proposed

      4      revised form of order last night with admittedly fairly

      5      extensive changes, but the result of that negotiation we

      6      think addressed all of the issues.

      7                   I have a blackline to hand up if you --

      8                   THE COURT:     Well, I -- this is the same version

      9      that was sent to chambers yesterday, I believe.

     10                   MR. CONSLA:     Correct.

     11                   THE COURT:     So I have that.

     12                   MR. CONSLA:     Okay.

     13                   THE COURT:     So does anyone have anything further

     14      to say on this motion?

     15                   Okay.   I guess the one -- the order talks about

     16      disclosure in connection with former representation or

     17      current representation of shareholders.

     18                   MR. CONSLA:     That's right.

     19                   THE COURT:     I'm not sure the form actually pulls

     20      that up, the form that's attached, the disclosure form.

     21                   MR. CONSLA:     You're looking to Question 9 in the

     22      questionnaire?

     23                   THE COURT:     Well, maybe I just missed it.

     24                   MR. CONSLA:     Here.      I'm --

     25                   THE COURT:     It is there?         Okay.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 22 of
                                                                  Main
                                                                     179Document
                                Pg 21 of 178
                                                                                Page 21

      1                   MR. CONSLA:     It's at the very, very end.           I think

      2      if you flip to literally the last page.

      3                   THE COURT:     Oh, yeah.        You did.     Oh, so -- okay.

      4      I was looking at the old form.              But you added that question.

      5                   MR. CONSLA:     Yeah.        That's right.     Can I hand up a

      6      blackline if you don't have --

      7                   THE COURT:     No.     No.     I have it.     I just --

      8                   MR. CONSLA:     Okay.

      9                   THE COURT:     I just -- I stopped at the order.

     10                   MR. CONSLA:     Yeah.

     11                   THE COURT:     Okay.     Thank you.

     12                   MR. CONSLA:     Yeah.

     13                   THE COURT:     So I'll grant the motion.

     14                   MR. CONSLA:     Okay.        Thank you, Your Honor.

     15                   THE COURT:     Okay.

     16                   MR. CONSLA:     So I would turn back to the remainder

     17      of the agenda.

     18                   So the next item is the interim compensation

     19      motion.     In this case we also -- that's -- sorry.              That's

     20      Docket Number 434.        We filed a CNO at Docket Number 510.

     21      The CNO attaches a revised order that has literally one

     22      change to one number; that is, changing the period after the

     23      45 days to submit fee applications to scheduling a hearing

     24      from 45 days to a 30 days for people to review at that

     25      point, and all the relevant parties agreed to that.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 23 of
                                                                  Main
                                                                     179Document
                                Pg 22 of 178
                                                                         Page 22

      1                   So we would -- unless Your Honor has any

      2      questions, of course, respectfully ask that that motion be

      3      granted.

      4                   THE COURT:    Okay.    Does anyone have anything to

      5      say on this motion?

      6                   All right.    Based on my review of it, it's

      7      consistent with similar interim compensation motions that my

      8      colleagues have entered over the years consistently in cases

      9      of this size.

     10                   There's no cash collateral order here, so there

     11      isn't the same need to monitor cash as per a carve-out or a

     12      budget.     But on the other hand, I think it's worthwhile to

     13      have key parties in interest reviewing the fees every month

     14      to make sure no one's going off the deep end or even the --

     15      you know, exceeding what they should be doing as far as

     16      expectations.     So I think it's worthwhile to have this

     17      procedure here.

     18                   So I'll grant the motion.

     19                   MR. CONSLA:    Thank you, Your Honor.

     20                   So the next items on the agenda are retention

     21      applications for both the debtors and then for the committee

     22      professionals.     So I would ask to preference.      Should I walk

     23      through those individually or would you prefer to consider

     24      them as a group?

     25                   THE COURT:    Well, I have reviewed each of them and

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 24 of
                                                                  Main
                                                                     179Document
                                Pg 23 of 178
                                                                         Page 23

      1      I can tell you I have -- I appreciate -- and these are the

      2      uncontested ones.

      3                  MR. CONSLA:     The uncontested ones.     Correct.     The

      4      contested ones are later in the agenda.

      5                  THE COURT:     Right.

      6                  I really only have two -- one question and one

      7      issue.

      8                  MR. CONSLA:     Uh-huh.

      9                  THE COURT:     Let's put it that way.     On the law

     10      firms which include Dechert, King & Spalding for the

     11      debtors, and Akin Gump and Bayard for the committee, I only

     12      had one question, which is -- which I'll preface by saying I

     13      actually welcome the notion that the committee decided to

     14      hire Bayard not as a conflicts counsel, but as an efficiency

     15      counsel, which is, I think, a nice way of saying a less

     16      expensive counsel for matters that are appropriate.

     17                  But as far as the services that Bayard is

     18      rendering, and I appreciate that they acknowledge that

     19      they'll be doing the best they can not to duplicate efforts,

     20      some are listed as being requested by Akin Gump and the

     21      committee, some are listed as assisting Akin Gump and the

     22      committee, and some are listed as working in conjunction

     23      with Akin Gump and the committee.

     24                  And I'm just not sure what -- is there any real

     25      distinction there?       I mean, how are they getting their

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 25 of
                                                                  Main
                                                                     179Document
                                Pg 24 of 178
                                                                             Page 24

      1      assignments.    That's really my question.            So that there's

      2      some control over avoiding duplication of effort and they

      3      know what they're supposed to be doing and they're tasked to

      4      do it.

      5                  MR. ALBERTO:     May I address that?

      6                  THE COURT:     Sure.

      7                  MR. ALBERTO:     Justin Alberton from Bayard,

      8      proposed co-counsel to the committee or efficiency counsel

      9      as Your Honor just mentioned.

     10                  When we drafted this agenda, we were still -- or

     11      excuse me, when we drafted this application we were still

     12      working through proposed assignments and division of labor

     13      issues with Akin Gump.

     14                  If Your Honor were to look at the agenda for

     15      today, so as an example, there are things like the ordinary

     16      course professionals motion, interim comp, and other various

     17      retention issues that my firm has handled.              And we have

     18      strived over the course of the last 45 days to make sure

     19      that things that Akin Gump is handling Bayard is not, and

     20      vice versa.

     21                  THE COURT:     So is there some coordinating person

     22      at each firm that basically --

     23                  MR. ALBERTO:     That's been Mr. Preis and myself,

     24      Your Honor.

     25                  THE COURT:     Okay.    So you just -- when something

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 26 of
                                                                  Main
                                                                     179Document
                                Pg 25 of 178
                                                                              Page 25

      1      is filed on the docket or the committee wants somebody to

      2      look at it, you two speak to each other and --

      3                  MR. ALBERTO:     That's absolutely right.          And we

      4      don't act without speaking to Mr. Preis first.

      5                  THE COURT:     Okay.    All right.        That's probably the

      6      only person in his life that's like that, but --

      7            (Laughter)

      8                  MR. ALBERTO:     It's been a fun 45 days.

      9                  THE COURT:     So that's fine.        And, again, the

     10      assignment is something I welcome.

     11                  So I'll grant the application as well as the other

     12      attorneys' applications.        I think we should amend the order

     13      just to reflect what was stated on the record as far as, you

     14      know, the division order.

     15                  MR. ALBERTO:     We can do that, Your Honor.

     16                  THE COURT:     Okay.

     17                  MR. ALBERTO:     Thank you.

     18                  THE COURT:     Thank you.

     19                  Okay.   And then I -- does anyone -- let me just

     20      say, does anyone have anything to say on the uncontested

     21      counsels' retentions?       Okay.

     22                  And then turning to the financial advisors,

     23      bankers, et cetera, as well as Prime Clerk, so that would be

     24      AlixPartners, Prime Clerk, Province, Inc., Jefferies.               I

     25      don't think -- and I'm sorry, Kurtzman Carson.               Three -- I'm

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 27 of
                                                                  Main
                                                                     179Document
                                Pg 26 of 178
                                                                            Page 26

      1      sorry.      Four of those as is -- well, all of them, as is

      2      consistent with, again, the case law in this district, have

      3      a limitation on a limited identity.             They're indemnified

      4      other than for their gross negligence, willful misconducts

      5      -- misconduct, in some cases, and/or breach of fiduciary

      6      duty, if any.

      7                    But four -- Prime Clerk, AlixPartners, KCC and

      8      Jefferies -- have caps on those indemnifications limited to

      9      their compensation of the case.           And I don't know if this

     10      has been the subject of discussion with them.             I know in

     11      recent cases involving Prime Clerk and Kurtzman Carson I

     12      have stricken that on the basis that the type of liability

     13      we're talking about here is really serious, willful

     14      misconduct, gross negligence, and it's quite conceivable

     15      that it could be more than the fairly limited compensation,

     16      at least that those entities would have.

     17                    So I don't know if this has been discussed or if

     18      their representatives are present here, but my inclination

     19      would be the lift the limitation on liability for at least

     20      willful misconduct and breach of fiduciary duty, if any.              I

     21      mean, to me if someone is just looting and pillaging, that

     22      it shouldn't be limited to their fees.

     23                    MR. CONSLA:     So for that matter I think we would

     24      defer to the particular professional.

     25                    THE COURT:    I'm not assuming that they will, of

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 28 of
                                                                  Main
                                                                     179Document
                                Pg 27 of 178
                                                                           Page 27

      1      course.     So it's probably an ice in winter, but I just don't

      2      like the idea of proving that.

      3                   MR. CONSLA:    If any --

      4                   THE COURT:    Okay.    Well --

      5                   MR. CONSLA:    -- if anyone wanted to --

      6                   THE COURT:    Well, I will grant each of those

      7      applications with that language taken out.            And the U.S.

      8      Trustee can show you language from one of my more recent

      9      orders dealing with, I forget whether it was KCC or Prime

     10      Clerk, but --

     11                   MR. CONSLA:    Uh-huh.

     12                   THE COURT:    -- it's a -- it's one more carve out

     13      that's in the order.       If I'm missing something here that is

     14      of great moment to AlixPartners or Jefferies, who clearly

     15      have more fees at stake, so, you know, they can tell me.

     16      But that's my ruling on those motions.

     17                   MR. CONSLA:    All right.      We'll make that change.

     18                   THE COURT:    Okay.

     19                   MR. CONSLA:    The last uncontested matter is the

     20      creditor committee's information access motion.            And so, you

     21      know, obviously if you have any questions I'll defer to

     22      them.     If not, we have no objections to that being granted.

     23      That's Item -- Agenda Item Number 13.

     24                   THE COURT:    Okay.

     25                   MR. CONSLA:    Docket Number 415.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 29 of
                                                                  Main
                                                                     179Document
                                Pg 28 of 178
                                                                         Page 28

      1                  THE COURT:    All right.      Does anyone have anything

      2      to say on the committee information access motion?

      3                  Just to be clear, this is not anything more than

      4      the access the committee -- as a committee is required to

      5      provide under the Bankruptcy Code and the appropriate

      6      limitations on it to the public, not access to information

      7      that the parties are looking on and the case generally,

      8      which would be the subject of either a motion or hopefully a

      9      stipulation.

     10                  So seeing no one has any questions or comments,

     11      and noting that it's unopposed, I'll grant the motion.          I

     12      think I had the first opinion that actually dealt with the

     13      issues raised by the amendment to the code that dealt with

     14      the tension between a committee's duty to provide access to

     15      the public and its duty not to disclose confidential

     16      information, waive attorney/client privilege and the like,

     17      and -- in the Refco case, and I think this protocol as well

     18      as the use of the information agent is consistent with the

     19      case law.

     20                  So I'll grant the motion.

     21                  MR. CONSLA:    Thank you, Your Honor.

     22                  That brings us to the end of the uncontested

     23      section of the agenda.      So at this time I'll hand the podium

     24      over to Mr. Huebner to address the contested applications.

     25                  THE COURT:    Okay.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 30 of
                                                                  Main
                                                                     179Document
                                Pg 29 of 178
                                                                           Page 29

      1                  MR. HUEBNER:     Your Honor, for the record, Marshall

      2      Huebner.    I will be very quick on this remaining point.

      3                  The United States Trustee has no objection to

      4      retentions of Davis Polk, Skadden Arps and Wilmer Hale, but

      5      has objected to what is contemplated by these applications

      6      which is the firms holding their retainers until the end of

      7      the case.

      8                  I'm going to make nine very quick points and

      9      otherwise rest on our papers which I think address the issue

     10      appropriately.

     11                  One, this is a very unusual case.          Your Honor

     12      actually just mentioned, and I'm glad since it's a perfect

     13      segway, most cases have carve outs and they have super

     14      priority claims.    And the way the professionals in part are

     15      comforted by the risk that they're asked to take by the

     16      statutory structure is that they are basically guaranteed to

     17      jump even on top of secured creditors for all fees incurred

     18      prior to a trigger date and then for an agreed budgeted

     19      amount for amounts afterwards.          And those are given both

     20      status and lien rights super to anyone else.

     21                  We have none of that here, and you might say,

     22      well, there's no secured debt here.            But what we do have

     23      instead, frankly, is a truly unprecedented case with dozens

     24      of governmental claimants, many of whom have rights that

     25      they have not actually necessarily chosen yet to surface

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 31 of
                                                                  Main
                                                                     179Document
                                Pg 30 of 178
                                                                          Page 30

      1      with or exercise, but could actually, if things don't go

      2      well, take this case in a very complex direction.

      3                  Number two, the debtors have a very substantial

      4      cash balance, over a billion dollars.           And even the trustee

      5      has not alleged that we are draining liquidity that is

      6      needed by the estate right now to pay its bills.           and so,

      7      you know, I think that's a relevant factor as well.             It's

      8      relevant in case law and otherwise.          You know, if the

      9      debtors had $20 million of cash left in the bank, we would

     10      at least be having more complex conversation.           With well

     11      over a billion dollars, it really is hard to understand why

     12      we're actually here litigating this issue.

     13                  Three, no party in interest, no economic party in

     14      this case has objected to this, neither the professionals,

     15      which the U.S. Trustee kind of strangely says is one of the

     16      two groups they're here to protect, but they're here

     17      representing other professionals who don't have this exact

     18      package of rights.    They don't seem fussed by it, nor any

     19      other party in interest.      The test is actually, you know, is

     20      this a problem for creditors.        And we're not lacking for a

     21      surfeit of highly activist focused creditors in this case,

     22      and not a single one of them has had any issue with this.

     23                  Four, the U.S. Trustee is just wrong.

     24      Professionals hold retainers all the time, both out of court

     25      and in court.    We stopped at 17 examples in the pleading

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 32 of
                                                                  Main
                                                                     179Document
                                Pg 31 of 178
                                                                         Page 31

      1      because, you know, you have to know when enough is enough.

      2      But the notion that there is some doctrine that, you know,

      3      this is just not done is just flatly wrong, period, end of

      4      story.

      5                  Five, there is no rule, there is no regulation,

      6      there is no statute, there is no guideline, there is just

      7      nothing that requires this.       There just isn't.    We're

      8      constrained in lots of ways by lots of rules that people

      9      impose on us.    This one is just not on the books.       And to

     10      try to add this in as sort of a new rule in this district

     11      when it's just not, and as much as I respect the U.S.

     12      Trustee, it shouldn't be.      It's not appropriate.     The cases

     13      they actually cite talk about a kind of facts and

     14      circumstances test, and if we're going to be discussing it,

     15      we should be discussing it under the little case law that

     16      there is which we're happy to do.

     17                  Because, six, even the cherry picked cases the

     18      U.S. Trustee cites, not one of them from this district, some

     19      from more than 30 years ago and 3,000 miles away, we easily

     20      satisfy.    We went through the standards in our reply.        There

     21      are five factors in Insilco and we're five for five.

     22                  And, by the way, every single case they cited,

     23      every one approved the professional holding the retainers.

     24      So, in fact, I don't think they found any case ever in the

     25      world, no matter how many decades they went back, where a

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19-23649-rdd
        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 33 of
                                                                  Main
                                                                     179Document
                                Pg 32 of 178
                                                                         Page 32

      1      court actually said, and they cited to this court, let alone

      2      in a binding way that retainers have to be given up at the

      3      beginning of a case.

      4                  Seven, these three firms are actually extending de

      5      facto trade terms that are longer than any administrative

      6      creditor in this entire case.        The whole case, there is not

      7      one creditor, because I asked, that is extending 75 day

      8      unsecured trade terms to this estate, not one.

      9                  Eight, there is no basis and none articulated for

     10      asking counsel to take the most risk and extend the most

     11      credit of anybody in the constellation of the debtors'

     12      dozens or hundreds of counterparties.

     13                  Nine, and this is the last one, all of Purdue's

     14      other administrative creditors have either letters of

     15      credit, deposits, COD or trade terms well below 75 days.

     16      Only the professionals have to contend with notice periods,

     17      objection periods, 20 percent holdbacks, 45 day waiting

     18      periods and then another 30 day waiting period for hearings,

     19      and, collectively, lend the debtors millions and millions of

     20      dollars entirely unsecured and entirely interest free at all

     21      times.

     22                  The trustee's claim that we have a "unfair

     23      monetary advantage over other creditors" is unsupported and

     24      unsupportable.    We ask that their objection be denied and

     25      that the retentions be approved as requested.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 34 of
                                                                  Main
                                                                     179Document
                                Pg 33 of 178
                                                                           Page 33

      1                  THE COURT:     Do you -- this has not come up and I'm

      2      assuming maybe -- well, I'll just ask you a question.            I

      3      don't know the answer.       Are there substantial 503(b)(9)

      4      claims here?

      5                  MR. HUEBNER:     No.

      6                  THE COURT:     Oh, okay.

      7                  I don't actually have the three firms' retainer

      8      agreements.    And the other two firms' application doesn't

      9      really say that they're evergreen retainers.            I don't know

     10      where -- what type of retainers are all three of these?

     11                  MR. HUEBNER:     Yes.    So, Your Honor, I don't want

     12      to over speak for the other firms, but let me say it like

     13      this.   Certainly, it is understood -- and if it's helpful to

     14      the Court we will certainly add language that the retainers

     15      will be applied at the end of the case or otherwise as

     16      appropriate, and then any overage will, of course, be

     17      returned to the debtors.        I don't think anybody is saying

     18      that anybody gets to keep what's leftover.            Davis Polk's

     19      documents, which obviously I do control, are very clear on

     20      that point and they are evergreen retainers and properly

     21      structured as such.

     22                  I am assuming that Skadden and Wilmer are the same

     23      way, but I think it's an easy fix in the order to clarify

     24      that nobody is remotely suggesting that this money can be

     25      kept.   It needs to be applied.         The question is just, you

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 35 of
                                                                  Main
                                                                     179Document
                                Pg 34 of 178
                                                                         Page 34

      1      know, like so many other creditors in the case, are we

      2      allowed to essentially modulate what in our case is actually

      3      extreme trade terms and credit risk.

      4                   You know, as I said in the pleading, you know, you

      5      know X percent of the utilities went and got deposits pre-

      6      filing.     No one is saying, hey, utilities, other utilities

      7      are sad that they didn't ask, you have to give back your

      8      deposits.     This is just an individual contract and we think

      9      it's entirely appropriate.

     10                   THE COURT:     Okay.    And then my last question is

     11      these are not couched under 328(a), right, so I think I'm

     12      reviewing this under 329 because it was a pre-petition

     13      retainer?     So I guess conceivably if facts changed

     14      dramatically in the middle of a case, one could revisit

     15      whether the retainer should be applied then or not, I

     16      suppose.

     17                   MR. HUEBNER:     I mean, as Your Honor said at prior

     18      hearings, people are always welcome to make motions in front

     19      of you.     But, yes, there's nothing here that says that the,

     20      you know, extraordinary unforeseeable circumstance and --

     21      no.   We don't lock this down under 328 at all --

     22                   THE COURT:     Okay.

     23                   MR. HUEBNER:     -- to my knowledge.

     24                   THE COURT:     All right.

     25                   MR. HUEBNER:     I mean, again, just like I can't

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 36 of
                                                                  Main
                                                                     179Document
                                Pg 35 of 178
                                                                         Page 35

      1      imagine a circumstance where somebody would say a utility

      2      needs to give back their deposit unless it was a preference

      3      or a fraudulent transfer, and in this case, frankly, we

      4      would be happy to defend the retainers on those grounds as

      5      well, Pillowtex (sic) ironically has made us all very

      6      careful and very thoughtful to ensure that we have

      7      appropriate mechanics in place well before the filing so

      8      that we can stand up and be unquestionably comfortable that

      9      we're disinterested which actually is a higher value,

     10      frankly, under the code for 327(a) counsel than virtually

     11      anything else.

     12                  And as Your Honor of course knows the U.S. Trustee

     13      does a very searching Pillowtex analysis before the filing

     14      and obviously was satisfied.        This is the absolutely only

     15      issue that is open on the retentions.

     16                  THE COURT:    Okay.

     17                  MR. SCHWARTZBERG:      Good morning, Your Honor.    Paul

     18      Schwartzberg for the U.S. Trustee's office.          I'll beat Mr.

     19      Huebner and just bring up three points, Your Honor.

     20            (Laughter)

     21                  THE COURT:    Okay.

     22                  MR. SCHWARTZBERG:      Unlike the normal case where

     23      there is a carve out, the reason there's not a carve out

     24      here is because there's no secured debt or virtually no

     25      secured debt.      The debtor, according to their first day

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 37 of
                                                                  Main
                                                                     179Document
                                Pg 36 of 178
                                                                         Page 36

      1      declaration, has over a billion dollars of cash that is

      2      unencumbered.

      3                  On top of that, they're getting -- the

      4      professionals are going to be paid as per Your Honor's prior

      5      order today on them monthly where they're going to be

      6      getting 80 percent of their fees and a hundred percent of

      7      their expenses.

      8                  Based on that, which is the unencumbered cash is

      9      an unusual circumstance, we did not believe that the

     10      evergreen retainer was necessary in this case to protect the

     11      professionals.

     12                  THE COURT:   Okay.     I mean, it strikes me given

     13      what I think are the undisputed facts here that this dispute

     14      really isn't particularly pointed on either side.         You know,

     15      it seems to me that the code doesn't have a requirement

     16      either way on this point.        And the only case law -- and that

     17      -- I mean, I think there are two thoughtful decisions, the

     18      Insilco and the Hospital (sic) case, and neither of them

     19      really comes up with a bright line as to when it's

     20      appropriate and when it's not appropriate to have an

     21      evergreen retainer.

     22                  And, frankly, I think that given the various

     23      issues at stake, one could argue that it's more appropriate

     24      when there is financial risk.        But on the other hand, if

     25      there's no financial risk to either side, maybe it doesn't

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             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 38 of
                                                                  Main
                                                                     179Document
                                Pg 37 of 178
                                                                            Page 37

      1      really matter.    I mean, I just -- I just don't really see

      2      this as a particularly important issue for the case.

      3                  And since congress didn't really address it other

      4      than the notion that a prepetition payment needs to have

      5      been reasonable under Section 329, this appears to be

      6      reasonable to me.    It's not -- you know, it's not -- these

      7      retainers are not out of line for the level of work that was

      8      being done and anticipated to be done.

      9                  We've clarified that their true security evergreen

     10      retainers, i.e. any surplus comes back.             And I just -- you

     11      know, to me I don't think anyone's ox is really being gored

     12      here.

     13                  So I think what's really an issue is whether I

     14      should establish some principal that you can never get an

     15      evergreen retainer, and I'm just not prepared to do that.               I

     16      don't think there is such a legal requirement --

     17                  MR. SCHWARTZBERG:     I --

     18                  THE COURT:   -- particularly given the logic of the

     19      Insilco case and the American Hospital case, which, you

     20      know, as I said, I think they're the -- they're clearly the

     21      two decisions that -- I'm sorry -- Pan American Hospital

     22      case, 312 B.R. 706 (Bankr. S.D. Fla. 2004) and then Insilco

     23      is In re: Insilco Technologies Inc., 291 B.R. 628 (Bankr. D.

     24      Del. 2003).

     25                  I guess ultimately here, and I know you hate to

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                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 39 of
                                                                  Main
                                                                     179Document
                                Pg 38 of 178
                                                                            Page 38

      1      hear this and I appreciate that the U.S. Trustee has a major

      2      role to flag issues.     And sometimes when you flag issues

      3      other parties join in and sometimes they don't.             But no

      4      creditor whose ox might be gored here is complaining.                And I

      5      think that's a major factor, as well as I don't think

      6      there's -- this retainer creates a conflict with anybody

      7      ultimately.

      8                  And since it's not a 328 type of compensation,

      9      just 329 reasonableness, if there is some conflict down the

     10      road, and it's hard for me to imagine that there would be, I

     11      would balance the issue there and probably at that point the

     12      firm would -- the firms would apply their retainer anyway.

     13                  So I'm going to overrule the objection and grant

     14      the applications as sought.

     15                  MR. SCHWARTZBERG:     All right.        Thank you, Your

     16      Honor.

     17                  THE COURT:   Okay.

     18                  MR. ROBERTSON:     Good morning, Your Honor.        For the

     19      record, Christopher Robertson, Davis Polk & Wardwell on

     20      behalf of the debtors.       We're going to turn to the second

     21      contested matter.    It was actually the first contested

     22      matter on the amended agenda at Item Number 14, the debtors'

     23      cash management motion.

     24                  There is one objection to the cash management

     25      motions from the United States Trustee.             The U.S. Trustee

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 40 of
                                                                  Main
                                                                     179Document
                                Pg 39 of 178
                                                                         Page 39

      1      opposed the debtors' request for a waiver of the

      2      requirements of Section 345 of the Bankruptcy Code with

      3      respect to excess cash invested in two Goldman Sachs

      4      treasury funds.

      5                    We did, of course, work with Mr. Masumoto to try

      6      to resolve this matter consensually, but unfortunately we're

      7      not able to work out this issue with the U.S. Trustee's

      8      Office.

      9                    Before I move onto the motion, we filed

     10      supplemental declaration of John Lown (ph), the debtors'

     11      chief financial officer in support of the cash management

     12      motion.      As noted on the amended agenda, the declaration is

     13      filed as Exhibit A to the debtors' reply at Docket Number

     14      480-1.      Mr. Lown is in the courtroom today, if anybody has

     15      any questions.      If not, I would ask that the declaration be

     16      admitted into evidence at this time.

     17                    THE COURT:   Okay.    Does anyone want to cross-

     18      examine Mr. Lown on his supplemental declaration?

     19                    All right.   I will admit it as his direct

     20      testimony.

     21                    MR. ROBERTSON:     Thank you, Your Honor.

     22                    Your Honor, I do not intend to rehash every point

     23      we made in our papers.         I would like to briefly explain why

     24      we believe that a requested Section 345 waiver is

     25      appropriate and why continued access to the Goldman money

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 41 of
                                                                  Main
                                                                     179Document
                                Pg 40 of 178
                                                                            Page 40

      1      market treasury accounts is important to the debtors'

      2      estates.    Not that Your Honor needs any permission, but

      3      please feel free to interrupt me if you have any questions.

      4                  So why is this waiver appropriate?           At a high

      5      level, Section 345(b) of the Bankruptcy Code provides that

      6      estate funds may be held in three ways:             In investments or

      7      accounts insured or guaranteed by the United States or by a

      8      department agency or instrumentality of the United States;

      9      in investments or accounts backed by the full faith and

     10      credit of the United States; or with entities that have

     11      posted a bond or provided acceptable collateral as security

     12      for the deposit or investment.

     13                  The U.S. Trustee's main concern, as I understand

     14      it and it's voiced at page 2 of the objection, is that the

     15      debtors are asking for a fourth option; that is, the debtors

     16      are asking for the Court to set aside the safeguards within

     17      Section 345 in the interest of convenience, efficiency and

     18      cost.

     19                  And, Your Honor, the debtors are not asking for a

     20      fourth option or special treatment and we are not asking the

     21      Court to set aside any statutory safeguards whatsoever.              As

     22      discussed in Mr. Lown's supplemental declaration, the

     23      debtors adhere to long-standing investment guidelines that

     24      only permit the debtors to invest in treasuries or in

     25      deposits collateralized by U.S. Treasury or U.S. agencies.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 42 of
                                                                  Main
                                                                     179Document
                                Pg 41 of 178
                                                                            Page 41

      1      This is what I'm calling Option 2, Your Honor.             You know,

      2      this is an investment backed by the full faith and credit of

      3      the United States.

      4                  The debtors are requesting to continue to invest

      5      in treasuries by investing in two treasury funds managed by

      6      Goldman Sachs.    In other words, the debtors are seeking to

      7      comply with both the letter and the spirit of Section 345.

      8                  THE COURT:   So I guess this was clarified for me

      9      in Mr. Lown's supplemental declaration.             He states that both

     10      of those funds only invest in treasuries, U.S. Treasuries

     11      and can only invest in U.S. Treasuries.             And obviously

     12      they're also rated at the highest level --

     13                  MR. ROBERTSON:    That's correct.

     14                  THE COURT:   -- of applicable rating I think

     15      probably in light of that.

     16                  So I guess -- I mean, that -- to me that largely

     17      ends the story.    I don't know.      He says that they monitor

     18      the cash.    I don't know what that means.           I guess they would

     19      pay attention if there's some press story about the funds

     20      and someone deciding to violate the securities laws and the

     21      funds' governing documents and move the treasuries into, I

     22      don't know, wingets (sic) or realles (sic), or something.                I

     23      don't --

     24                  MR. ROBERTSON:    Yeah.    And not to belabor the

     25      point, and Mr. Lown can speak to it, but the funds publish

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             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 43 of
                                                                  Main
                                                                     179Document
                                Pg 42 of 178
                                                                             Page 42

      1      weekly statements that have, you know, every treasury that

      2      they hold.     And so it's very easy to monitor these accounts.

      3                   THE COURT:   Okay.      All right.      And, I mean, it is

      4      true, you are taking the credit risk of the fund as opposed

      5      to the underlying treasuries.          But if the only asset in the

      6      fund and permitted to be in the fund is the treasuries, then

      7      they're essentially coterminous --

      8                   MR. ROBERTSON:    Right.

      9                   THE COURT:   -- other than the fact that the

     10      government can always print more treasuries and the fund

     11      can't get back anything that's let out by fraud.

     12                   But that same risk applies to a surety as well.

     13      You're only getting the credit of the surety, which congress

     14      recognized in Section 345 as a proper way to protect the

     15      estate, too.

     16                   MR. ROBERTSON:    I agree, Your Honor.

     17                   THE COURT:   There's no collateralization of what's

     18      in the fund for any of the investors; is that right?

     19                   MR. ROBERTSON:    No.     That's correct, Your Honor.

     20      There's --

     21                   THE COURT:   Yeah.

     22                   MR. ROBERTSON:    That's correct.

     23                   THE COURT:   All right.      Okay.      So I interrupted

     24      you, but you can go on.

     25                   MR. ROBERTSON:    No.     I think that you covered a

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 44 of
                                                                  Main
                                                                     179Document
                                Pg 43 of 178
                                                                          Page 43

      1      lot of what I was going to say about the nature of the

      2      mutual funds and the debtors' investment.

      3                   You know, the last thing I would say and just to

      4      kind of reiterate the point and then I'll cede the podium

      5      is, you know, just to return to a theme I kind of touched on

      6      at the beginning.     This is not a case where the debtors want

      7      to continue an investment program out of, you know,

      8      convenience or cost.

      9                   The alternatives that the trustee suggests, which

     10      is holding treasuries directly by purchasing them from the

     11      government or moving all of the excess cash into the deposit

     12      account, both of these are not viable and Mr. Lown provided

     13      testimony as to the difficulties the debtors would have

     14      moving cash into a deposit account.           And holding treasuries

     15      directly creates a whole host of other operational and

     16      control risks that --

     17                   THE COURT:   Well, that would be a much bigger

     18      control risk because --

     19                   MR. ROBERTSON:    Correct.

     20                   THE COURT:   -- only one person is authorized to

     21      have them.     So unless you have that person under 24-hour

     22      surveillance, they're at risk of going somewhere.

     23                   MR. ROBERTSON:    Correct.

     24            (Laughter)

     25                   MR. ROBERTSON:    And with that, unless Your Honor

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 45 of
                                                                  Main
                                                                     179Document
                                Pg 44 of 178
                                                                            Page 44

      1      has any further questions for me, I would --

      2                  THE COURT:   Well, the money that -- the other cash

      3      --

      4                  MR. ROBERTSON:     Uh-huh.

      5                  THE COURT:   -- I just want to confirm, Mr. Lown

      6      says that all of that other cash is in an escrow reserve or

      7      a trust account that the party for whose benefit its posting

      8      is comfortable with.

      9                  MR. ROBERTSON:     That's correct.

     10                  THE COURT:   It's their collateral and -- or

     11      required by regulation or agreement to put in that account.

     12                  MR. ROBERTSON:     Not for the -- for the $130

     13      million that's held in trust accounts that are invested in

     14      treasury money markets it's essentially -- that's a

     15      different institution.       I believe most of those are with

     16      Wells Fargo.    But it's exactly the same structure as where

     17      the debtors have their cash at Goldman.             So it's the same

     18      story.

     19                  THE COURT:   And is it in any special fund or just

     20      at Wells Fargo?

     21                  MR. ROBERTSON:     It's in -- I would refer to Mr.

     22      Lown, but my understanding is that it's in the treasury

     23      money market funds that are administered by Wells as posted

     24      by Goldman Sachs.

     25                  THE COURT:   So it's just -- is it limited to the

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 46 of
                                                                  Main
                                                                     179Document
                                Pg 45 of 178
                                                                         Page 45

      1      treasuries again --

      2                  MR. ROBERTSON:    Correct.

      3                  THE COURT:   -- those funds?

      4                  MR. ROBERTSON:    Correct, Your Honor.

      5                  THE COURT:   Okay.    He's nodding his head there

      6      behind you, nodding it yes.       Okay.

      7                  All right.   Very well.       Thank you.

      8                  MR. ROBERTSON:    Thank you, Your Honor.

      9                  MR. MASUMOTO:    Good morning, Your Honor.     Brian

     10      Masumoto for the Office of the United States Trustee.

     11                  I know Your Honor has addressed the specifics

     12      regarding the particular investments, and so essentially I

     13      would like to focus in on the area that our office has

     14      concerns with, which is we believe that the investment

     15      through a fund is not the same as holding the direct

     16      treasuries by the debtor and, accordingly, does not fit

     17      strictly within the elements under Section 345.

     18                  We don't have -- the U.S. Trustee does not have

     19      the authority to grant a waiver, and although one can argue

     20      about the various risks and so forth, it's not the U.S.

     21      Trustee's intent or responsibility to determine the

     22      soundness or the integrity of particular funds.

     23                  So from our standpoint an investment through the

     24      fund creates a non-compliance with the statute that can only

     25      be approved by the Court granting a 345 --

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 47 of
                                                                  Main
                                                                     179Document
                                Pg 46 of 178
                                                                         Page 46

      1                   THE COURT:   Okay.

      2                   MR. MASUMOTO:    -- waiver.

      3                   THE COURT:   All right.      I mean, and that's fair.

      4      The statute doesn't -- what gives the trustee discretion is

      5      in 345(b)(1)(B), where the money is invested in a bond in

      6      favor of the United States secured by the undertaking of a

      7      corporate surety.     So it does give you the discretion to

      8      evaluate the -- as the debtor says, approved by the United

      9      States Trustee.     So it gives the -- your office the

     10      discretion to evaluate the credit worthiness of the surety,

     11      but not the particular fund where the bonds are held.

     12                   MR. MASUMOTO:    That's correct, Your Honor.

     13                   THE COURT:   All right.

     14                   MR. MASUMOTO:    And one -- although there was --

     15      and that's with respect to, I guess particularly the

     16      argument applies to the Goldman Sachs funds which have been

     17      discussed.

     18                   One thing that it was not entirely clear is with

     19      respect to the restricted funds.          It wasn't clear to me.     In

     20      Mr. Lown's declaration there were indications that they were

     21      held in I guess government obligations, and that's part of

     22      the problem.     The Goldman Sachs fund -- well, it may be --

     23      it may pose a problem.       The Goldman Sachs fund where it's

     24      supposedly exclusively for a government treasury is at least

     25      from our experience relatively unusual because many

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 48 of
                                                                  Main
                                                                     179Document
                                Pg 47 of 178
                                                                         Page 47

      1      government fund accounts are not exclusive.         I mean, it's

      2      usually a mixed bag of investments which may primarily be in

      3      government obligations, but not exclusively.

      4                  So it's not entirely clear to me whether the

      5      restricted funds are, in fact -- although I believe there

      6      was some statement that seems to suggest that Goldman

      7      managed some of those escrow funds, and if that's the case

      8      being exclusive, then the -- your ruling with respect to the

      9      Goldman accounts would apply.

     10                  But to the extent that those other funds, in fact,

     11      are not exclusive with respect to government obligations,

     12      you've increased the risk of those particular funds.

     13                  And accordingly, again, once again it would be

     14      Your Honor's discretion --

     15                  THE COURT:   Well, he says the cash held in the

     16      various Wells Fargo accounts and the DLKF account are

     17      invested in money market treasury funds.

     18                  MR. MASUMOTO:   Right.     And -- but in many money

     19      market treasury funds as such, they're not exclusive.          I

     20      mean, in our experience those so-called funds often have a

     21      mix.   I mean, they may be primarily holding government

     22      treasuries, but not exclusively.

     23                  And so it's not, at least if that were the case

     24      it's not identical to the Goldman Sachs case situation where

     25      it's exclusively limited to government securities.

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19-23649-rdd
        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 49 of
                                                                  Main
                                                                     179Document
                                Pg 48 of 178
                                                                          Page 48

      1                  THE COURT:    Okay.

      2                  MR. ROBERTSON:     And, Your Honor, I think just one

      3      brief point.     I don't -- I have a printout of every treasury

      4      held by the Goldman funds.        I don't have a printout of every

      5      treasury held by the other restricted cash accounts.              But I

      6      would just add that, you know, this is a very highly

      7      regulated industry and, you know, major institutions that

      8      administer treasury money market funds, you know, can't use

      9      that term, you know, loosely.         There are regulations under

     10      the SEC and otherwise that, you know, specify what a

     11      treasury money market fund is.

     12                  So this is not a case where these funds are

     13      holding, you know, half their funds in treasuries and half

     14      in junk bonds.

     15                  THE COURT:    And is this -- are these funds also

     16      monitored by the company on a weekly basis?

     17                  MR. LOWN:    Absolutely.

     18                  THE COURT:    Okay.    Okay.

     19                  MR. ROBERTSON:     Thank you, Your Honor.

     20                  THE COURT:    All right.       I have before me the

     21      debtors' request for final approval of their motion

     22      authorizing the continuation of existing cash management

     23      systems and maintaining existing bank accounts and business

     24      forms.

     25                  The motion is objected to by the U.S. Trustee in

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 50 of
                                                                  Main
                                                                     179Document
                                Pg 49 of 178
                                                                         Page 49

      1      one respect, which is that the debtors' investment of both

      2      unrestricted cash and restricted cash, i.e. restricted based

      3      on various agreements with third parties where the cash is

      4      being held in one form or another for their benefit is not

      5      being held consistent with Section 345 of the Bankruptcy

      6      Code.   That section provides for specific ways to hold money

      7      of bankrupt debtors' estates for which no court ruling is

      8      necessary.

      9                   One aspect of it, which I've already quoted, does

     10      subject the United States Trustee to the exercise of some

     11      discretion in terms of evaluating a corporate securities --

     12      I'm sorry -- corporate sureties' undertaking.

     13                   But it provides for authorization to invest money

     14      of the estates without court review if the money is invested

     15      in a deposit or investment that is insured or guaranteed by

     16      the United States or backed by the full faith and credit of

     17      the United States.     And that obviously is limited for a

     18      company of this size given the amount of cash that we're

     19      talking about here, which is somewhat over a billion

     20      dollars, given the limitations on insurance or guaranties;

     21      or, alternatively, invested in the bond in favor of the

     22      United States secured by the undertaking of a corporate

     23      surety approved by the United States Trustee and conditioned

     24      on the proper accounting and faithful performance of duties

     25      as the depository.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 51 of
                                                                  Main
                                                                     179Document
                                Pg 50 of 178
                                                                         Page 50

      1                   However, there's a safety valve that congress

      2      enacted which provides that the Court may order otherwise.

      3                   I have the benefit of a recent decision by one of

      4      my colleagues, Judge Garrity, in In re: Ditech Holding

      5      Corp., 605 B.R. 10, (Bankr. SDNY 2019) analyzing the proper

      6      application of this cause exception which was enacted in

      7      1994.   Judge Garrity also relies on In re: Service

      8      Merchandise Company Inc., 240 B.R. 29 (Bankr. Tenn. 1999).

      9                   I agree with the trustee that technically I don't

     10      think these investment accounts necessarily comply with

     11      345(b)(1).     However, I actually don't believe that a hearing

     12      is necessary on it.     If the parties conduct their due

     13      diligence and determine that cause should be warranted, they

     14      could submit an order on that basis to chambers, thus

     15      obviating the need for a hearing.         I obviously read the

     16      underlying motion, so if I disagree with the proposed order

     17      and the finding it wanted me to seek, I would ask for a

     18      hearing.

     19                   But here the totality of the circumstances best

     20      applied by Judge Garrity and the Tennessee Court in Service

     21      Merchandise argues that I should find cause here to approve

     22      the investment.     Among other things, the money is held in

     23      funds that are weighted at the highest level.         The funds

     24      are, as far as I can see, allowed only to invest in U.S.

     25      Government treasuries.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 52 of
                                                                  Main
                                                                     179Document
                                Pg 51 of 178
                                                                         Page 51

      1                  The funds are also reporting on a weekly basis to

      2      the debtors and, therefore, the debtors will be able to

      3      review whether there is any issue as to the funds'

      4      management and the like.

      5                  Finally, and at least as important, the debtors

      6      really don't have reasonable alternatives here.         It's just

      7      not a question for them of going down to a approved bank and

      8      putting their money in the bank because it's clear from Mr.

      9      Lown's declaration that they don't have that flexibility,

     10      both given the size of their cash position and the nature of

     11      banking in today's world where banks routinely say we don't

     12      want your money, which is not only a problem for companies

     13      like these, but also for individuals.

     14                  The only other alternative would be to hold the

     15      treasuries actually in the debtors' own possession or in the

     16      possession of someone who would be willing to do it and,

     17      frankly, I don't believe that that entity would have the

     18      type of control or credit support that the funds that are

     19      currently holding the treasuries have.

     20                  So there's clearly substantial harm to the estate

     21      of not getting this relief.       Conversely, there's substantial

     22      benefit to the estate of getting the relief.        And the

     23      calculus is, I think, here quite easy to determine that the

     24      motion should be granted.

     25                  MR. ROBERTSON:    Thank you, Your Honor.     And I

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 53 of
                                                                  Main
                                                                     179Document
                                Pg 52 of 178
                                                                             Page 52

      1      would turn the podium back over to my colleague, Marshall

      2      Huebner.

      3                  THE COURT:     Okay.

      4                  MR. HUEBNER:     Good morning, Your Honor.         For the

      5      record again I am still Marshall Huebner of Davis Polk &

      6      Wardwell on behalf of the debtors.

      7                  Your Honor, one interim update since I was last at

      8      the podium, which is at 10:51 my partner, Tim Graulich, sent

      9      in to chambers copying all relevant parties the injunction

     10      order, which unless we are sadly mistaken, is ready to be

     11      entered and hopefully will give us all the respite

     12      aforementioned.

     13                  THE COURT:     Okay.

     14                  MR. HUEBNER:     Your Honor, I am obviously quite

     15      well aware that this hearing is going to be hotly contested

     16      on the one remaining issue on the agenda.              But I also think

     17      that there are actually many factual and quasi-factual

     18      things that are not disputed.

     19                  One thing first, which is just in order of

     20      operations, and I hope I get this right.              I think that the

     21      understanding and agreement with the objectors is that the

     22      O'Connell (ph) declaration will be admitted into evidence;

     23      that as of now I don't think people want to cross-examine

     24      him, and that the deposition that was taken yesterday will

     25      be admitted into evidence, may be into -- Mitch, how are you

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             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 54 of
                                                                  Main
                                                                     179Document
                                Pg 53 of 178
                                                                           Page 53

      1      --

      2                   MR. HURLEY:    Sure.    So Mitch Hurley with Akin Gump

      3      on behalf of the official committee.

      4                   We took the deposition yesterday.         We got the

      5      final --

      6                   THE COURT:    Of who?

      7                   MR. HURLEY:    Of Mr. O'Connell.

      8                   THE COURT:    Okay.

      9                   MR. HURLEY:    The declaration that was submitted on

     10      Friday, we agreed to take the deposition yesterday so that

     11      we wouldn't have to push off this hearing.            We got the final

     12      transcript this morning at 7 a.m.           We want to save at the

     13      hearing and get right to the argument rather than doing live

     14      testimony.     So we're okay with --

     15                   THE COURT:    Okay.

     16                   MR. HURLEY:    -- relying on the deposition.        We

     17      unfortunately don't have pages to hand up to Your Honor

     18      because we got it so recently.          If after the presentation

     19      the Court wants to see any of the excerpts, I'm sure you can

     20      work with Davis Polk to provide designations and counter-

     21      designations.

     22                   THE COURT:    Well, okay.      I -- as you know I

     23      normally rule from the bench.          So I think you're going to

     24      have to at least quote to me what you think is worthwhile

     25      quoting from your deposition.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 55 of
                                                                  Main
                                                                     179Document
                                Pg 54 of 178
                                                                              Page 54

      1                  And I appreciate that properly so attorneys often

      2      designate a lot more in a deposition.             But usually it's one

      3      or two quotes that actually make it into the ruling.

      4                  MR. HURLEY:     Understood, Your Honor.          We'll keep

      5      that in mind for the presentation.

      6                  THE COURT:     Okay.    Can I -- before you go further,

      7      Mr. Huebner, I got a revised proposed order --

      8                  MR. HUEBNER:     Uh-huh.

      9                  THE COURT:     -- the other day.          Have there been any

     10      other changes --

     11                  MR. HUEBNER:     No.    No.    And, Your Honor, I'll be

     12      walking through for the benefit of the Court in the course

     13      of my remarks the changes that are reflected in our provided

     14      revised order.     There are no changes after that.

     15                  THE COURT:     Okay.

     16                  MR. HUEBNER:     So, Your Honor, it -- we take no

     17      joy, it goes without saying, in being adverse to the parties

     18      who are objecting today, the U.S. Trustee, the official

     19      committee of unsecured creditors and then the ad hoc

     20      committees representing individual victims, private

     21      insurance entities, NAS babies (sic) and Native American

     22      tribes.

     23                  Again, without saying more than I should, I think

     24      that, you know, it is probably fair to say we tried awfully

     25      hard to try to work something out that would obviate the

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 56 of
                                                                  Main
                                                                     179Document
                                Pg 55 of 178
                                                                         Page 55

      1      need for this hearing, but were not able to do so, and here

      2      we are.

      3                  So as I was trying to say, Your Honor, I think

      4      there are a variety of things that we're going to be talking

      5      about in the course of today that really are as much about

      6      judicial notice and common sense as they are about evidence.

      7      Judicial notice obviously is a concept that this Court is

      8      intimately familiar with,      In Delphi Corporation, for

      9      example, 2009 Westlaw 2482146 at *20, Bankr. SDNY July 30,

     10      2009 RDD, Your Honor took judicial notice of the docket of

     11      the entire Chapter 11 case:

     12                  "Including without limitation all pleadings and

     13      other documents filed, all orders entered and all evidence

     14      and arguments made, preferred or adduced, at the hearings

     15      held before the Court during the pendency of the Chapter 11

     16      cases."

     17                  This has been done around the country by lots of

     18      judge -- by many judges in many contexts, including

     19      contested motions.    I give only one example while the

     20      exampls are legion.    Judge Gerber did a similar thing in the

     21      Adelphia, 291 B.R. 283, page 291 and note 26 (Bankr. SDNY

     22      2003) where he took judicial notice of different things on

     23      his docket, specifically in connection with a 365 motion to

     24      assume or reject the contract.

     25                  So I'm going to begin, which is where I thought it

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 57 of
                                                                  Main
                                                                     179Document
                                Pg 56 of 178
                                                                            Page 56

      1      made sense to begin, by listing some factual things, some

      2      quasi-factual things, some things from the docket and some

      3      things that are just, frankly I think, common sense as much

      4      as testimony and hopefully, frankly, narrow the issues and

      5      dispense with some things along the way.

      6                  One, let there be no mistake.           We all agree that

      7      the opioid crisis is just a terrible crisis and tragedy, and

      8      no one in this case -- and despite some of the language in

      9      some of the objections -- certainly, the debtors in their

     10      pleadings have ever minimized that or taken any position to

     11      the contrary.    And nothing about today's hearing could

     12      possibly be read fairly to suggest to the contrary.

     13                  Two, as this Court knows because the Court has

     14      noted it to parties several times, one-hundred percent of

     15      the debtors has been unoffered to the claimants as part of

     16      their settlement framework, and now the term sheet since

     17      before the case was even filed, the remaining meta-questions

     18      in this case involve how to best maximize the debtors' value

     19      and assets and how and to whom to distribute them.

     20                  Three, we agree, every dollar spent during these

     21      cases is arguably a dollar that could instead ultimately go

     22      to help victims and ameliorate this terrible crisis.             That

     23      is exactly why resources need to be spent carefully and

     24      thoughtfully, and the same questions or some variance

     25      thereof always need to be asked:         Is this an appropriate use

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 58 of
                                                                  Main
                                                                     179Document
                                Pg 57 of 178
                                                                         Page 57

      1      of money; is it likely to enhance the value of the estate or

      2      accelerate these complex proceedings and ultimately increase

      3      the distributions to claimants.        Those are the judgments

      4      that the debtors actually have to make, in fact, every day.

      5                  For example, the injunction hearings were very

      6      intense and very hard fought and, candidly, also quite

      7      expensive which is unfortunate.        But as Your Honor

      8      recognized not getting the injunction would likely have

      9      diminished the estates by hundreds of millions of dollars or

     10      more, multiples and multiples of what the injunction

     11      hearings cost.

     12                  So the debtors expend, or when approval is needed

     13      seek authority to expend, resources when they believe that

     14      it will ultimately accelerate the case or otherwise

     15      ultimately enhance recoveries.

     16                  Four, the creditors' committee is a fiduciary for

     17      all unsecured creditors.      Every single one.     Notwithstanding

     18      that as I accurately noted on the first day of the case

     19      governmental entities who as of the petition date had filed

     20      85 percent of the lawsuits then pending against the debtors

     21      cannot be voting members of the UCC per the United States

     22      Trustee.

     23                  This does not of course mean, and I'm not sure why

     24      people seem to keep trying to misquote us on this, that

     25      governmental entities will be 85 percent of the ultimate

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 59 of
                                                                  Main
                                                                     179Document
                                Pg 58 of 178
                                                                         Page 58

      1      claimants.     Obviously that number is unknown and unknowable.

      2      There will be a bar date and claims will be filed, and we

      3      will figure out how to go through them in efficient, unusual

      4      and probably unprecedented ways.         The 85 percent number was

      5      and is a simple and correct statement of fact as of

      6      September 15th, 2019.

      7                   Five, the creditors' committee has added a few

      8      governmental entities as ex officio non-voting members.

      9      Camera County, Texas, the designee of the multi-state group;

     10      the Cheyenne and Rapaho (ph) Tribes designed by the ad hoc

     11      group of 38 tribes as Your Honor knows in lieu of and

     12      subsequent to which they withdrew their motion for a

     13      separate committee.

     14                   While the debtors had nothing to do with these

     15      decisions and learned of them only afterwards, it seems like

     16      a fine idea to build a bigger tent at the UCC level with

     17      non-voting members to hear more voices and garner more

     18      points of view, including those of governmental entities.

     19                   But it bears noting, as Mr. Preis began the

     20      hearing, that while we were advised a few days ago that the

     21      State of Maryland was added as an ex officio non-voting

     22      member, we then recently learned either yesterday or the day

     23      before that they have since withdrawn their very short

     24      tenure.

     25                   So now there are no states on the UCC, neither as

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 60 of
                                                                  Main
                                                                     179Document
                                Pg 59 of 178
                                                                            Page 59

      1      voting members nor ex officio members, only two tribes and

      2      one county who are, of course, very important, but different

      3      in kind than sovereign states and, of course, have no vote.

      4                  Six, 47 State Attorneys' General, 47 of the 48

      5      that are participating in this case, virtually all of whom

      6      believe that they have meritorious lawsuits against Purdue

      7      and related parties that they believe could or should

      8      proceed notwithstanding these Chapter 11 cases because of

      9      the police power and regulatory exception to the automatic

     10      stay have now all agreed, hopefully until April 8th, but at

     11      the very least until December 19th or February 21st to work

     12      together to try to move these cases forward productively and

     13      avoid what I think all agree would at its worst be a

     14      destructive complication of litigation.

     15                  The 48th state, Arizona, has also agreed, but for

     16      their reply brief which they have now filed.             So I think --

     17      their Supreme Court reply brief that we discussed at the

     18      last hearing.    I think 47 is now -- we're 48 for 48.

     19                  Seven, states are sovereign governments.           Each is

     20      charged with the solemn duty of protecting its citizens.

     21      And in the constitutional system of the United States of

     22      America, the states play a unique role.             Principals of

     23      federalism on which our government is based give the states

     24      powers and responsibilities superior to their political

     25      subdivisions and distinct also from those with the federal

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19-23649-rdd
        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 61 of
                                                                  Main
                                                                     179Document
                                Pg 60 of 178
                                                                          Page 60

      1      government.

      2                  And as this Court knows very well, the states were

      3      zealously using their police and regulatory powers to pursue

      4      these debtors and related parties prior to the commencement

      5      of these Chapter 11 cases.

      6                  Eight, these sovereign governments, each

      7      represented by its most senior legal officer, are highly

      8      unlikely ever to agree at the UCC that they did not select

      9      and on which they cannot vote or sit except possibly as

     10      observers, and as of now that number is zero, is their

     11      primary voice or agent or proxy in these cases.           Even though

     12      under federal law the UCC cares about them just as much as

     13      it cares about all other unsecured creditors, it's just not

     14      going to happen.    The states have been very clear and very

     15      consistent about this from the moment these cases were

     16      filed.

     17                  Nine, the probability that this company will be

     18      able to emerge from Chapter 11 or optimize its ability to do

     19      good for this country post-emergency without the support of

     20      a very substantial number of state governments as I stand

     21      here today seems to me to be quite remote.

     22                  This is not to say that we will not also be

     23      seeking the support or non-objection of and that we will not

     24      be working to build consensus with a great many other

     25      claimants, both private and governmental.           But the simple

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 62 of
                                                                  Main
                                                                     179Document
                                Pg 61 of 178
                                                                         Page 61

      1      reality is that the rights of sovereign states with respect

      2      to both the debtors and maybe more importantly the related

      3      parties are just different in kind than the rights of

      4      others.

      5                  Ten, we indeed signed a fee letter with the ad hoc

      6      committee of supporting states and other governmental

      7      entities on the eve of filing.        In fact, I'll go better, on

      8      the very eve of filing.     But that's because we had for

      9      months been building support for the settlement framework

     10      state by state up until the very eve of filing.         And that

     11      deal included a fee concept which, as Your Honor knows quite

     12      well, is not unusual at all.

     13                  In fact, we filed for Chapter 11 when we did

     14      precisely because we had reached agreement on a settlement

     15      framework with this important group, a deal that was and

     16      absolutely positively remains critical to these cases and

     17      their probability of success.

     18                  The notion of filing Purdue Pharma for Chapter 11

     19      with no deal and no framework and no structure and no

     20      supporting entities in hand and at the same time coming

     21      before Your Honor with a request to freeze thousands of

     22      lawsuits brought by governmental entities, many of whom

     23      passionately assert and asserted at the hearing the police

     24      and regulatory exemption from the automatic stay was a

     25      proposition somewhere between daunting and terrifying.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 63 of
                                                                  Main
                                                                     179Document
                                Pg 62 of 178
                                                                         Page 62

      1                  Eleven, the supporting states have done since the

      2      petition date what they said they would do.         At no small

      3      cost and risk they supported us at the injunction hearing

      4      opposite an equal number of passionately opposing states.

      5      And this followed many months of work towards the deal that

      6      we believe maximizes the value of these estates to which

      7      they stepped up when no other party was willing or able to.

      8                  The ad hoc committee also reached agreement with

      9      us on a term sheet to put substantially more meat on the

     10      bones of this continuously developing deal.         As Your Honor

     11      knows, that was October 7th, filed on the docket I believe

     12      three days before the October 11th hearing.         And since then

     13      they and their advisors have been working to advance in

     14      diligence and yet further flush out the deal, all of which

     15      are preconditions for all parties in this case moving to the

     16      next phase.

     17                  The ad hoc committee and the debtors exceeded to

     18      the demand of the UCC in the days before the October 11th

     19      injunction hearing that we not proceed with an RSA on the

     20      schedule originally contemplated with the ad hoc committee.

     21      But rather that we slow it down all the way until April, a

     22      promise that was in the originally filed UCC stip filed at

     23      approximately 9:15 a.m. before the injunction hearing began

     24      and that Your Honor referred to earlier today, and those

     25      provisions are unchanged in the amended UCC stip.

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19-23649-rdd
        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 64 of
                                                                  Main
                                                                     179Document
                                Pg 63 of 178
                                                                         Page 63

      1                   Twelve, Sections 327 and 328 of the Bankruptcy

      2      Code, as we also actually discussed coincidentally a few

      3      minutes ago, apply only to professionals retained by debtors

      4      and official committees.       Candidly, I was extremely

      5      perplexed to see those sections of the code referenced in

      6      certain of the objections as a path that we should have

      7      pursued since I believe that they are so obviously utterly

      8      inapplicable.

      9                   Thirteen, as I hope the Court and all parties

     10      know, the debtors are working extremely hard and in good

     11      faith to do and advance what they believe is in the best

     12      interest of these estates and stakeholders.          To that end,

     13      after the motion was filed and we began hearing from parties

     14      and seeing objections, we went back to the ad hoc committee

     15      and suggested and ultimately agreed to a raft of changes to

     16      the order that are actually quite important.

     17                   One, we eliminated the requested authorization to

     18      amend the reimbursement agreement without further court

     19      authority.     Done.   It's out.    All that's being approved is

     20      the letter as it stands.

     21                   Two, requiring the ad hoc committee's

     22      professionals to follow the same compensation procedures as

     23      the professionals of the debtors and the UCC, including,

     24      one, submitting fee statements that comply with the U.S.

     25      Trustee's fees guidelines; two, publicly filing fee

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 65 of
                                                                  Main
                                                                     179Document
                                Pg 64 of 178
                                                                         Page 64

      1      statements rather than providing them only to the debtors,

      2      the UCC and the trustee; three, submitting monthly fee

      3      statements and applications; four, providing for interim fee

      4      hearings, objection deadlines and the resolutions of

      5      objections all as defined in the interim comp order; five,

      6      unless I'm miscounting which is possible, providing for a

      7      holdback of 20 percent of the fees until such amounts are

      8      approved following quarterly applications; six, conditioning

      9      the payment of fees to Compass Lexicon and Culture

     10      Injustice, two of the three financial advisors upon

     11      subsequent court approval pursuant to a request therefore in

     12      a monthly application.

     13                   Let me just explain.     They're not currently at

     14      work.   And so we said, well, if they're not at work, rather

     15      than having it look like we have three FA's, right now they

     16      have one FA.     And so if they end up needing either of these

     17      two firms to start again, they can't get paid at all until

     18      the next quarterly fee app or they need to come and explain

     19      to the Court why they restarted and seek their fees at that

     20      time.   So we're not really down to one FA is all that is

     21      actually de facto being approved today.

     22                   I'm going to stop counting because I didn't number

     23      these which is a mistake.      Expressly providing that people

     24      can object, and it's anybody.        And that's actually pretty

     25      important.     All the people who are very angry today are all

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 66 of
                                                                  Main
                                                                     179Document
                                Pg 65 of 178
                                                                          Page 65

      1      wearing the uniform of guard and cross-checker and police

      2      person, right, because there are multiple grounds on which

      3      the ad hoc people acknowledge that their fees can be

      4      objected to:    Are they not reasonable and documented, are

      5      they duplicative of the work of other ad hoc committee

      6      professionals with one another; are they outside the scope.

      7                  And we'll now have full bright sunlight and

      8      whoever is fussed can raise their issues with the Court and

      9      the fees will have to be defended.          And I'm also sure that

     10      with all that sunlight we'll also probably be seeing things

     11      that, you know, hopefully fit comfortably within the rubric

     12      that the debtors and others expect.

     13                  Next number, and this is important, clarifying in

     14      the order that neither objecting to the claims of other

     15      creditors or advancing or prosecuting the claims of members

     16      of the ad hoc committee is considered within the scope.

     17      That is outside the scope and we will not pay for that,

     18      period.

     19                  Next, capping the amount of prepetition fees so we

     20      have some certainty and in a number not to exceed 1.5

     21      million, and further agreeing that they can't actually seek

     22      or be paid for that at all right now.           But that actually has

     23      to wait for either an RSA or a Chapter 11 plan.

     24                  Next, clarifying that there will be a new motion

     25      and order to pay the fees or have them retained and have the

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 67 of
                                                                  Main
                                                                     179Document
                                Pg 66 of 178
                                                                           Page 66

      1      debtors pay for -- they can retain whonever they want.            The

      2      question is are we paying for it -- the fees and investment

      3      banker unless the UCC, the U.S. Trustee and the debtors all

      4      consent.     Otherwise we have to come back to court and people

      5      can make their arguments as to why either the need for it or

      6      the compensation structure is or is not professional -- is

      7      or is not, excuse me, appropriate.

      8                   And then finally providing that the work product

      9      of certain financial professionals, primarily FTI which as

     10      of now is the financial professional, will be shared with

     11      the ad hoc group of non-consenting states and governmental

     12      entities group subject to appropriate protections.            More on

     13      this very important change later.

     14                   Fourteen, without -- now I'm back to the main

     15      ones, not the mini-points on the order.

     16              (Laughter)

     17                   MR. HUEBNER:     Those I did number.      There are only

     18      16 of them.

     19                   Fourteen, without in any way minimizing the

     20      importance of other parties to the case, neither the UCC nor

     21      any of the other private or governmental entities or

     22      existing ad hoc committees, the states have a vital role to

     23      play.     Your Honor has noted this from the bench multiple

     24      times since this case started.

     25                   During the October 11th preliminary injunction

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 68 of
                                                                  Main
                                                                     179Document
                                Pg 67 of 178
                                                                         Page 67

      1      hearing, and nobody needs me to remind the Court and you

      2      certainly need me least of all, although no one had actually

      3      objected or provided language to the voluntary self-

      4      injunction, you told us, go back and work this out with the

      5      states and get their -- get them comfortable and then come

      6      back.

      7                  Your Honor also, and I have pin cites for the

      8      transcripts if anybody needs them, Your Honor emphasized the

      9      need for the debtors to provide the states with more

     10      information, implicitly before coming back as we did on

     11      November 6th.

     12                  Your Honor also addressed preliminarily some

     13      musings on the allocation process and hoped that:

     14                  "There would be an understanding between the

     15      states and the municipalities and localities throughout the

     16      whole process that subject to general guidelines on how the

     17      money should be used, specific ways to use it should be left

     18      up to the states and the municipalities with guidance from

     19      the states primarily," 175-24 to 176-6.

     20                  Finally, as to the lengthy October 11th hearing,

     21      Your Honor expressed hope that once the difficult allocation

     22      issues were addressed the actual public health steps taken

     23      to correct and address the opioid problem would be "largely

     24      left up to the states and municipalities so they can use

     25      their unique knowledge about their own citizens and how to

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 69 of
                                                                  Main
                                                                     179Document
                                Pg 68 of 178
                                                                         Page 68

      1      address them," 149-22 to 155.

      2                  Then we came back on November 6th.      And after Your

      3      Honor commended the parties on the progress in the case to

      4      date, which was very nice of you by the way, the Court

      5      emphasized that "Everyone here, including the consenting

      6      states...needs to be thinking about...what I believe will be

      7      a fairly neutral structure for a plan here."        In fact, the

      8      Court's final reflections on these plan issues was to

      9      encourage all 50 states and the District of Columbia and the

     10      territories and the Native American tribes to be a resource

     11      and that "Each state reach out to the claimants in its state

     12      and start discussing this crisis" -- crisis we added, you

     13      just said this -- "to see if there's an equitable way that

     14      the claimants within the state can get comfortable with how

     15      it can be addressed," 57-10 to 13.

     16                  I actually have a few more quotes, but I'll leave

     17      it at that.

     18                  Fifteen, we are most assuredly not agreeing to

     19      seek authority to pay these fees as a thank you present for

     20      supporting us at the injunction hearing, even though that

     21      support likely significantly contributed to us prevailing,

     22      an outcome that hopefully is already avoiding value losses

     23      and will ultimately avoid value loss and expense many, many

     24      multiples of the fees in question.

     25                  We are not doing it because we like the ad hoc

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 70 of
                                                                  Main
                                                                     179Document
                                Pg 69 of 178
                                                                         Page 69

      1      group more than we like other creditors or groups.          We're

      2      doing it because we think it is in the best interest of the

      3      estate.

      4                  And while I'm discussing the debtors' judgment,

      5      which is what lead to this motion, the UCC cited in their

      6      brief to several transcripts from Your Honor where Your

      7      Honor appears to have articulated a less deferential

      8      business judgment standard than that applied by many other

      9      courts.

     10                  Other people cited the Second Circuit case in

     11      Orion, which seems to have kind of a slightly different

     12      articulation of the Court being an overseer of the wisdom of

     13      the debtors.    It actually specifically says that ascension

     14      motions should not be mini-trials.          They should actually be

     15      sort of summary things that move the case along quickly.

     16                  And then the ad hoc committee cited a Supreme

     17      Court case from six months ago tomorrow where the Supreme

     18      Court states that when a debtor seeks to assume or reject an

     19      executory contract "the Bankruptcy Court will generally

     20      approve the choice under the deferential business judgment

     21      rule," Mission Product Holdings Inc., This Is Technology

     22      LLC, 139 Supreme Court 1652, 1658 (2019).

     23                  It is not for me and I will not be doing it, to

     24      tell the Court what standard to apply today.          But happily it

     25      is of no moment because the debtors believe that under any

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 71 of
                                                                  Main
                                                                     179Document
                                Pg 70 of 178
                                                                          Page 70

      1      of the standards the Supreme Court's potential deferential

      2      business judgment, Orion's overseer of the wisdom or even

      3      the transcripts that they found that seem to suggest that

      4      you kind of look at it de novo, you know, we are very

      5      comfortable with the request relief and the judgment and the

      6      complexity that went into it is in the best interest of the

      7      estates and should be approved.

      8                  Finally, sixteen, as I have told many parties and

      9      I believe the Court in some cases more than once, the

     10      debtors have long viewed this as a four-gates deal.          Gate

     11      One was agreeing to a settlement framework with a critical

     12      mass of parties.    Check.

     13                  Gate Two was memorializing that agreement in more

     14      detail in an actual written term sheet.             Check.

     15                  Gate Three is moving to an RSA stapled to a much

     16      more flushed out version of that deal and term sheet whose

     17      preconditions are massive amounts of diligence, structuring

     18      and negotiation.    That work has been progressing intensely

     19      in the window created by the initial stay period.

     20                  And Gate Four is the confirmation hearing where,

     21      if all goes well, that deal is authorized to close and will

     22      close.

     23                  Therefore, I was in no way surprised or fussed or

     24      embarrassed to see my own words from this very podium about

     25      where we are at present with much work still to be done and

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 72 of
                                                                  Main
                                                                     179Document
                                Pg 71 of 178
                                                                         Page 71

      1      uncertainty about ultimate outcome cited back to me at some

      2      length in some of the objections.

      3                  Quite the contrary, we have been completely direct

      4      and very forthright with all parties about both exactly

      5      where we are and exactly where we are not yet.         The debtors

      6      believe that progressing the deal set forth in the term

      7      sheet is critical and that it is absolutely in the best

      8      interest of the estate to continue with the diligence

      9      necessary to move this case towards Gate Three.

     10                  And that diligence and the work that we need to do

     11      in the months ahead is extremely substantial whether or not

     12      we pass exactly through the Gate Three whose structure is

     13      outlined in the October 8th term sheet or some slightly

     14      different one.    It includes questions like, how much are the

     15      IACs worth and should they be prepared for sale; how do we

     16      establish appropriate security interests and covenants with

     17      respect to the Sacklers and the IACs; how do we get the most

     18      money into the estate the most quickly; exactly which

     19      Sacklers are guaranteeing the $3 billion minimum

     20      contribution and how will payments be allocated among them;

     21      what covenants and protections do we get from a far flung

     22      family for a multi-billion-dollar multi-year deal; how much

     23      are the Sacklers worth and where are their assets.

     24                  As these questions and dozens and dozens of others

     25      make clear, there are huge amounts of work to be done on

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 73 of
                                                                  Main
                                                                     179Document
                                Pg 72 of 178
                                                                         Page 72

      1      this hugely complicated multi-billion dollar, multi-

      2      continent, multi-country, multi-year deal or whatever

      3      variant of it we end up with that presumably will still

      4      include billions of dollars paid in from the shareholder

      5      parties.

      6                  It is in light of all this that it is and remains

      7      the debtors' view that three entities each need to be deeply

      8      and primarily involved in pushing us all forward, pushing

      9      the family, the shareholders, for diligence, disclosure,

     10      granularity, covenants, collateral and other protections.

     11      These three parties are:

     12                  One, the debtors, the ultimate fiduciary for all,

     13      and the indisputable owner of billions of dollars of

     14      potential claims against the related parties;

     15                  Two, the UCC, an undisputed fiduciary for all

     16      unsecured creditors; and

     17                  Three, the states who along with other

     18      governmental entities are participating via one of the ad

     19      hoc committees, the UCC itself, or the non-consenting states

     20      group and with whom the ad hoc committee has agreed to share

     21      substantial financial information analysis produced by their

     22      financial professionals.

     23                  At the end of the day, Your Honor, I think there

     24      is one core question for this hearing and it's not actually

     25      particularly evidentiary:      Is it acceptable business

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 74 of
                                                                  Main
                                                                     179Document
                                Pg 73 of 178
                                                                             Page 73

      1      judgment for the debtors to pay the fee for this third

      2      party.      It's expensive.   It might be duplicative.         And are

      3      they really doing anything that the debtors and the

      4      creditors' committee cannot do themselves, and why should

      5      the estate spend what might end up being tens of millions of

      6      dollars on that.

      7                    It's a fair question, but the debtors believe that

      8      the answer is better than the question.              At base, it is the

      9      debtors' informed view and judgment having lived these

     10      litigations and other related matters for years that the

     11      states have power and negotiating leverage and sovereign

     12      rights that they alone can wield against the shareholder

     13      parties in addition to the rights and leverage and claims

     14      and threats of others.

     15                    Moreover, unless the supporting states get all the

     16      information they need from the related parties to proceed

     17      through the next gate, they will neither continue with the

     18      deal themselves nor be willing or able to bring any other

     19      parties on board or to undertake the various tasks that the

     20      Court has suggested to them might be quite critical once we

     21      get to the implementation phase.

     22                    Simply stated, the debtors believe -- and this is

     23      really counsel and judicial judgment more than witness

     24      testimony -- that this case will be resolved faster and

     25      better if today's request is granted.            If the states are to

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 75 of
                                                                  Main
                                                                     179Document
                                Pg 74 of 178
                                                                         Page 74

      1      play the meaningful role that this Court often sua sponte

      2      has raised and suggested, they of course need to be

      3      comfortable and fully informed as to facts, options and

      4      structure.

      5                   As everybody knows, Purdue and the Sacklers and

      6      the opioid crisis are issues that are very, very public and

      7      very material and very controversial in many states.          And

      8      those states have been abundantly clear that other entities

      9      that they have not chosen and whose boards they cannot vote

     10      whether or not they are fiduciaries will not be doing that

     11      work for them.

     12                   Moreover, the irony of this hearing is worth a

     13      moment of digression.     The debtors unfairly and wrongly have

     14      repeatedly been accused in the press and by certain parties

     15      in these cases of trying to protect the Sacklers or trying

     16      to inappropriately use the debtors' bankruptcy as a shield

     17      for the Sacklers.

     18                   While all of that is emphatically false and

     19      happily is materially dying down as weeks and weeks of fact

     20      on the ground give it the lie that it is, what the debtors

     21      are here today trying to do is further empower a large

     22      number of State Attorneys' General.          And, indeed, all of

     23      them, because of the information sharing to which they have

     24      agreed, the debtors are seeking to underwrite the very

     25      entities who have been their most fierce, their most

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 76 of
                                                                  Main
                                                                     179Document
                                Pg 75 of 178
                                                                            Page 75

      1      bitterly antagonistic and their most long-standing litigious

      2      stakeholders because the debtors believe that that will get

      3      us all to consensus better and faster.

      4                  Moreover, Your Honor, if you want to think about

      5      it from a different angle, you could really argue, although

      6      it's not actually what animated us today, that this motion

      7      is, in fact, a very fair trade for the injunction willing

      8      (sic) because the states alone have police powers that are

      9      potentially not automatically stayed.

     10                  But this Court ruled, over the fierce objection of

     11      24 of them, that they do not in this unusual case get to

     12      continue their extent police and regulatory power litigation

     13      in their own preexisting courts of choice because we

     14      correctly prevailed in arguing that that would have been

     15      insanely value destructive for all.

     16                  So perhaps another reason the motion should be

     17      granted is that as part of being compelled to proceed in a

     18      unitary organized fashion in this one court, they get

     19      assistance in their efforts to work towards a solution in

     20      the common interest.     And if this is part of the bargain

     21      that net avoided hundreds of millions of dollars of expense

     22      and fees and lost value, it seems pretty sensible.

     23                  Your Honor, those are the 16.           Let me now switch

     24      gears and come at things from two more angles.

     25                  Number one is the O'Connell deposition.           So like

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 77 of
                                                                  Main
                                                                     179Document
                                Pg 76 of 178
                                                                            Page 76

      1      others, I, you know, sort of opened my bleary eyes and went

      2      through that little mini four on a page transcript.             And I'm

      3      going to guess that there are probably a few things that the

      4      people who took the deposition are pretty excited about, or

      5      maybe a little excited about.        Since I actually lived all

      6      this, I actually don’t think it's exciting at all.             So since

      7      I'm at the podium I'm going to take a few minutes to address

      8      some of that.

      9                  One of the things that came up in the deposition

     10      was that Mr. O'Connell did not know and had no answers or I

     11      -- if he had them I don't think they were very good -- as to

     12      why if the supporting states were supporting us on the

     13      injunction that was not laid out in our informational brief

     14      and was not even in our initial injunction papers.             Like if

     15      they were your big supporters and that was always part of

     16      the deal, where is it in the documents.             A totally fair

     17      question.    Since Mr. O'Connell is an investment banker, it's

     18      not a huge surprise that he didn't know the answer.

     19                  I'm not an investment banker and I do know the

     20      answer, which is the way it was supposed to work was we were

     21      supposed to go into Chapter 11, finish a term sheet, know

     22      that we had a deal, and then we would proceed with the

     23      injunction and they would be supporting us.             Unfortunately,

     24      as Your Honor remembers perfectly well because we had some

     25      pretty sharp exchanges with some of the states about it,

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 78 of
                                                                  Main
                                                                     179Document
                                Pg 77 of 178
                                                                         Page 77

      1      some of the states took the bankruptcy filing as the

      2      acceleration gun.

      3                   And what happened as soon as we filed was that we

      4      were getting literally battered, just battered multiple

      5      times a day with emergency hearings and sua sponte orders

      6      and deposition notices and things like that.          And we simply

      7      couldn't survive and wait to proceed with the injunction.

      8      So we ended up radically accelerating the injunction papers

      9      being filed.     People like didn't go home from the Sunday we

     10      filed for Chapter 11 until I think it was the Thursday maybe

     11      that we filed the injunction papers.          We didn’t have a term

     12      sheet yet.     We had to flip the order.

     13                   And the supporting states said to us, we know we

     14      said we would be supporting you, but right now all we have

     15      is this three-bullet oral settlement framework.          When we

     16      finished the term sheet, that's when you'll see our support.

     17      So the second we got the injunction papers filed, we went

     18      back into the chamber with them and worked on the term

     19      sheet, which was ultimately agreed to on October 7th and

     20      filed on October 8th, and about like a minute after that

     21      they filed their statement of support for Thursday's

     22      injunction hearing.

     23                   It's actually, frankly, a lot like what we did

     24      with the creditors' committee, which actually the minute we

     25      finished that one on October 7th we dragged ourselves into

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19-23649-rdd
        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 79 of
                                                                  Main
                                                                     179Document
                                Pg 78 of 178
                                                                         Page 78

      1      the next conference room and the committee said, you know,

      2      we're not going to take a position supporting you on the

      3      injunction until you reach a stipulation with us.         And that

      4      wasn't even done until the Friday morning of the hearing,

      5      and then moments later I think they called the Court and

      6      said, we're going to be supporting the debtor on the

      7      injunction.

      8                  So there's no Perry Mason moment there.       The

      9      reason you didn't see the supporting committee -- the ad hoc

     10      committee support is we just weren't done yet and they were

     11      saying, finish the term sheet so we know that we actually

     12      have something that is, you know, much more flushed out and

     13      real, and then we will step up.

     14                  And just for what it's worth, lawyers shouldn't

     15      testify, but this kind of bugged me a little bit.         So one of

     16      the other things I did in the middle of the night last night

     17      was I actually went back and looked at the earlier drafts

     18      that we had been sending them pre-filing starting in August

     19      and every one of them of course, because it was the core of

     20      the deal, says you will support us at the injunction.           You

     21      will fully stand down.

     22                  So I'm hoping they're not going to say, like we

     23      didn't think to ask for that till afterwards and we agreed

     24      to pay their fees not having thought about it because that

     25      would actually be both actually insulting because they're

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 80 of
                                                                  Main
                                                                     179Document
                                Pg 79 of 178
                                                                         Page 79

      1      actually making me a moron, and it would also be, in fact,

      2      totally false.

      3            (Laughter)

      4                  MR. HUEBNER:     Two, there seemed -- you may hear

      5      later, Your Honor, about some kind of blocking position

      6      testimony from yesterday.        There appeared to be a brief

      7      flurry of what looked to me in a blurry eyed as sort of

      8      excitement that, you know, did these guys have a blocking

      9      position, like do they own 33.335 percent of the debt.           And

     10      the answer is, we have no idea because nobody knows that,

     11      like is that a Perry Mason moment?

     12                  Look, in a totally simplistic case with a known

     13      quantum of debt, where you can calculate percentages, people

     14      buy 34 percent of the debt have a blocking position and

     15      sometimes they get maybe more than they should deserve

     16      because of that.

     17                  But happily for us those of us in the room and

     18      especially those of us in a robe are infinitely more

     19      sophisticated than that.        There are lots of ways to have

     20      leverage in a case.    There are lots of ways to have a

     21      blocking position in a case.         We weren't litigating the

     22      police power injunction against private entities.          We were

     23      litigating against governments.          We weren't here on November

     24      6th figuring out a way to get the injunction consented to

     25      with private parties because they're automatically stayed.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 81 of
                                                                  Main
                                                                     179Document
                                Pg 80 of 178
                                                                             Page 80

      1                  On April 8th when I doubt we will be done with

      2      this case and we need an injunction extended, we're not

      3      going to be begging the private parties because, candidly,

      4      they're automatically stayed and they will file claims and

      5      we'll go through them.         Governments are just different.       And

      6      when it comes to police power and regulatory -- by the way,

      7      at subsequent hearings I may be saying they're very

      8      unimportant.    Let me just be very clear about that.            I just

      9      want to be up front.

     10            (Laughter)

     11                  MR. HUEBNER:       I know you don't like when people

     12      reserve their rights.       I'm reserving my rights to say

     13      they're not as important as they think they are when they

     14      disagree with us.      Okay.

     15            (Laughter)

     16                  MR. HUEBNER:       Next, another thing they seemed

     17      excited about, isn't it true, Mr. O'Connell, this is like

     18      from a TV show, isn't it true that RSA parties often provide

     19      financing to debtors or consent to the use of cash

     20      collateral.    Yeah.    Like it's true.        When that's the nature

     21      of what is at issue in the case and when a debtor is running

     22      out of money and can't pay its bills and needs financing,

     23      that's the trade.      When a creditor has a lock on cash

     24      collateral and you can't use a penny of your own cash

     25      without their consent, that's the trade.              I just can't find

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 82 of
                                                                  Main
                                                                     179Document
                                Pg 81 of 178
                                                                           Page 81

      1      a Perry Mason in this one either.

      2                  Different parties in different cases bring

      3      different things to the table, both guns they put away and

      4      guns they choose not to use.       And so, yes, in a typical

      5      plain vanilla intellectually and analytically uninteresting

      6      RSA in a simplistic capital structure, the trade is often

      7      for new financing or cash collateral consent.            That's just

      8      not the trade that these debtors needed.            We don't need a

      9      DIP loan and nobody has cash collateral.            They have lots of

     10      other things which Your Honor doesn't obviously need me to

     11      elaborate on.

     12                  The last kind of Perry Mason moment, which wasn't,

     13      was when they showed Mr. O'Connell a one-page piece of paper

     14      that purported to be a Chapter 11 budget.            Mr. O'Connell,

     15      and I think what they were saying was this has a lot of

     16      money on here for these ad hoc people, but doesn't even have

     17      as much money as they get for the UCC, like, explain.

     18                  Again, you know, they will describe it and Mr.

     19      Kanesty (ph) will help because, you know, I don't -- I'm not

     20      like perfectly conversant, but my understanding both at the

     21      deposition and then last night was that this is a completely

     22      outdated piece of paper from June that probably never -- I

     23      don't even know if it should have been put in the data room.

     24      And this was one of the many iterations of the budget that

     25      was done over the many months.        Obviously, November 19th --

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 83 of
                                                                  Main
                                                                     179Document
                                Pg 82 of 178
                                                                          Page 82

      1      my sister's birthday -- is actually very far away from June

      2      in the life of a Chapter 11 case and there are many things

      3      on there that have no relevance at all and are clearly

      4      totally outdated and irrelevant.

      5                  So, you know, again, obviously I will leave it to

      6      them to advocate for what they got out of yesterday's

      7      deposition.    But, you know, I sort of jumped on it as soon

      8      as I could and I didn't really see very much that I thought

      9      was too awesome.

     10                  Okay.    So now I want to do one last thing.          There

     11      are three arguments that were made in the papers that I

     12      actually want to hit quite directly which I think hopefully

     13      will be helpful to the Court.

     14                  One, there is no signed binding RSA.         It has

     15      surface appeal.      Your Honor, look at the term sheet.          It's

     16      not even signed.      The only thing these guys and ladies ever

     17      put their signature to was their fee letter.           Show me like

     18      an actual signature of anybody other than on the fee letter.

     19      This is outrageous.

     20                  Yeah.    It's actually not.       In fact, I actually

     21      find it singularly unpersuasive.

     22                  One, as this Court well knows probably better than

     23      anyone in the room, no RSA in fact truly and irrevocably

     24      binds its signatories.      In fact, RSAs invariably have

     25      multiple outs.      And as Your Honor has seen for decades, they

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 84 of
                                                                  Main
                                                                     179Document
                                Pg 83 of 178
                                                                             Page 83

      1      not only have multiple outs, they often have multiple broad

      2      and discretionary outs, like the plan and all plan documents

      3      and every other document in the history of the universe must

      4      be acceptable to us in our sole discretion, or they have

      5      milestones like you will file a plan by Thursday.

      6                  And things like that, every one of them is a

      7      discretionary out.    And Your Honor has presided over God

      8      knows how many cases where milestones got extended again and

      9      again and again, or courts said, I'm not going to approve

     10      those milestones.    You know you can't make those and you're

     11      just giving them a hidden discretionary out.

     12                  So I think that the objectors' focus on the

     13      absence of a signed RSA is pretty close to a full on red

     14      herring because RSAs are very often of gossamer spun.

     15                  Rather, I would suggest that the ad hoc committee

     16      has been and has acted bound to this deal to date as least

     17      as much as a distressed bondholder is bound to a deal under

     18      a traditional and highly porous RSA.

     19                  But don’t take my word for it, Your Honor, because

     20      we actually went back and pulled a whole bunch of RSAs where

     21      our colleagues at Akin Gump were getting their fees paid as

     22      counsel to ad hoc groups or creditors.              And guess what?

     23      Those RSAs consistently have broad and varied termination

     24      rights and outs based on documentation consent, milestones

     25      and even diligence outs.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 85 of
                                                                  Main
                                                                     179Document
                                Pg 84 of 178
                                                                             Page 84

      1                  So the notion that wonderful, magical RSAs bind ad

      2      hoc committees and that is what justifies their fees being

      3      paid, and only these foolish Purdue debtors forgot to bind

      4      their ad hoc group is respectably farcical.              Most RSAs have

      5      multiple holes large enough to drive a truck through and

      6      very often bondholders exit through those holes after

      7      getting a whole bunch of fees paid.

      8                  Two, in this case which does not actually happen

      9      very often it is the debtors who have total unmitigated

     10      unqualified optionality.      We can terminate paying the ad hoc

     11      committee's fees at any time for any reason, period.              If

     12      Purdue concludes that it is no longer in the estate's best

     13      interest to pay these fees, we send them a one line email:

     14      Dear Ad Hoc, it's over, the debtors.

     15                  Now that's pretty rare and it actually explains

     16      we're not actually fool hearty at all.              We signed the fee

     17      letter pre-filing knowing that it was about to become a pre-

     18      petition, unsecured, unassumed and unenforceable contract,

     19      and we would then make the judgment if we got to where we

     20      needed to go to file an assumption motion.              We then had the

     21      injunction hearing and got the term sheet done and saw the

     22      facts on the ground and made the decision to proceed.

     23                  But today doesn't actually lock us into anything.

     24      It authorizes us to pay their fees for only so long as we

     25      see fit.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 86 of
                                                                  Main
                                                                     179Document
                                Pg 85 of 178
                                                                               Page 85

      1                  In addition --

      2                  THE COURT:     How can -- can I -- how does that tie

      3      into the new provision that says the capped prepetition

      4      amount is tied to the earlier of an RSA or a plan?

      5                  MR. HUEBNER:     Sure.     That's a great question, Your

      6      Honor.

      7                  So I would say it like this.              I'm just a little

      8      bit on my feet because it wasn’t addressed specifically.

      9      But if we terminate before getting to an RSA with them, it

     10      never gets paid.

     11                  THE COURT:     That's clear.       Yeah.

     12                  MR. HUEBNER:     If we terminate before getting to a

     13      plan with them, it's never paid.           I guess your question is

     14      what if we terminate and then later we end up doing a deal

     15      with them even though they can't get paid for anything in

     16      the interim, can they submit a bill for $1.49 million for

     17      their prepetition.

     18                  You know, I don't know, candidly.

     19                  THE COURT:     I mean, in practical terms you

     20      probably would have it in that deal.

     21                  MR. HUEBNER:     Yeah.     Well, I didn't want to be

     22      cheeky, but I was going to say if we end up getting to a

     23      global deal later and there is an interregnum, I'm pretty

     24      confident there's going to be a larger discussion and a

     25      resolution of what happens with the fees, which by the way

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 87 of
                                                                  Main
                                                                     179Document
                                Pg 86 of 178
                                                                            Page 86

      1      is perfectly consistent with even Akin Gump's own pleading

      2      which is like, come back when you have a deal and then we'll

      3      be much more favorable.     We acknowledge we get fees paid

      4      like this all the time.     The question is just do the facts

      5      justify them.

      6                  So I'm getting -- like -- let me say this.           If our

      7      worst problem is figuring out what to do with this 1.49

      8      million when we're otherwise all singing Kum Ba Yah, we're

      9      in a pretty fabulous place and I'm sure we will figure

     10      something out.

     11                  What I actually thought you were going to ask --

     12      and shame on me for guessing wrong -- is if you have a flat

     13      unconditional right to terminate, why do you also have a

     14      right to terminate if they become less representative or if

     15      they don't do an RSA by a date certain.             Like if you have a

     16      flat one, why do you have extra ones.

     17                  The answer is because they are statements of

     18      intent that are important to us.         Even in this -- at the

     19      time on September 15th totally optional fee letter, this was

     20      a let us be totally clear, if you (indiscernible) are not

     21      the representatives that we thought you were or you're not

     22      moving towards an RSA with us, let there be no mistake.             So

     23      those are just additives to a total discretionary at any

     24      time termination right.

     25                  Three, while there is in fact not yet a signed RSA

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19-23649-rdd
        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 88 of
                                                                  Main
                                                                     179Document
                                Pg 87 of 178
                                                                         Page 87

      1      and there also isn't a signed term sheet, because candidly,

      2      you know, we thought about doing a heads of agreement for

      3      the term sheet.    I've been through this rodeo before.

      4      They're just kind of foolish because when a term sheet

      5      itself -- maybe not much more foolish, ironically, than RSA

      6      which has a ton of outs.

      7                  When a term sheet itself still has lots of TBDs as

      8      term sheets always do, you know, you could slap something on

      9      that says, you know, we all agree in good faith that we will

     10      pursue this term sheet.     And it's worth something.      Filing

     11      it on the docket as an agreed term sheet, filing a pleading

     12      a few minutes later which they did -- I don't remember if it

     13      was a few minutes, but soon thereafter saying we have agreed

     14      to the attached term sheet and because of that here is our

     15      objection to the injunction, standing up against the other

     16      half of the country at the hearing and saying, we stand down

     17      and we actually support you being bound, I actually think

     18      that those facts on the ground are much stronger evidence of

     19      support than a piece of paper on a porous RSA.

     20                  We're also, though, just to leave no stone

     21      unturned, progressing a stipulation with the ad hoc

     22      committee that, in fact, will have a variety of covenants

     23      and agreements a lot like the UCC stipulation which, again,

     24      will be yet another thing that looks a lot like an RSA and

     25      will add even more to this sort of package of commitments

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 89 of
                                                                  Main
                                                                     179Document
                                Pg 88 of 178
                                                                             Page 88

      1      from the ad hoc group.

      2                   And let's not lose sight of sort of the slightly

      3      bizarre twist from today's hearing.          The UCC -- and I

      4      understand why they did it because they're not on board with

      5      the deal yet and that's totally fine.           They shouldn't be.

      6      They were -- had been formed a week earlier -- demanded as

      7      part of their October 11th stipulation that we adjourn for

      8      four months, the time table we were originally on, to sign

      9      an RSA that took us to Gate Three with the ad hocs.

     10                   Now they're saying, you don't have an RSA.           That's

     11      an outrage.     You can't pay their fees.           Well, it kind of

     12      seems like a little bit unfair to do both of those things.

     13                   So, look, nobody knows, nobody, certainly not me,

     14      where this case is going to end:         Will it be the exact deal

     15      on the term sheet, a variant or improvement of the deal on

     16      the terms sheet, or a different deal.           And if I got up and

     17      tried to say, the deal on that term sheet, see you at the

     18      closing, you would think I was either delusional or a

     19      mendicant.

     20                   But what I do know is that the substantial work

     21      that has been done to date and needs to be done many hours a

     22      day almost every day for the next few months by each of the

     23      UCC, the debtors and the ad hoc committee and other parties

     24      as well for sure has been and will continue to be essential

     25      to progressing these cases.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 90 of
                                                                  Main
                                                                     179Document
                                Pg 89 of 178
                                                                          Page 89

      1                    Your Honor, as a reminder, RSA stands for

      2      restructuring support agreement.          Let's just take those for

      3      a second.      I'm guessing we can stipulate that we're in a

      4      restructuring.

      5                    I think judicial notice is pretty clear and I

      6      don't think it could possibly be disputed that we have

      7      gotten substantial support from the ad hoc committee to

      8      date, both in terms of the injunction hearing and the term

      9      sheet.      And if we don't keep getting the S for support, we

     10      will stop paying their fees, period.

     11                    A is for agreement which, again, when you combine

     12      the fee letter, the term sheet, the injunction pleadings,

     13      their positions in court and the coming stipulation, we

     14      think that that three-dimensional agreement is actually

     15      worth at least as much as many of the Swiss cheese two-

     16      dimensional agreements that are actually called RSAs.

     17                    Argument Two, and I'm only addressing three, the

     18      ad hoc committee lacks fiduciary responsibilities to the

     19      estate.      The UCC and the individual objectors both argue

     20      that the payment of the ad hoc committee's fees is

     21      inappropriate because they are not a fiduciary to the

     22      estate.

     23                    I just don't get this one.       We all understand and

     24      agree that they're not fiduciaries to the estate.           Nobody

     25      has ever suggested to the contrary.           That's just not the

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19-23649-rdd
        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 91 of
                                                                  Main
                                                                     179Document
                                Pg 90 of 178
                                                                             Page 90

      1      test moving to approve the fees of a creditor under 363 or

      2      365 or 503.    Creditor groups other than UCCs never have

      3      fiduciary duties to the estate or all creditors.            Although

      4      strangely enough, this may be the first case in history

      5      where the ad hoc group actually, may actually have fiduciary

      6      duties to almost everybody because they're all 48 of the 50

      7      states -- well, 47 because Arizona is sort of solo right now

      8      -- and they actually are the representatives --

      9                  THE COURT:     What are the other two?

     10                  MR. HUEBNER:     What's that?

     11                  THE COURT:     What are other two?

     12                  MR. HUEBNER:     Kentucky and Oklahoma who have --

     13                  THE COURT:     Oh, they have their own deal.

     14                  MR. HUEBNER:     Wait.     Did I misspeak?

     15                  UNIDENTIFIED SPEAKER:        No.    That's right.

     16                  MR. HUEBNER:     Yeah.     Thank you.

     17            (Laughter)

     18                  MR. HUEBNER:     I would like to thank the peanut

     19      gallery for that --

     20                  THE COURT:     Because they had previously settled.

     21                  MR. HUEBNER:     Yes.    Exactly.

     22                  THE COURT:     Okay.

     23                  MR. HUEBNER:     I don't want to over speak for them.

     24      We certainly did a deal with Oklahoma in the months before

     25      the filing.    I believe there was a deal with Kentucky, but I

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19-23649-rdd
        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 92 of
                                                                  Main
                                                                     179Document
                                Pg 91 of 178
                                                                          Page 91

      1      don't want to ever be viewed as speaking for a state

      2      government.

      3                   THE COURT:     Okay.

      4                   MR. HUEBNER:     So, you know, these sovereigns

      5      actually kind of are fiduciaries for at least 48, 50 or so

      6      of the United States.        So they're actually fiduciary-like

      7      even if they're not remotely fiduciaries the way that the

      8      debtors and the committee are.

      9                   I'm going to skip some stuff because I'm talking a

     10      lot, and let's go to Argument Three.

     11                   The debtors' request will result in unlawful

     12      disparate treatment of similarly situated creditors.           The

     13      UCC and individual objectors and other parties have also

     14      objected that this is unlawful because of disparate

     15      treatment.

     16                   I'm going to be quite brief on this one.        The

     17      debtors' motion plainly has nothing to do with the ultimate

     18      treatment of unsecured creditors under a plan.           Rather, the

     19      debtors' motion seeks authorization to use estate funds in a

     20      way that we believe is helpful for all.

     21                   The objectors do not, and frankly they couldn't

     22      because there is no case law that says that, cite to a

     23      single case in support of the notion that paying

     24      professional fees to a group of creditors during a case is

     25      unlawful disparate treatment.           And Akin Gump is actually

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19-23649-rdd
        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 93 of
                                                                  Main
                                                                     179Document
                                Pg 92 of 178
                                                                             Page 92

      1      pretty lucky that there is no case law that says that.

      2                  Quite the contrary, they expressly concede that

      3      paying such fees is permitted in various circumstances

      4      including under 363 and 365.       The only question is, is it

      5      justified under the facts.      So it can't be both

      6      categorically unlawful as disparate treatment and totally

      7      okay as long as it's justified under the facts at the same

      8      time.   Right.   You can look at their footnote that has all

      9      the RSAs that they honestly cite and say this is done all

     10      the time if the circumstances are right.

     11                  But here's the kicker on this one.            The ad hoc

     12      committee is not getting paid on the prepetition claims of

     13      each of its ten members.      It's getting paid for the

     14      committee's post-petition work in advancing the ball for the

     15      large group that they speak for and with their information

     16      sharing hopefully advancing the entire case.

     17                  And let me say just one semi-last thing from a

     18      totally different angle.      I want to engage in the following

     19      thought experiment because it's actually quite important

     20      because it's actually a thought experiment that was urged on

     21      us by people.

     22                  Assume for a moment, Your Honor, that right after

     23      we won at the preliminary injunction hearing we turned to

     24      the supporting states and we said, thanks so much for all

     25      the support at the injunction hearing.              That was really

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 94 of
                                                                  Main
                                                                     179Document
                                Pg 93 of 178
                                                                         Page 93

      1      terrific of you and we might actually not have prevailed

      2      without you.    But now that you did that, we're actually not

      3      going to honor our prepetition agreement with you because

      4      it's unenforceable because we're in Chapter 11 now, and

      5      we're not going to seek approval to pay your fees.         But

      6      thanks again.    Now can we sit down and meet about how to

      7      progress these cases and get a deal done.

      8                  We believe that this perfidious breach of trust

      9      may well have made any consensual deal not only with that

     10      group, but with many other parties as well in this case

     11      impossible because this is a uniquely difficult case.            And

     12      our credibility and our integrity are among our most

     13      valuable assets.    When we give our word, we keep it.        That's

     14      also part of business judgment.

     15                  Moreover, while it is not the governing provision

     16      here, the debtors believe that the relief we are seeking, in

     17      fact, is quite consonant with the policies underlying 503(b)

     18      because the ad hoc committee is working to grow the pie for

     19      all; the stand down of their own litigations that preserve

     20      estate value for all; the commitment to pursue a value-

     21      maximizing structure for a global resolution; assisting to

     22      secure at a minimum a $3 billion contribution with upside

     23      from the shareholder parties.        All of this work is being

     24      done while the ad hoc committee has no idea what the

     25      ultimate allocation or percentages or recoveries of their

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             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 95 of
                                                                  Main
                                                                     179Document
                                Pg 94 of 178
                                                                            Page 94

      1      own members might be.

      2                  So, Your Honor, in conclusion, and now this is in

      3      conclusion, I think the record more than demonstrates and

      4      the debtors firmly believe under any level of deference or

      5      lack of deference or standard of review that the

      6      reimbursement agreement will benefit the debtors' estates

      7      for the many important reasons I have discussed.

      8                  Six months ago tomorrow in Mission Products

      9      Holdings the Supreme Court of the United States stated as

     10      follows:

     11                  "Section 365 enables the debtor or its trustee

     12      upon entering bankruptcy to decide whether the contract is a

     13      good deal for the estate going forward.             If so, the debtor

     14      will want to assume the contract fulfilling its obligations

     15      while benefiting from the counterparties' performance.               But

     16      if not, the debtor will want to reject the contract

     17      repudiating any further performance of its duties.             The

     18      Bankruptcy Court will generally approve that choice under

     19      the deferential business judgment rule."

     20                  While we are aware that the fees at issue are not

     21      insubstantial, the debtors believe that authorizing us to

     22      honor our agreement to pay them, only for so long as we

     23      believe that it makes sense to do so, and with all of the

     24      bells and whistles and review rights and objection rights

     25      and judicial oversight in the proposed order is the right

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 96 of
                                                                  Main
                                                                     179Document
                                Pg 95 of 178
                                                                         Page 95

      1      deal at present and is in the best interest of the estates,

      2      and we ask that the motion be approved.

      3                  THE COURT:    Okay.

      4                  MR. ECKSTEIN:    Your Honor, good afternoon I guess.

      5                  THE COURT:    Good afternoon.

      6                  MR. ECKSTEIN:    Kenneth Eckstein of Kramer Levin on

      7      behalf of the ad hoc committee of governmental and other

      8      contingent litigation claimants.

      9                  Your Honor, I'm happy to proceed and supplement

     10      Mr. Huebner's extensive and I think comprehensive

     11      presentation on the motion, but I wanted to ask Your Honor

     12      whether you would prefer to hear the objectors first and

     13      then have me --

     14                  THE COURT:    Well --

     15                  MR. ECKSTEIN:    -- respond to --

     16                  THE COURT:    -- it was --

     17                  MR. ECKSTEIN:    -- some questions.

     18                  THE COURT:    -- extensive and comprehensive.      I'm

     19      not sure what, you know, I have -- I have your pleadings.

     20      You laid out in that pleading the different roles that the

     21      professionals play.      So I'm not sure there's anything really

     22      to add other than to respond to points that might be raised

     23      in opposition.

     24                  MR. ECKSTEIN:    That was my sense as well.      The

     25      only thing I will say, Your Honor, in addition to the

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             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 97 of
                                                                  Main
                                                                     179Document
                                Pg 96 of 178
                                                                         Page 96

      1      pleading that we submitted last week -- and, Your Honor,

      2      there is also submissions by, statements by each of the 23

      3      states --

      4                  THE COURT:   Right.

      5                  MR. ECKSTEIN:   -- that are -- plus the five

      6      territories that are supportive of the motion and are

      7      supportive of the settlement framework and that specifically

      8      acknowledge in those statements.         And Your Honor may have

      9      also noticed that there was a pleading submitted by the ad

     10      hoc committee of dissenting states represented by Mr. Troop

     11      also supportive of the motion.

     12                  And I thought it was noteworthy that while the

     13      impeachment proceedings are proceeding today and while the

     14      election is proceeding we actually found an issue around

     15      which all 50, or at least 48 states can agree.

     16                  Your Honor --

     17                  THE COURT:   I saw all those pleadings.

     18                  MR. ECKSTEIN:   -- I'm happy to rise later and

     19      respond to specific questions or comments that are made

     20      after the objections.

     21                  THE COURT:   Okay.

     22                  UNIDENTIFIED SPEAKER:      Your Honor, (indiscernible)

     23      as well.

     24                  THE COURT:   Okay.

     25                  UNIDENTIFIED SPEAKER:      Thank you.

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        Case 22-11068-JTD
             Doc 550 Filed 11/27/19
                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 98 of
                                                                  Main
                                                                     179Document
                                Pg 97 of 178
                                                                            Page 97

      1                    MR. HURLEY:    Good afternoon, Your Honor.       Mitch

      2      Hurley with Akin Gump on behalf of the official committee.

      3                    Your Honor, I want to make clear from the outset

      4      what the committee's objection is about and what it's not

      5      about.      The committee's objection is not to the

      6      participation in these cases of the ad hoc committee of so-

      7      called consenting states.         The committee encourages that

      8      participation and hopes that the sorts of contributions that

      9      the debtors have said they believe the ad hoc committee will

     10      make will be made.      And we hope to work alongside them in

     11      that regard.

     12                    Your Honor, this also is not an objection where

     13      the official committee is taking the position that there

     14      will never come a time in these cases where a non-

     15      fiduciary's fees warrant payment out of estate property.               It

     16      may be the ad hoc committee's fees.             It may be one of the

     17      other seven, eight or nine ad hoc groups that also is

     18      formed.

     19                    The committee's objection is based on our view

     20      that under the law and the precedents it is clear that the

     21      moment has not yet arrived where a non-fiduciary's fees

     22      could be justified to be paid out of estate property.

     23                    Now we believe that that's true across the board

     24      where we are in this case.         We haven't got an RSA yet.

     25      Obviously there is no, as Mr. Huebner discussed, new money

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                           Doc 3724-4Entered
                                         Filed 11/27/19
                                               11/12/23 10:48:17
                                                          Page 99 of
                                                                  Main
                                                                     179Document
                                Pg 98 of 178
                                                                         Page 98

      1      or secured financing that often accompanies a non-503(b)

      2      payment of fees.     I think what you do see across the board

      3      in all of those cases though is a relatively broad creditor

      4      or party in interest consensus behind a pathway that appears

      5      like a promising way to a prompt exit.

      6                   In this case we don't have that at all.       We have

      7      many creditor groups that have looked at the settlement

      8      framework and have said, it's interesting.          We want to

      9      examine it.     It may be something that makes sense in these

     10      cases.

     11                   Your Honor, that's what the ad hoc committee is

     12      saying.     They're not yet signed on to that deal.       They want

     13      to diligence it like everybody else.          So we're not at that

     14      stage, we submit, for any kind of arrangement.          But this

     15      particular arrangement that's being proposed, Your Honor,

     16      the official committee submits is especially extraordinary.

     17                   The proposal is that for this one non-fiduciary

     18      group estate property will be used to pay four separate law

     19      firms for a single client, FTI plus two other financial

     20      experts.     And I'll get in a minute to the change that they

     21      made to how Compass and Culture are going to be paid.            But

     22      to us it appears to be a distinction without a difference.

     23      So you're really talking about seven professionals.          And it

     24      looks like they're going to try and hire an investment

     25      banker to make it eight at some point in the future,

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 100 Main
                                                                  of 179Document
                                 Pg 99 of 178
                                                                         Page 99

      1      although they're going to come back with a different motion

      2      for that.

      3                  So they are before Your Honor not just asking to

      4      pay a non-fiduciary's fees in very unusual circumstances,

      5      but to ask Your Honor to approve paying seven professionals

      6      for a single client in very unusual circumstances.

      7                  Now Mr. Huebner said something suggested that it

      8      would somehow be a breach of trust if these fees are not

      9      paid.   He made his promise.      Of course, Your Honor, Mr.

     10      Huebner knows as the Court does that the only thing Mr.

     11      Huebner could promise was to make this motion.

     12                  And moreover, Your Honor, the ad hoc committee

     13      that he was negotiating with when they came up with this

     14      seven or eight professional arrangement is represented by

     15      highly experienced and sophisticated counsel.         They are in

     16      the room today.

     17                  It cannot have been a surprise to them that there

     18      could be headwinds for a motion of this kind at this stage

     19      in the cases, particularly when you are insisting on seven

     20      or eight professionals representing a single non-fiduciary.

     21                  The committee was prepared to be reasonable in

     22      this, but no compromise could be reached before today.          That

     23      leaves the debtors in the unenviable position not only of

     24      having to carry their burden of proving this is in the best

     25      interest of the estates to pay a non-fiduciary at this stage

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 101 Main
                                                                  of 179Document
                                 Pg 100 of 178
                                                                        Page 100

      1      in the cases, but to pay the fees of seven professionals for

      2      a non-fiduciary at this stage in the cases.         The official

      3      committee submits they can't do it and they haven't done it.

      4                  I want to talk about the standard for a moment.

      5      So Mr. Huebner referenced the Orion case which is a case

      6      that Your Honor has yourself cited in describing how the

      7      business judgment standard is applied within this Circuit.

      8                  According to Orion, "Bankruptcy Courts sit as an

      9      overseer of the wisdom with which the estate's property is

     10      being managed."

     11                  The Second Circuit in the Nastas (ph) case citing

     12      Orion provided, "Assumption of a contract requires a

     13      judicial finding up front that it was in the best interest

     14      of the estate and the unsecured creditors for the debtor to

     15      assume the contract."

     16                  This is not a deferential standard.       It is a

     17      standard that requires the Bankruptcy Court to step in,

     18      examine the evidence and reach an independent conclusion

     19      about whether the proposed decision is in the best interests

     20      of the estate.

     21                  Now, when examining whether a proposed decision is

     22      in the best interests of the estate, of course it is

     23      necessary to consider, not just potential benefits, but also

     24      potential burdens of the decision.

     25                  On the burden front, the Debtors' motion fails

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 102 Main
                                                                  of 179Document
                                 Pg 101 of 178
                                                                        Page 101

      1      completely with any evidence.        The Debtors did not come

      2      forward with any projections; that's how much they think

      3      this is going to cost.

      4                   The ad hoc committee, in its papers, also didn't

      5      submit evidence, a declaration or anything.         But, in their

      6      brief, they say that probably it'll be a million and half to

      7      two million dollars just for the four law firms, per month;

      8      another million per month for FTI and they don't say

      9      anything about how much Colter and Compass are going to cost

     10      going forward.     Let's just assume, for sake of argument,

     11      that it's $3 million a month.

     12                   So if this goes on for say six months, we're

     13      talking about probably close to $20 million in fees over

     14      that period of time.

     15                   And the question is what can we be sure, at this

     16      stage of the cases, are the estates going to get in return

     17      for that $20 million.     And the answer is nothing.      Okay?

     18                   They refer to the fee letter to say that there are

     19      some obligations on the part of the ad hoc committee here

     20      but there really aren't.

     21                   What the fee letter says is that the ad hoc's

     22      professionals only will get reimbursed if they do certain

     23      things.     They don't have to do those things.      But, if they

     24      want to get paid, they have to do work within the scope.

     25                   That scope includes doing the diligence that A lot

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                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 103 Main
                                                                  of 179Document
                                 Pg 102 of 178
                                                                        Page 102

      1      of other parties in here also want to do to try to evaluate

      2      whether the settlement framework makes sense in these cases;

      3      whether it's something that the parties really want to

      4      advance to a final deal.      That's part of it.

      5                  But this is really important. Part of it, and the

      6      Debtors have been really up front about this, and the ad hoc

      7      committee has been really up front about this, they except

      8      the estates for pay for them, to negotiate allocation, their

      9      groups against all the other groups, okay?

     10                  So that means, as a practical matter, Your Honor,

     11      we could be in a position; I hope we won't, and I'm not

     12      saying we will, but it's a risk, that this group of ad hoc

     13      folks with their seven professionals are billing the estates

     14      for six months or eight months, diligencing the case, try to

     15      negotiate a deal that's acceptable to them and they can't.

     16      And everybody else, but the ad hoc group, says we think we

     17      have a path to exit.     Here's the plan we want to proceed

     18      with.   The ad hocs, at that juncture, after getting 20, 30

     19      40 million dollars of estate money can say, I don't like it.

     20      And now not only am I not going to aid an early, an early

     21      reorganization, I'm going to spend the next six months

     22      fighting it.

     23                  Like I said, I hope that doesn't happen but it

     24      could happen.    And how do you avoid, how do you be sure,

     25      that that doesn't happen in a case like this?

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 104 Main
                                                                  of 179Document
                                 Pg 103 of 178
                                                                            Page 103

      1                   The code and the bankruptcy case law provides an

      2      answer.     So one way is through 503(b).           You don't actually

      3      pay the non-fiduciary's fees until they have actually been

      4      able to come to the Court and demonstrate I actually did

      5      what I said I was going to do.

      6                   The Court knows, at that point, and they can make

      7      a judgment about whether that warrants payment.

      8                   Another possibility was with respect to an RSA,

      9      new financing, new money; where there is some kind of

     10      concrete commitment; with some kind of concrete steps that

     11      are going to be taken, that people can get behind.

     12                   And, again, we're in a situation where there is

     13      not one single party that has stood and said that it

     14      currently believes the settlement framework is in the best

     15      interests of the estates.      Not the Debtors, not the ad hoc

     16      committee.     That doesn't mean it's not but we're not there

     17      yet.

     18                   So that's part of the, I guess, the potential

     19      downside that's you wind up spending a lot of money and

     20      getting nothing from it.

     21                   But I want to talk a little bit about in the best

     22      interests balancing, the benefits that the Debtors say go

     23      along with granting this motion.

     24                   So they put them really in two buckets.           There's

     25      the buck of benefits that they say have already been

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 105 Main
                                                                  of 179Document
                                 Pg 104 of 178
                                                                        Page 104

      1      conveyed by the ad hoc committee and that bucket includes

      2      advancing the settlement negotiations towards the framework,

      3      supporting the injunction, obtaining disclosures from the

      4      Sacklers, among others, and with respect to those items,

      5      they say that, for instance, they believe that the ad hoc

      6      committee support for the injunction was very important to

      7      it being granted.

      8                  There's only person in this room that can answer

      9      that question.    But we'll assume, for the sake or argument,

     10      their a hundred percent right about that.

     11                  And although it seems like there may be a little

     12      bit of revisionist history about who was involved in getting

     13      us as far down the field as we are, I think it was more than

     14      just the ad hoc committee, but I'm sure they had a valuable

     15      influence on that process and they also were helpful in

     16      obtaining disclosures from the Sacklers and we appreciate

     17      all of that work.

     18                  But assuming that everything they say about those

     19      kind of cost benefits is a hundred percent accurate, Your

     20      Honor, there's still past benefits.          They are things that

     21      have already been done and so that's what a substantial

     22      contribution motion is for.

     23                  And, in fact, Your Honor, the U.S,. Trustee said,

     24      in their papers, look, it's too early to know whether or not

     25      the ad hocs are going to make a substantial contribution.

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 106 Main
                                                                  of 179Document
                                 Pg 105 of 178
                                                                        Page 105

      1      And Debtors responded specifically by saying you're wrong.

      2      We know already.    They did these three things.

      3                  Well, if that's the case, Your Honor, that's what

      4      503(b) is for, substantial contribution would be appropriate

      5      for those kind of past benefits.         They don't justify go

      6      forward fees.

      7                  Now with respect to the benefits that the Debtors

      8      say will accrue to them if the motion is granted going

      9      forward, and I want to talk about them in two ways.

     10                  First, and I'm going to get to this in a minute,

     11      these benefits, of course, are material to the extent that

     12      the actual relief sought by the motion is necessary to get

     13      them, right?

     14                  And the Debtors say something like this in their

     15      papers that they bring this motion, something like "to allow

     16      the ad hoc committee to participate and continue its role in

     17      these cases".    Okay.

     18                  And in a minute I'm going to talk about why I

     19      think they haven't carried their burden to show that the

     20      relief they seek is actually necessary to get any of these

     21      benefits.

     22                  But I want to go through them quickly.       These are

     23      the kind of go forward items that we've heard Mr. Huebner

     24      discuss.

     25                  So first is continuing to gather discovery from

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 107 Main
                                                                  of 179Document
                                 Pg 106 of 178
                                                                        Page 106

      1      the Sacklers.     We encourage them to do that.     We hope they

      2      will alongside the official committee alongside the non-

      3      consenting estates committee and a lot of other parties, who

      4      all also are going to be doing that.

      5                  The official committee has a stipulation.        The

      6      non-consenting group is working on a stipulation that would

      7      get them access to the same information.

      8                  We welcome the ad hoc committee doing the same

      9      thing as well.

                                But there are others that are working on the

     10      same thing.

     11                  Using their police powers to "leverage" a better

     12      deal from the Sacklers.     Of course, the ad hoc committee

     13      members aren't the only members, constituents in this case

     14      that have police powers.      The constituent members of the

     15      non-consenting group to some of the members represented on

     16      our -- as I've -- on our committee do as well now and, to

     17      some degree, it's really the non-consenting estates that in

     18      a way would have more credibility about trying to increase

     19      the value of the settlement because, unlike the ad hoc

     20      committee, they've said, we're not agreeing to this unless

     21      it gets better.

     22                  So, there will be help there even if for whatever

     23      reason the ad hoc committee decided they weren't going to

     24      continue based on this motion which is, I'll get to in a

     25      second, I think is implausible.

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 108 Main
                                                                  of 179Document
                                 Pg 107 of 178
                                                                         Page 107

      1                    They say that is saves an administrative burden to

      2      have the ad hoc committee involved and they say without the

      3      ad hoc committee, they would have to communicate separately

      4      with thousands of municipalities and tribes.

      5                    But, Your Honor, at the same time, they say it's

      6      the PEC speaks for those thousands of administrative -- of

      7      municipalities and tribes., right?           I mean, that's why the

      8      ad hoc committee is helpful is because the PEC is on it and

      9      they contend, I don't know whether it's true or not, but

     10      they contend that the PEC is the voice for those thousands

     11      of municipalities.      Obviously the PEC isn't going to disband

     12      depending on what happens with this motion.

     13                    In addition, they say they would have to work with

     14      dozens of different States, 24 of them are organized in a

     15      different group, 10 States of privately engaged with Kramer

     16      Levin.      So, there are -- the States are organized in other

     17      ways in addition to the ad hoc group.

     18                    And then finally they want the ad hoc group to be

     19      involved, to be able to turn the settlement framework into a

     20      confirmable plan.

     21                    Again, we're just, you know, in the official

     22      committee's view, not close to being -- having a consensus

     23      of creditors that are ready to say it's time to move this to

     24      a confirmable plan.      I think everybody wants to do what the

     25      ad hoc committee is saying it's going to do, to learn more

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 109 Main
                                                                  of 179Document
                                 Pg 108 of 178
                                                                        Page 108

      1      about the settlement framework and decide whether it makes

      2      sense to advance it to a confirmable plan.

      3                  And there is a concern among some quarters that by

      4      agreeing to pay fees for a party that at least has suggested

      5      it might support the framework that kind of puts the thumb

      6      on the scale in that direction, it may be the right outcome

      7      eventually but I think that determination is still a long

      8      ways off.

      9                  Now I want to turn to the question -- and, again,

     10      we hope the ad hoc committee participates and we think they

     11      can bring things to the table but from the official

     12      committee's perspective it hasn't been shown -- not just

     13      hasn't been proven, but it hasn't even been indicated that

     14      it's plausible that this -- the relief that's on today, an

     15      order requiring the estates to pay the ad hoc committee's

     16      fees on a current basis, like maybe they could come back

     17      later, but on a current basis that that somehow was going to

     18      result in the ad hoc committee diminishing its participation

     19      in these cases.

     20                  There's some reasons given for why that might be

     21      true.   I don't think they really withstand much scrutiny.

     22      There's been a suggestion that states and municipalities

     23      can't pay private attorney's fees and there'll be a lot of

     24      evidence that that's not true.

     25                  You have the non-consenting group that has a law

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 110 Main
                                                                  of 179Document
                                 Pg 109 of 178
                                                                          Page 109

      1      firm working for it.      They're not here asking for their

      2      fees.

      3                    If you look at the exhibit for the by-laws of the

      4      consenting group you can see that virtually all of the

      5      municipalities have engaged private counsel one way or the

      6      other.      So that doesn't seem likely.

      7                    But I think more fundamentally you have -- when

      8      you're thinking about the question of is the outcome of this

      9      motion going to be dispositive about the participation of

     10      the ad hoc committee, you have to look at what the ad hoc

     11      committee and its constituents are themselves saying, okay?

     12                    The ad hoc committee filed papers on Friday and

     13      one of the things that they said in their papers, it's a

     14      theme that they've repeated and I've heard it repeated again

     15      here by counsel for the Debtors, is this idea that they

     16      believe because government entities don't sit on the

     17      official committee that the official committee cannot

     18      represent governmental units interests.

     19                    We've, the official committee, has assured and

     20      reassured that we believe that is untrue.            We recognize our

     21      fiduciary duties to all creditors.           Black letter law that

     22      even -- that non-members enjoy that fiduciary obligation

     23      just as much as creditor classes that are represented on the

     24      committee.

     25                    We certainly have not, as suggested in one of the

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 111 Main
                                                                  of 179Document
                                 Pg 110 of 178
                                                                          Page 110

      1      submissions, reached a conclusion about allocation.            We've

      2      cited a study about the sort of 70 percent private versus 30

      3      percent public breakdown, really to push back on the

      4      contention that was made in the papers suggesting that the

      5      ad hoc represents the majority of creditors.            It hasn't been

      6      determined yet and the official committee has, in no way,

      7      shape or form, taken a position.         But clearly it's not

      8      certain on either side.     That's the reason we've cited that.

      9                  We also have gone out of our way to add as

     10      (indiscernible) members the representative of municipalities

     11      and the tribes to get their perspective.            So we are 100

     12      percent confident that the official committee can represent

     13      those interests.

     14                  But, for purposes of this motion, you have to take

     15      at face value what the ad hoc committee is saying its

     16      constituents believe and they say flatly that its

     17      constituents believe the ad hoc committee is "essential"

     18      because they believe the official committee can't represent

     19      their interests.

     20                  Those interests, Your Honor, the constituents of

     21      the ad hoc committee valued it multiple billions of dollars.

     22      So the notion that if they really believe the ad hoc

     23      committee is essential to representing those multi-billion

     24      dollar valued interests that they would walk away from or

     25      disband the ad hoc committee, the essential ad hoc

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 112 Main
                                                                  of 179Document
                                 Pg 111 of 178
                                                                           Page 111

      1      committee, over a dispute about whether their fees are going

      2      to be paid now or potentially later, is, in our view, highly

      3      implausible.

      4                  And if the ad hoc committee is going to

      5      participate in these cases anyway, how can it be in the best

      6      interests of the estate to pay for what they're going to get

      7      anyway when you've got the ad hoc committee saying, we have

      8      to be here because the official committee can't represent

      9      us.

     10                  They've been involved for months without having

     11      their fees paid by the estates.        I don't think there is a

     12      scrap of evidence on the record that suggests that that's

     13      going to change depending on the outcome of this motion.

     14      And, again, we're not saying they'll never have an

     15      opportunity to get paid by the estates.             There may come a

     16      time that they have actually done and supplied the benefits

     17      they say they're going to.      We can all come back here and

     18      maybe, at that time, they satisfy 503(b) or otherwise.             So

     19      this isn't necessarily the end.

     20                  So I want to come back briefly to the specific

     21      terms of the engagement that has been proposed.             Again, you

     22      know, we've obviously argued that we don't think really any

     23      arrangement is appropriate yet.

     24                  But the arrangement that they're suggesting now is

     25      particularly difficult for us to understand.             There are four

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                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 113 Main
                                                                  of 179Document
                                 Pg 112 of 178
                                                                          Page 112

      1      law firms as I mentioned before, each of those four law

      2      firms simultaneously represents a creditor of Purdue, either

      3      in this bankruptcy or otherwise in respect to the opioid

      4      crisis.     That obviously is going to create some concerns

      5      about conflicts going forward.        It's clear that the ad hoc

      6      committee itself has thought about that.            Their by-laws

      7      include a provision that frankly is unlike anything I've

      8      ever seen that says that in the event that a member can

      9      instruct one of those four law firms to take an action

     10      that's contrary to the interests of the ad hoc committee

     11      and, if that happens, their -- the other members can seek to

     12      disqualify.

     13                   You know, obviously, it also says that they're

     14      going to adhere to all of their professional obligations and

     15      I'm sure they will but it's a very difficult situation for a

     16      lawyer to be put in where that kind of conflict is

     17      anticipated and it doesn't result in the usual agreement

     18      which is the lawyer that represents two clients has to

     19      withdraw from one of them.      It's the opposite.        It says, you

     20      know, you can continue to act adverse to one another.               You

     21      just have to do it within the bounds of your professional

     22      obligations.

     23                   I'm not quite sure what means or how that would

     24      happen but it -- a difficult position at least.

     25                   Also a real risk that --

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 114 Main
                                                                  of 179Document
                                 Pg 113 of 178
                                                                          Page 113

      1                   THE COURT:    They don't get for that though, right?

      2                   MR. HURLEY:    What's that?

      3                   THE COURT:    They Don't get paid for representing

      4      individual clients.

      5                   MR. HURLEY:    That is -- that's the idea.

      6                   THE COURT:    I think it's actually in writing in

      7      the order.

      8                   MR. HURLEY:    Right.

      9                   THE COURT:    So it's not an idea.

     10                   MR. HURLEY:    Correct.     That would be the

     11      requirements.

     12                   THE COURT:    Okay.

     13                   MR. HURLEY:    I think that in practice it would

     14      difficult for them to be able to divide this up and they

     15      actually say something about this that I think is pretty

     16      relevant.     By they, I mean the ad hoc committee.

     17                   At page -- paragraph 63 of the ad hoc committee's

     18      submission on Friday, they say that if the motion isn't

     19      granted there can be guarantee that the ad hoc committee

     20      itself will continue to play the vital role it has played to

     21      date or even exist in its current form if it is forced to

     22      confront difficult issues of fee allocation among multiple

     23      groups of creditors, the state, tribes and municipalities,

     24      whose interests are frequently at odds.

     25                   So the ad hoc committee itself appears to be

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 115 Main
                                                                  of 179Document
                                 Pg 114 of 178
                                                                        Page 114

      1      acknowledging that it's going to be difficult some times to

      2      know whether one of those four firms is doing something for

      3      the ad hoc committee or for one of its members.

      4                  THE COURT:    Is that how you read that statement?

      5                  MR. HURLEY:    That is how I read that statement.

      6                  THE COURT:    Really?     I view it -- and this goes

      7      back to something you said earlier which is that this motion

      8      is largely, if not entirely, about setting the structure for

      9      how the states deal with this case.

     10                  And the question for me is the cost of that

     11      structure worth it or not.

     12                  And I think if you don't have that structure where

     13      they actually do have a coordinated set of professionals you

     14      run the risk, as they say in their pleading, of -- as

     15      happened at the last hearing, someone just popping up and

     16      saying, well, I'm from "X" county and "X" state and we

     17      disagree with all of this.

     18                  And I think the more you have the structure, the

     19      less that happens.

     20                  MR. HURLEY:    Your Honor, and I -- the official

     21      committee recognizes that dynamic and we have sought to be

     22      reasonable.    We have not been able to obtain a compromise

     23      which is why I'm coming back to the specific engagement

     24      they're asking Your Honor to adopt which includes the seven

     25      professional firms.

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 116 Main
                                                                  of 179Document
                                 Pg 115 of 178
                                                                          Page 115

      1                  THE COURT:    Well, I'm not asking you to suggest

      2      any or relate any settlement discussions.            But if you're

      3      just proposing an all or nothing approach, either grant the

      4      motion or deny it, then you run a big risk that I'll grant

      5      it.

      6                  So maybe you suggest how this could be improved.

      7                  MR. HURLEY:    Sure.    So we've had multiple kinds of

      8      discussions --

      9                  THE COURT:    No. No.     You don't need to get into

     10      the discussions --

     11                  MR. HURLEY:    Oh.

     12                  THE COURT:    -- just how does the committee think

     13      this could be improved?      Without waiving any of your rights

     14      to object --

     15                  MR. HURLEY:    Understood.

     16                  THE COURT:    -- to the whole thing, of course.

     17                  MR. HURLEY:    Understood.

     18                  THE COURT:    All right.

     19                  MR. HURLEY:    Okay.

     20                  So the official committee, as Your Honor knows,

     21      has been very very focused on the emergency relief fund from

     22      the beginning of these cases.         And we have -- and I --

     23      Mr. Preis may interrupt me to get some color on this because

     24      he is more closely involved in the negotiations than I was,

     25      but one of our thoughts was that the emergency relief fund,

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 117 Main
                                                                  of 179Document
                                 Pg 116 of 178
                                                                        Page 116

      1      if we could get adequate support from the ad hoc committee

      2      for moving that forward promptly that that might be a way to

      3      resolve the objection so that we have money going out the

      4      door to the people that really need it in the opioid crisis

      5      before we're talking about more and more money for lawyers.

      6      That was an idea.

      7                  THE COURT:    Okay.

      8                  MR. HURLEY:    Arik, do you want to -- do you have

      9      anything to add?

     10                  MR. PREIS:    Can I address -- I know it's a little

     11      bit irregular.

     12                  THE COURT:    Well, and I get that point.     If

     13      there's some other point, I --

     14                  MR. PREIS:    No.     Well, Your Honor, we also --

     15      obviously we had talked about, again without getting into

     16      settlement negotiations.

     17                  THE COURT:    Right.

     18                  MR. PREIS:    But as a committee there are other

     19      things that were important to us; things like should there

     20      -- would we be okay with as the U.S. Trustee says

     21      substantial contribution motions being filed.

     22                  Obviously that would have been fine with us as

     23      well, you know, on a quarterly basis.

     24                  THE COURT:    Okay.

     25                  MR. PREIS:    The issue of -- just to go a little

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 118 Main
                                                                  of 179Document
                                 Pg 117 of 178
                                                                        Page 117

      1      bit further on what Mr. Hurley said, which is that instead

      2      of tying the emergency relief fund to this motion, what we

      3      had suggested was perhaps allowing a work fee for a certain

      4      period of time, call it 30, 50, 60 days but then having the

      5      emergency relief fund and this motion rise and fall together

      6      at the same time, at some time in January the idea being we

      7      understand that they need to do work for a while but, at

      8      some point, at some critical juncture, that has to stop.

      9                  We also thought and talked about size, scope,

     10      number of firms, number of -- you know, capping amounts.

     11      None of those things -- you know, we addressed them all both

     12      as a committee and during settlement negotiations.         None of

     13      which really got any traction.         So --

     14                  THE COURT:    Although I can that -- those points to

     15      my mind are largely dealt with by the agreement for review

     16      like all estate professionals are being reviewed.

     17                  MR. PREIS:    So if I could just address --

     18                  THE COURT:    I mean, I -- I'm not that proud of it

     19      but I think I have the largest fee denial in history.

     20                  MR. PREIS:    I object, Your Honor.

     21            (Laughter)

     22                  THE COURT:    And believe it or not it was Harvey

     23      Miller's fee as an investment banker.            So --

     24                  MR. HURLEY:    I argued that motion.

     25                  MR. PREIS:    It was one of my objections, Your

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 119 Main
                                                                  of 179Document
                                 Pg 118 of 178
                                                                          Page 118

      1      Honor.

      2                  MR. HURLEY:    I argued that motion in front of you,

      3      Your Honor.

      4                  THE COURT:    I know.     I remember.

      5                  MR. HURLEY:    Anyway.     Okay.

      6                  THE COURT:    It wasn't because of bad work you did.

      7      It was just, as you know --

      8                  MR. HURLEY:    I remember.

      9                  THE COURT:    -- it was on different grounds.

     10      But --

     11                  MR. HURLEY:    I remember.       So -- okay.   So if I

     12      could just go through some of the changes that were made and

     13      one of them is what you just referred to which is that now

     14      there's going to be the opportunity for the committee to

     15      review their --

     16                  THE COURT:    Well, everybody.

     17                  MR. HURLEY:    For everyone to review their bills.

     18                  THE COURT:    Right.

     19                  MR. HURLEY:    I mean, from the official committee's

     20      perspective, of course, Your Honor I'm sure would gather not

     21      satisfactory to us on this motion because our view on this

     22      motion is that paying on a current basis in the first place

     23      isn't appropriate and really what this would call for is

     24      that as long as they can prove that they're acting within

     25      the scope, which is somewhat vaguely defined, that the fees

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 120 Main
                                                                  of 179Document
                                 Pg 119 of 178
                                                                            Page 119

      1      are going to get paid subject to some other qualifications.

      2      So it's not satisfactory to the official committee but

      3      that's really fundamental to the objection we're making

      4      today.

      5                  I do think that some of the other changes like

      6      that they're saying that if they can't get paid for

      7      duplicative work that's sort of to use your term ice in

      8      winter, they can't get paid for duplicative work anyway.              I

      9      presume that would be sort of per se unreasonable if we

     10      could identify things that were actually duplicative.

     11                  The notion of sharing FTI with the other states,

     12      we think is a great idea.      But it's limited in that they

     13      only -- it's subject to areas where they have common

     14      interests with the non-consenting group.              Presumably, there

     15      will be a fairly wide range of areas where they don't have a

     16      common interest group.     But, moreover, the official

     17      committee has made the same offer to all the creditors

     18      including the states that, to the extent it's consistent

     19      with the privilege, they will have access to province to to

     20      Jeffries (ph).

     21                  The pre-petition cap of fees at 1.5 million was

     22      surprising I guess to me partly because they in their 1219

     23      statement, the ad hoc committee acknowledges that it was

     24      initially formed on the petition date.              So it's hard for me

     25      to understand how fees incurred before the client existed

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 121 Main
                                                                  of 179Document
                                 Pg 120 of 178
                                                                         Page 120

      1      could be subject to reimbursement and to the extent they are

      2      that again seems like the 503(b) paradigm.           It's like, well,

      3      if it's already been done by definition rather than through

      4      a motion of this kind.

      5                  THE COURT:    Well, of the RSA paradigm.

      6                  MR. HURLEY:    Or the RSA paradigm essentially.

      7                  THE COURT:    And it doesn't kick in until you have

      8      an RSA or a --

      9                  MR. HURLEY:    Oh.    The -- I guess it goes with a --

     10                  THE COURT:    Well, you said you were going to

     11      address the financial types beyond FTI.

     12                  MR. HURLEY:    Yes.    So the way the order reads is,

     13      you know, it was a little confusing to me but it seemed like

     14      what they're providing is, like I said, a distinction

     15      without a difference for Compass and Colter.           The motion

     16      does currently seek approval of retention of Compass and

     17      Colter on a current basis.

     18                  They then say in the same paragraph that describes

     19      the application process for the law firms and FTI, later in

     20      the paragraph they say no fees will be paid to Compass or

     21      Colter except in connection with an order in connection with

     22      an application referred to above which seemed to me like

     23      they were just saying you have to make an application for

     24      payment of Compass and Colter as you do with respect to the

     25      other five.

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 122 Main
                                                                  of 179Document
                                 Pg 121 of 178
                                                                         Page 121

      1                  I mean, I don't know if that's what they meant but

      2      it was certainly how it read.

      3                  THE COURT:     I mean, I didn't --

      4                  MR. HURLEY:     And maybe we'll get clarification on

      5      that.

      6                  THE COURT:      I didn't think -- I thought it was --

      7      because that would have circular.           I thought it meant that

      8      they don't get paid except on a separate retention.

      9                  MR. HURLEY:     Like a separate 363, 365 motion?

     10                  THE COURT:     Well, maybe you can just clarify.

     11                  MR. HUEBNER:     Yeah.     Sure.

     12                  Your Honor, it's actually in the middle of those

     13      two things.    So let me just (indiscernible).

     14                  So, you know, we said four law firms, three FAs,

     15      can we do something here.        And they said well, two of them

     16      aren't even working right now.          And I said well, then, why

     17      are we -- why does the initial draft of the paper say I

     18      don't need these three FAs.          And so what we ended up with is

     19      it's a hybrid which is we don't need to come back and make a

     20      new motion because that's a lot of expensive paperwork that

     21      makes no sense.

     22                  It's not circular and it's not a typo.         It's quite

     23      in fact I think reticulated because they can't submit the

     24      monthly bills if they start and get paid under the regular

     25      monthly process.    They can't get paid a penny unless at the

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 123 Main
                                                                  of 179Document
                                 Pg 122 of 178
                                                                           Page 122

      1      next succeeding quarterly application, when everyone else's

      2      fees are up, there's an explanation of Your Honor they

      3      started work 41 days ago.          Here's why we need them.    Will

      4      you allow them to be paid?

      5                  And if the Court says you know what, this start up

      6      was not appropriate, then I'm denying it all.           They're not

      7      getting paid anything and they lose the weeks that they

      8      worked because they're not getting anything in the interim.

      9                  If you're -- I was just trying to save paperwork.

     10      To make a separate motion for these two small firms when if

     11      they start up they're not getting one red cent until -- one

     12      penny until Your Honor has it front of you.           That was the

     13      compromise we thought was quite sensible.

     14                  THE COURT:     Well -- so maybe the distinction then

     15      is one that isn't necessarily in the code which is that --

     16      well it is in the code but maybe not honored in practice

     17      which is that as part of the reasonableness of them getting

     18      paid is the reasonableness of them starting up work in the

     19      first place.

     20                  MR. HUEBNER:     No.     And that's exactly -- that's

     21      exactly why we did this which is we said to them you're

     22      going to have to explain at the application if turns out

     23      there was specialized work that I could not do alone, so we

     24      restarted them and if Your Honor is not convinced and people

     25      object, they will not get paid.          That was the exact

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 124 Main
                                                                  of 179Document
                                 Pg 123 of 178
                                                                              Page 123

      1      approach.

      2                  But to file a whole new motion to say that when a

      3      month or two later -- so we said no; just make them work

      4      without current pay until the next application so we don't

      5      have to another hearing and another motion and more wasted

      6      money on nothing.    I actually did (indiscernible)

      7      respectfully is actually quite thoughtful and does the job

      8      that Mr. Hurley --

      9                  THE COURT:     Okay.    All right.

     10                  MR. HUEBNER:     -- and I and you are talking about.

     11                  THE COURT:     Okay.

     12                  MR. HURLEY:     Can I ask a clarifying question?

     13                  THE COURT:     Sure.

     14                  MR. HURLEY:     Would there be any limit to the

     15      nature of the kinds of objections that could be made to

     16      either the fact that they (indiscernible) or the amount that

     17      you're proposing to pay them?

     18                  MR. HUEBNER:     No.    We -- no.         To be clear.

     19      Nothing in this order limits any party.                As Your Honor often

     20      says you can make a motion.         But you see lots of heads

     21      nodding that Mr. Hurley is right.           If the objection is they

     22      never should have started, this is wholly duplicative, and

     23      I'm assuming the ad hocs will probably call a few people and

     24      say, hey, just so you know, it turns out there's an

     25      (indiscernible) tax question that we need this firm for that

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 125 Main
                                                                  of 179Document
                                 Pg 124 of 178
                                                                           Page 124

      1      FTI can't answer, so we're going to start them.

      2                   And then we will say or the committee will

      3      certainly say we reserve our rights.             We'll see you at the

      4      application.     And if we don't think it's justified, we're

      5      going to be objecting on all grounds including that you

      6      didn't them at all and that it was the least -- it was not

      7      the most cost effective way.

      8                   But I am speaking for a bunch of people here.           So

      9      I'm looking for people to say like yes, Mr. Huebner, that's

     10      sounds quite correct.

     11            (Laughter)

     12                   MR. HUEBNER:     It sounds generally correct.

     13            (Laughter)

     14                   THE COURT:     All right.

     15                   MR. HURLEY:     So just I guess wrapping up the

     16      number of professionals has been a bit of a concern to the

     17      committee.     And coming back to the question that Your Honor

     18      asked about ways that we have considered that might make it

     19      more reasonable.     We named a few of them.

     20                   Another that we certainly considered to be more

     21      reasonable if there was a, for instance, a single

     22      independent law firm representing the ad hoc group and one

     23      or two advisors shared equally among all the states.             I

     24      doubt we'd still be standing here if there was anything

     25      closer to that.     But that's not what we have despite

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 126 Main
                                                                  of 179Document
                                 Pg 125 of 178
                                                                          Page 125

      1      everyone's I'm sure best efforts.          We have the motion that

      2      we have and we certainly object to that.

      3                  But just finally I guess I've been a bit of a

      4      broken record on this the objection is not to the

      5      participation of the ad hoc group.           We have -- we are

      6      looking forward to working along side them; just to their

      7      payment of their fees and just the payment of their fees

      8      now.

      9                  Arik, do you need to address something?

     10                  MR. PREIS:    Yeah.

     11                  THE COURT:    You can stay there.        You don't need to

     12      -- that mic will --

     13                  MR. HURLEY:    Unless Your Honor has some questions,

     14      I'll --

     15                  MR. PREIS:    Your Honor, this is not by way of

     16      argument but there are a number -- I don't want to really do

     17      this but Mr. Huebner testified a number of times from the

     18      podium earlier.    He said a number of things that were

     19      affectively directed at me and at us about things that we

     20      did or that we took part in that I happened to know what

     21      happened.

     22                  So I don't want to get into a he said, she said

     23      with him but -- and I prefer just to leave it at that or I

     24      can explain to you kind of some of the things he said that

     25      were just factually incorrect to us.

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 127 Main
                                                                  of 179Document
                                 Pg 126 of 178
                                                                          Page 126

      1                   So again I don't want to have to do this but I --

      2      if you don't want to -- it's -- it doesn't change the

      3      argument we made but there were some things he said that

      4      were just --

      5                   MR. HUEBNER:     Well, let me help for a second.       I

      6      certainly never planned to speak.            I don't think I wrote any

      7      of those down.

      8            (Laughter)

      9                   MR. HUEBNER:     Let me just --

     10                   MR. PREIS:     Thank you.

     11                   MR. HUEBNER:     Let me say one thing.      To the extent

     12      that I inaccurately or incorrectly described a conversation

     13      with the FTCC stipulation, I apologize if I misspoke that

     14      way Mr. Arik believes.        I don't think they're germane and

     15      relevant and I didn't write them down anyway.            But I'll

     16      figure out later where I might have misspoken.

     17                   MR. PREIS:     Okay.    Thank you.

     18                   THE COURT:     All right.

     19            (Pause)

     20                   MR. SCHWARTZBERG:       Good afternoon, Your Honor.

     21                   Paul Schwartzberg for the U.S. Trustee's Office.

     22                   As Your Honor is aware, the Debtors moved under

     23      363 and 365 to pay the professional fees of the ad hoc

     24      committee.

     25                   The U.S. Trustee, however, believes that the code

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 128 Main
                                                                  of 179Document
                                 Pg 127 of 178
                                                                         Page 127

      1      has a more specific standard to pay the fees of an ad hoc

      2      committee and that would be under 503(b)(3)(d) and (4) which

      3      require the ad hoc committee to show a substantial

      4      contribution before their fees can be paid.

      5                  And this insures that the Debtor received a

      6      benefit from the ad hoc committee before its fees are

      7      actually paid.    And this is higher standard than the Debtors

      8      just -- are suggesting and we believe if you contrast -- and

      9      the reason for that higher standard becomes obvious we

     10      believe when you contrast it to what you see with the

     11      official committee.

     12                  With the official committee you're having a

     13      neutral third party, the U.S. Trustee, appoint that

     14      committee under 1102.     The professionals of that official

     15      committee are then vetted.      They have to file applications

     16      under 327 and make disclosures under Rule 2014 and this

     17      governs to make sure there are no disqualifying conflicts

     18      that those professionals have.        And then their fees, of

     19      course, are subject to 330 and 331, and those standards.

     20                  And the that committee has an obligation to the

     21      estate and all creditors, a fiduciary obligation.           But you

     22      don't have that with an ad hoc committee.           In fact, the

     23      proposed order specifically disavows 327 and that rigorous

     24      standard for the committee professionals.

     25                  So we believe that's the reason why the code set

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                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 129 Main
                                                                  of 179Document
                                 Pg 128 of 178
                                                                         Page 128

      1      forth 503(b) and a higher standard for the payment of the

      2      fees of an ad hoc committee and we believe that there's a

      3      specific standard set forth in the code and that that

      4      specific standard is the standard that the Court is --

      5      should follow and not the more vague and less direct

      6      standard that's set forth under 363 and 365.

      7                  THE COURT:    Okay.

      8                  MR. SCHWARTZBERG:      And for that reason we object

      9      to the motion.

     10                  THE COURT:    Okay.

     11                  MR. NEIGER:    Good afternoon, Your Honor.

     12                  THE COURT:    Good afternoon.

     13                  MR. NEIGER:    Edward Neiger of ASK LLP on behalf of

     14      the ad hoc committee of individual victims in this case.

     15                  We are very grateful to be here.         And before I get

     16      into the substance of the objection which I assure Your

     17      Honor after reading the briefs will be short.

     18                  Since this is my first time appearing or the

     19      committee's first time appearing in this case, we were

     20      hoping for a brief indulgence to tell Your Honor a little

     21      about the committee and its members and, more importantly

     22      how it can make a positive contribution to these cases.

     23                  The ad hoc committee is made up of a committee of

     24      individuals that is made up of just eight members.           Seven of

     25      the eight are victims of Perdue.          The eighth represents

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 130 Main
                                                                  of 179Document
                                 Pg 129 of 178
                                                                        Page 129

      1      victims of Perdue who at least for now wish to remain

      2      anonymous.

      3                   Each member is active in helping people suffering

      4      from addiction and their families and works tirelessly to

      5      prevent others from suffering they way they did.

      6                   Our members include a former governor and attorney

      7      general as well as leaders of national prevention awareness

      8      and recovery organizations including the CEO of Center on

      9      Addiction which is the successor organization to the

     10      partnership for a drug free America, which I'm sure Your

     11      Honor is familiar with.     And they reach tens of millions of

     12      people a year.

     13                   Other organizations that are members have

     14      leadership roles and include team sharing, which is a

     15      national non-profit organization dedicated to parents who

     16      have lost children to substance abuse disorder; the

     17      foundation for recovery, an organization dedicated to

     18      removing social barriers and creating opportunities for

     19      those seeking long term recovery; soldiers, a grassroots

     20      organization helping individuals and families overcome

     21      addiction, depression and homeliness and the voices project,

     22      a non-profit organization, a national one, dedicated to the

     23      eliminating the stigma associated with addiction.

     24                   Several of our committee members have suffered the

     25      unthinkable; the loss of a child to overdose.         One of these

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 131 Main
                                                                  of 179Document
                                 Pg 130 of 178
                                                                           Page 130

      1      members is here today and was sitting right next to me in

      2      the last row.      Her name is DeeDee Yoder (ph) and if I could

      3      just tell her story very briefly, not to be dramatic, but to

      4      be able to give Your Honor an idea of where the committee is

      5      coming from when it takes positions in this case; whether on

      6      the matter before Your Honor today, or in the future.

      7                    Ms. Yoder was a single mom of an incredible son

      8      named Chris.      Christ was her only child and was her entire

      9      world.      Chris was a happy, smart and social kid who loved

     10      the outdoors, love roller blading and skate boarding.

     11                    When he was 14, he broke his knee and had surgery.

     12      It was just an accident.       It could have happened to any

     13      teenager.

     14                    His doctors have him OxyContin for the pain and,

     15      like so many others, he became addicted.             Chris spent his

     16      high school years battling the addiction that started with

     17      that very first dose.

     18                    Ms. Yoder did everything she could to save her

     19      son's life.      That took a huge emotional and financial toll

     20      on her but she never stopped fighting for Christ; no matter

     21      what.

     22                    On April 19, 2017, DeeDee received the call that

     23      so many parents of children fighting addiction dread.             She

     24      was in the middle of a business meeting in Paris when it

     25      came.    The voice at the other end of the line told her

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 132 Main
                                                                  of 179Document
                                 Pg 131 of 178
                                                                        Page 131

      1      matter of factly, ma'am, there's no easy way to say this but

      2      your son is deceased.

      3                   Chris was 21 years old.      He dies of an overdose of

      4      heroin laced with fentanyl.

      5                   DeeDee is now an ambassador for Shatter Proof, a

      6      national non-profit organization dedicated to reversing the

      7      addiction crisis in America.

      8                   There's one more person, one more mother, in the

      9      courtroom today and I don't have a long speech about here

     10      not because she's not as important or I don't like her as

     11      much but because I didn't know she would be here when I

     12      drafted this text.

     13                   But I would be remiss if I didn't acknowledge her.

     14      She came all the way from Boston, drove four hours to be

     15      here today, Ms. Kay Scarpone, she's sitting in the second

     16      row from the back, the third person from the right and I

     17      would just like to acknowledge her son in the record, on the

     18      record.     Kay lost her son, Joseph Scarpone, who was a U.S.

     19      Marine.     He served our country from 2007 to 2011 including a

     20      tour in Afghanistan.

     21                   When he got back from it, he was a Marine

     22      Sergeant.     When he got back from Afghanistan, he was injured

     23      and went to the VA where they gave him opioids.

     24                   Sadly, Joseph Scarpone died when he was 25 of

     25      overdose and I know that Kay misses him dearly every day.

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 133 Main
                                                                  of 179Document
                                 Pg 132 of 178
                                                                        Page 132

      1                  So that's who we are, Your Honor.        We hope to

      2      advocate for the individual victims in this case who have

      3      suffered terribly.

      4                  But more importantly to make sure that no more

      5      mothers go through what DeeDee and Kay went through ever

      6      again.

      7                  Turning to the substance of our objection to the

      8      Debtors' motion.     I think at best at this point my time and

      9      everyone's time would be most useful if instead of going

     10      through the objections I provide Your Honor and the other

     11      parties here with ideas on how I think the order could be

     12      approved.

     13                  In the revised order, the Debtors have -- sorry,

     14      Your Honor.     I was on line for an hour.

     15                  In the revised order, the Debtors have put in a

     16      provision that says that the ad hoc committee cannot use any

     17      funds being paid by the Debtor to object to other creditors

     18      in this case and I appreciate that.          I think that's an

     19      improvement.

     20                  It shows that the Debtors acknowledge that

     21      notwithstanding all the good that the states have done so

     22      far, both consenting and non-consenting, which I acknowledge

     23      strongly.     We would not be here today if not for all of the

     24      hard work that the states have done.          They have essentially

     25      brought Perdue to its knees and before Your Honor in the

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 134 Main
                                                                  of 179Document
                                 Pg 133 of 178
                                                                        Page 133

      1      Bankruptcy Court which we think is a great thing, both for

      2      the Debtor and for all the creditors.

      3                   So we say thank you to the states.

      4                   But it doesn't make sense for the states to be

      5      able to use money from the estate to object to other

      6      creditors.     I think the Debtors acknowledged that when they

      7      changed the order.

      8                   The problem is this.     The way the states -- the

      9      way the issues of allocation will ultimately get decided may

     10      not come in the form of a formal objection.         It may come in

     11      the form of an allocation that the Debtor and the ad hoc

     12      committee put forth in a RSA or in a plan or reorganization

     13      which may not come in a formal objection.

     14                   So what I would propose, Your Honor, is to make

     15      more clear that the money that the ad hoc committee receives

     16      from the estate could be used solely in connection with

     17      bringing money into the estate, getting money from the

     18      Sacklers or from the other sources of recovery, continuing

     19      to do what they have done so well until now.

     20                   And that it not be used in connection with

     21      anything, a formal objection or not formal objection, that

     22      can hurt the other constituents, particularly the non-state

     23      victims in the allocation proceeding.

     24                   So that would be my primary suggestion.

     25                   Mr. Preis mentioned the emergency relief fund.       I

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 135 Main
                                                                  of 179Document
                                 Pg 134 of 178
                                                                           Page 134

      1      can tell Your Honor that that is extremely important to our

      2      committee who know very well the problem that this country

      3      is suffering from.        A 130 people die every single day from

      4      overdose.     That's one person, every 11 minutes.          So, in the

      5      time that I stood up here, one or two people have died from

      6      overdoes.

      7                   That emergency relief fund is vital.          I don't know

      8      where it stands or what's going on with it.             I just want to

      9      say on the record that anything that Your Honor can do to

     10      push the parties forward on that would be very much

     11      appreciated by a lot of people in this country.

     12                   Those are the two things that I had, Your Honor.

     13      Other than that, I'm happy to answer any questions Your

     14      Honor has.

     15                   THE COURT:     Okay.     Thanks.

     16            (Pause)

     17                   MR. MARKOWITZ:      It's Scott Markowitz, Carter,

     18      Klinsky and Grogan.

     19                   Your Honor, we represent the ad hoc committee of

     20      NAS Babies.      We appeared last time.         We joined in the

     21      objection.      Some of the comments I have will be similar to

     22      Mr. Neiger and it will be brief.

     23                   The NAS Babies are babies who were born neonatal

     24      abstinence syndrome because their birth mother ingested

     25      opioids during pregnancy.           There's hundreds of thousands of

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 136 Main
                                                                  of 179Document
                                 Pg 135 of 178
                                                                          Page 135

      1      these babies around the United States in our group who

      2      represents, in general, that group of babies we think are

      3      claims in this case based upon both injuries and monitoring

      4      continuing care.     It may be among the largest unsecured

      5      claims in this case.

      6                   I'm not going to supplement any of the legal

      7      arguments.     We've been here long enough.         We've heard them.

      8      It's fully briefed.

      9                   Similar to Mr. Neiger, I would like the Court to

     10      understand some of our constituents.          In Court today is

     11      Kathleen Strain (ph).     She is sitting right here.         She has

     12      custody of her four year old granddaughter.            She has

     13      recently told me a story that she -- at school, the school

     14      diagnosed her son who was diagnosed with neonatal abstinence

     15      syndrome when he was born.      I'm sorry, granddaughter, was

     16      delayed in development which these -- all these children are

     17      generally delayed in development, was diagnosed            that way at

     18      the school and got a referral to her local hospital in

     19      Berk's County, Pennsylvania, to the pediatric rehabilitation

     20      portion of the hospital.

     21                   She recently took her granddaughter there and they

     22      said you're 700 on the waiting list.          We'll call you back in

     23      the year 2021.

     24                   So we, too, are very concerned about this

     25      emergency fund and it's very difficult for me, you have lay

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 137 Main
                                                                  of 179Document
                                 Pg 136 of 178
                                                                            Page 136

      1      people sitting here in Court and we talked a lot about

      2      bankruptcy stuff today; it's very difficult for me to

      3      explain to these -- my constituents why creditors like

      4      states and governmental authorities who have -- ironically

      5      have the financial ability to pay their own lawyers, which

      6      is normally the case for unsecured -- you know, Chapter 11

      7      cases.      Get their lawyers fees paid in this case when this

      8      money could be used, for example, so that this hospital

      9      might not have a 700 person waiting list.

     10                    So we would really like the Court to keep that in

     11      mind.     We think that it sends the wrong message to really

     12      the primary victims of the opioid crisis.              The opioid crisis

     13      victims are individuals or they're individuals represented

     14      by Mr. Neiger's group or they're our group of -- we think

     15      are the most innocent.         These babies are born addicted to

     16      opioids.      They have to put baby droppers in their eyes to

     17      get them off of this opioid addiction.

     18                    So under these circumstances, we oppose the

     19      motion.

     20                    THE COURT:    Okay.

     21                    MR. MARKOWITZ:     Thank you.

     22              (Pause)

     23                    MR. CAGE:    Good afternoon, Your Honor.

     24                    Nicholas F. Cage, (indiscernible) Stevens & Lee.

     25      We represent private purchasers of health insurance.

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 138 Main
                                                                  of 179Document
                                 Pg 137 of 178
                                                                           Page 137

      1                   I'll be brief because I think we're all -- we've

      2      all heard enough today.     But I just wanted to make a couple

      3      points.

      4                   We joined in the official creditors committee's

      5      objection and in our joinder we pointed out that there are

      6      three over arching goals in this case and two of those goals

      7      we believe are shared by all creditors.             One is to maximize

      8      the size of the estate, including money that could be

      9      recovered from the Sacklers, from DNO Insurance or other

     10      sources.

     11                   One is to abate the opioid crisis.          But the third

     12      goal is a goal where the creditors are going to be

     13      diametrically opposed, i.e., inter-creditor issues; how --

     14      you know, who -- which group has a claim in what amount and

     15      how that stacks up against the other creditor group and an

     16      over arching concern there is the so-called state, SMT

     17      group, the states, municipalities and tribes versus the

     18      private litigants like us and the two parties you just heard

     19      from.

     20                   And the committee cited in its papers a report

     21      that said that private litigants may be 70 percent of the

     22      claims.     And I was happy to hear Mr. Huebner say, earlier

     23      today, that even though he has said repeatedly that 85

     24      percent of the litigations were brought by SMT claimants

     25      that doesn't necessarily mean that they are 85 percent of

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 139 Main
                                                                  of 179Document
                                 Pg 138 of 178
                                                                        Page 138

      1      the class.

      2                   The SMT claimants think otherwise.      They say that

      3      they are the overwhelming majority of the claims against

      4      this estate and they say that right in their papers that

      5      were filed in support of the motion.

      6                   I share Mr. Neiger's concern that the funds that

      7      are going to be used from the estate not be used on any

      8      inter-creditor issues.        It's not just object to claims.       But

      9      one of the biggest fights in this case is going to be how

     10      the value that is recovered is ultimately allocated under a

     11      plan or otherwise among the various creditor groups.          And

     12      they should not use our money to beat us up and get a better

     13      deal for their class.        That's a parochial interest that they

     14      have.     It's not something that benefits the estate in any

     15      way, shape or form.

     16                   So, in our view, no inter-creditor issues should

     17      be compensable from the estate.         We'd rather see the money

     18      go to the innocent victims.

     19                   Thank you.

     20              (Pause)

     21                   MR. ECKSTEIN:     Your Honor, Kenneth Eckstein of

     22      Kramer, Levin again.

     23                   I don't have a lot but I think I need to add -- I

     24      did appreciate the comments that were made by Mr. Neiger and

     25      some of the other objectors and the recognition by

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 140 Main
                                                                  of 179Document
                                 Pg 139 of 178
                                                                        Page 139

      1      Mr. Neiger that the order was clarified to make clear that

      2      the scope does not include objecting to claims or litigating

      3      a defense of an objection to a claim against members of the

      4      ad hoc committee.

      5                   That said, we've always appreciated that one of

      6      the critical components of getting to a confirmable plan of

      7      reorganization is going to be one that is going to include a

      8      resolution of allocation and we do expressly contemplate

      9      that that is going to be part of our charge.         I know Your

     10      Honor has admonished us to begin work on that immediately

     11      and we do contemplate doing that but we contemplate doing

     12      that in connection with the development of an RSA and a

     13      plan, which we think is the appropriate way to deal with it.

     14      We do not intend to deal with it in litigation and, in fact,

     15      the scope expressly excludes litigation from the scope of

     16      the ad hoc committee's role in the case, at least in terms

     17      of being compensated by the estate.

     18                   I don't know if Your Honor has any other

     19      questions.

     20                   THE COURT:   Well, I -- you know, I think there's

     21      -- the issue of being compensated for work on allocation

     22      issues is a complicated one I think because you can conceive

     23      of a range of outcomes, many of which, most of which would

     24      be ones that would warrant compensation to your group.

     25                   And that's why I think it wouldn't make sense

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 141 Main
                                                                  of 179Document
                                 Pg 140 of 178
                                                                         Page 140

      1      simply to rule it out as was perhaps suggested separate and

      2      apart from litigation.

      3                   On the other hand, it's the type of issue that I

      4      normally would look at when someone put an RSA in front of

      5      me.     And as the bankruptcy lawyers here know, RSAs are --

      6      it's rare that someone isn't objecting to an RSA.

      7                   The Court evaluates it and decides whether it

      8      makes sense to approve it and in terms of dollars of cents

      9      the issue is the fees.

     10                   So I have been considering whether just as the

     11      pre-petition work is tied to the earlier of an RSA or a plan

     12      any work done on allocation issues should also be tied to an

     13      RSA or a plan.     Not that you would apply the 503(b) standard

     14      to it but you just see how it shakes out at that point, you

     15      know?

     16                   If an RSA that proposes an allocation that

     17      everyone except -- I'm not suggesting this would be the

     18      case, but everyone except the private purchasers of health

     19      insurance, says, yes, we'll support this.           This is a good

     20      path.     Then I think it would be pretty clear that I would

     21      approve that.

     22                   On the other hand, if you all are the only people

     23      standing up in favor of the RSA and the 24 other states are

     24      saying no and the committees say no.          This is not -- this is

     25      a waste of time, then I don't think that's really the type

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 142 Main
                                                                  of 179Document
                                 Pg 141 of 178
                                                                        Page 141

      1      that I would approve.

      2                  So it's clear to me that there's a real advantage

      3      to the estate and all the creditors to have the states

      4      focusing their energies through specific professionals,

      5      working with the other constituents in the case, towards a

      6      common goal, which is understanding the facts and dealing

      7      with the issues that are inevitably going to arise in a

      8      professional and organized way.

      9                  But I do understand the point about leverage and

     10      there is some undue leverage if you guys are being paid to

     11      push one allocation agenda in which everyone else is opposed

     12      to.

     13                  I'm not saying that's what you're going to do.

     14      So, in a way, I'm suggesting you -- maybe you all should

     15      live with that type of limitation just as living with a

     16      limitation on the pre-petition amounts.

     17                  MR. ECKSTEIN:   Your Honor, I will point out that

     18      while we did hear Your Honor at the first day encourage us

     19      to broaden our role as much as possible and I think toward

     20      the end we entered into this understanding with the

     21      dissenting ad hoc committee estates as well as with the

     22      municipality ad hoc group that we would share the financial

     23      advisory work with them.

     24                  I think they were very supportive of that and

     25      frankly took a lot of comfort in that because I think the

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 143 Main
                                                                  of 179Document
                                 Pg 142 of 178
                                                                         Page 142

      1      goal is in order to      build the broadest possible consensus,

      2      we think that the states and municipalities each and all

      3      need to be comfortable with not only the aggregate amount

      4      but how the plan is going to allocate.

      5                  And so I think this technique is actually very

      6      much supportive of getting to an agreed upon plan and I

      7      actually would hope that we can utilize that sharing as a

      8      way to sort of give the Court comfort that the allocation

      9      issue, which is an important issue, is going to be managed

     10      in a constructive and in an efficient way.

     11                    And I think that the Court will have the ability

     12      -- and all parties will have the ability I think to review

     13      the work that's being done.        And to the extent anybody

     14      believes that the work is outside of the scope of getting

     15      this case to a consensual resolution, people will raise

     16      concerns I think at the time.

     17                  THE COURT:    Well, this also ends if you don't have

     18      an RSA.

     19                  MR. ECKSTEIN:    That's obviously true Your Honor.

     20      This can --

     21                  THE COURT:    Right.

     22                  MR. ECKSTEIN:    -- end and we're vulnerable to that

     23      and we sort of recognize that and are living with that risk.

     24                  But Your Honor does appreciate that there are

     25      timelines in this case that are important.           One of the over

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 144 Main
                                                                  of 179Document
                                 Pg 143 of 178
                                                                        Page 143

      1      arching factors that motivated the consenting states and

      2      municipalities to support this settlement framework and

      3      ultimately a term sheet was we believe this is the most

      4      effective way to put billions of dollars from the company

      5      and the Sacklers into this country to deal with the problem

      6      and if we can get this done along the timeline that we've

      7      contemplated, we think that is really the over arching

      8      benefit that everybody is trying to work towards.

      9                  So we actually believe, quite firmly, this is a

     10      structure that is going to ultimately lead to the most

     11      effective and the swiftest resolution of this case, which

     12      ultimately is going to have to be embodied in a plan that's

     13      going to come before Your Honor for approval and we think

     14      allocation obviously is as important as the aggregate

     15      dollars that have come from the different quarters.

     16                  So we would hope that with the protections that we

     17      have given the Court and all the parties in the case

     18      sufficient comfort to believe that this can be reviewed on a

     19      regular basis; the monthly statements with the quarterly

     20      applications.    We believe we've actually gone over and above

     21      in terms of what an ad hoc committee would do to try to make

     22      sure that there's going to be complete transparency about

     23      the role that's played.

     24                  THE COURT:   Okay.

     25                  MR. ECKSTEIN:   Thank you, Your Honor.

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 145 Main
                                                                  of 179Document
                                 Pg 144 of 178
                                                                        Page 144

      1                  MR. HUEBNER:     Your Honor, I'll be about four

      2      minutes in total and that's -- and then I think we're done.

      3                  There are eight very quick things that I think

      4      need to be said by Debtors and then we have nothing else.

      5                  Number one, for the avoidance of doubt, I think I

      6      was actually quite clear and I hope I was not misunderstood.

      7      What I said was that it would have been a breach of trust if

      8      the Debtors had said thanks for the support.          We're now

      9      filing this motion.    Nobody ever said if the Court did not

     10      grant the motion that that would be deemed to be perfidious

     11      in any way.

     12                  Two, there are concerns about costs and

     13      duplication.    We share them.       I mean, that's -- you know, as

     14      I said in I think point number three, every dollar that is

     15      spent during this case is a dollar that is not there at the

     16      end of the case.    And the answers are the same.

     17                  We have built in a whole raft of search lights and

     18      protection and judicial oversight in the amended order and

     19      if people feel like the costs are not appropriate or the

     20      duplication efficiency is not appropriate, I have no doubt

     21      that the six other ad hoc committees or four other ad hoc

     22      committees and the official committee and maybe the Debtors

     23      will be objecting and this Court will decide.

     24                  So there's going to be a lot sunshine here.

     25                  Three, the Debtors are getting nothing in "return"

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 146 Main
                                                                  of 179Document
                                 Pg 145 of 178
                                                                        Page 145

      1      from Mr. Hurley.    It's just not right and that's why I began

      2      with the judicial notice point, Your Honor, and this Court's

      3      ruling in Delphi.    I think that the injunctions support

      4      something in return.     I think that the term sheet is

      5      something in return.

      6                  I think that progressing the diligence and the

      7      deal is something in return.

      8                  And, in fact, Your Honor, if it's necessary, it's

      9      the rough Ascii, it's page 157 to 159, in the finished

     10      transcript.    And we've been scrambling a little bit and I

     11      apologize for shuffling the papers.          It's pages 164 to 166.

     12                  Mr. O'Connell actually testified under oath about

     13      what we're getting in return including the states and their

     14      advisors kind of glowering that the Sacklers never presented

     15      in and getting a commitment on the spot including someone

     16      getting on a plane to Asia to go unblocked diligence and get

     17      information flowing.     Maybe we could have done that without

     18      them.   Maybe we could have done it without them.         I don't

     19      know.

     20                  Again I want to be careful not to deify them, you

     21      know, without the states, all that's lost because, you know,

     22      frankly, there are lots of people who deserve credit for

     23      things here.    But there actually is sworn testimony on this

     24      point in additional to all of the items on the docket so

     25      far.

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 147 Main
                                                                  of 179Document
                                 Pg 146 of 178
                                                                          Page 146

      1                  Fourth, allocation.      It should not be minimized.

      2      This is not a simple issue and I think what you heard \Mr.

      3      Eckstein say is, you know, there's allocation and there's

      4      allocation.    And as we're designing complicated mechanisms

      5      for the best way to figure this out including at the Court's

      6      constant urgings to be creative and thoughtful; that's one

      7      type of allocation.

      8                  If it's like I get more and you get less.          That's

      9      a very different type of allocation and, frankly, I think

     10      many people will come roaring in if they start seeing on

     11      monthly bills and whatever Your Honor ends up ruling, I

     12      think no one in this courtroom could fail to understand that

     13      Your Honor views that as potentially being categorically

     14      different than growing the pie for all, which is where we

     15      are I think certainly at this particular phase of the case.

     16                  But we did narrow the scope after listening to the

     17      objectors to be clear about what we know it's not and what

     18      it's not is saying the estate should pay me to say you don't

     19      have claims but I do have claims.

     20                  Five, I agree with Mr. Hurley.          The opposing

     21      states do have an important role to play and, you know,

     22      whether you want to call this we have six good cops and four

     23      bad cops or any sort of foolish metaphor, those aren't

     24      really helpful.

     25                  The reality is multiple entities have a role to

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 148 Main
                                                                  of 179Document
                                 Pg 147 of 178
                                                                           Page 147

      1      play but the opposing states are actually supporting this

      2      motion.     So the very people that Mr. Hurley said maybe the

      3      opposing states can do this better and advance -- and make

      4      the deal yet better, they support today's relief, I think

      5      because of the view that this is like a ratchet, right?

      6                   We get more diligence.      We get more information.

      7      Then some people firm up the deal we currently have and

      8      other people will undoubtedly be pushing for a better deal.

      9      And as we move -- you know, I said already at two hearings,

     10      they'll, you know, lock and build.          Lock and build.    So each

     11      one of these bricks puts down an edifice that ultimately is

     12      designed to get more value to the people in need.

     13                   Nobody disagrees with the need for diligence.          I'm

     14      not going to repeat that.

     15                   With respect to 503, just to address the U.S.

     16      Trustee very briefly, we don't take issue with the legal

     17      principle, which I won't quote in Latin, that specific

     18      provisions trump general provisions.

     19                   But it's just a different thing.       When a creditor

     20      often opposed by the debtor or others, says look backwards.

     21      I did great things.     Please give me unique (indiscernible)

     22      being paid that's different than the debtor and others

     23      looking prospectively and saying, we actually think this is

     24      good use of money.     So, ultimately we're down to the common

     25      benefit and we will (indiscernible) agreement.          And again I

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 149 Main
                                                                  of 179Document
                                 Pg 148 of 178
                                                                        Page 148

      1      think our briefs are pretty clear on this and there's lots

      2      and lots of RSA case law that Your Honor has already alluded

      3      to.   So we know that 503(b) is not statutorily specific.

      4                  Eight, and with this, I will close, Your Honor,

      5      you know hearing even just the tiniest fragment about the

      6      unthinkable pain and loss suffered by people in the

      7      courtroom today, you know, mothers and parents of victims

      8      and victims themselves, you know, as Perdue's "lawyer" it's

      9      not very easy for me to stand up and address that.

     10                  So, I'll say only a couple of things.       One, Davis

     11      Polk arrived in March 2018 and since the day we arrived, our

     12      firm and the Debtors, as opposed to whatever people will

     13      ultimately figure out with respect to the past, are here to

     14      do the most good for the most people with Perdue's assets as

     15      expeditiously as that can be done.

     16                  And so ironically my first point of today is

     17      actually my last point of today.         The opioid crisis is

     18      unthinkably horrific.     It has scythed its way through our

     19      country like a pharmacological grim reaper.

     20                  And we have a shared goal to do the best we can

     21      for the most as quickly as possible; whether it's         getting

     22      this case out more quickly, maximizing the value of the

     23      estate or the emergency fund that the Debtors -- the

     24      emergency relief fund that the Debtors firmly support and

     25      have to figure out the details on, that's what we're all

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 150 Main
                                                                  of 179Document
                                 Pg 149 of 178
                                                                        Page 149

      1      here to do.

      2                  This motion is not simple but for the reasons I

      3      explained at length in my initial presentation, we do think

      4      that especially with the modifications in the order, it is

      5      -- painful as it is to talk about professional fees and not

      6      saving the money for victims, ultimately we think that it

      7      will get us all to more for those who need it most.

      8                  Thank you.

      9                  THE COURT:   Okay.    Anything else?

     10                  MR. PREIS:   Your Honor, did you want us to address

     11      your idea about not having fees paid until an RSA is signed

     12      with regard --

     13                  THE COURT:   Well, I was focusing on fees -- an

     14      allocation as opposed to due diligence.

     15                  MR. PREIS:   Yes.

     16                  THE COURT:   You know, et cetera.

     17                  MR. PREIS:   Did you want us to address that?       I --

     18                  THE COURT:   Well, if you have any thoughts on it.

     19                  MR. PREIS:   Okay.    So a couple of things.     Again

     20      because I don't want to get into settlement conversations et

     21      cetera.

     22                  But one of the things that was absolutely

     23      discussed -- you asked me earlier what other -- what

     24      possibilities or what changes would we have made to the

     25      order.

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 151 Main
                                                                  of 179Document
                                 Pg 150 of 178
                                                                          Page 150

      1                  One of the things we did discuss was this

      2      allocation issue and I told Mr. Huebner, we told

      3      Ms. Eckstein the same thing, which is putting something in

      4      the order that say you're not going to litigate about

      5      allocation doesn't solve anything.

      6                  I think they all know.          In fact, I'm going to get

      7      to why that I think they kind of all know this.            They all

      8      know that the real issue here for the states is the

      9      allocation issue which is why the first thing you said when

     10      you raised the issue, Mr. Eckstein said, no, no, no.            That

     11      -- we can't do that.        That's one of the most important

     12      things we're doing because that's actually from their

     13      perspective, almost as important as how much can we get for

     14      the estate.

     15                  The second thing is from the dissenting state

     16      perspective, it was kind of confusing to us why the

     17      dissenting states decided to support the consenting states

     18      having their fees paid when they're not getting paid.

     19                  And then it dawned on us, what's the common

     20      interest they have?     And then we saw in the order, right,

     21      FTIs, FTIs' work product only gets shared to the extent

     22      there's a common interest.         Well, what's their common

     23      interest?     Allocation.

     24                  And so the one thing that they're so focused on is

     25      allocation.     And so if you were to say to them, no.         You

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19-23649-rdd
        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 152 Main
                                                                  of 179Document
                                 Pg 151 of 178
                                                                        Page 151

      1      actually can't get those fees paid until an RSA is signed

      2      and then I'll make a decision at the time of the RSA, that

      3      actually puts pressure on them to come to a reasonable

      4      allocation as opposed to using -- as opposed to basically

      5      weaponizing the fees of the estate to be used against

      6      everybody else.

      7                  I think -- I just want to make sure that's --

      8                  THE COURT:     That rederick's a little inflammatory.

      9      I -- you know, these are 48 states.

     10            (Laughter)

     11                  THE COURT:     They have responsibilities to their

     12      people and to the people that elect their government.

     13                  So I don't really view it as weaponizing.        But I

     14      understand that when you're looking at the benefit for the

     15      money spent, you want to have a benefit that is actually

     16      reflected in as much achievement as you can.          So that's what

     17      led me to suggest that as opposed to I think a strong

     18      concern that the states, in fact, would do something that

     19      literally made no sense and would probably get their

     20      attorney generals perhaps having another job after the next

     21      election.

     22                  So -- all right.      Having you been defended by Your

     23      Honor -- by me, I don't know if you have anything more to

     24      say on that.

     25                  MR. HUEBNER:     Your Honor, we rest on our papers.

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19-23649-rdd
        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 153 Main
                                                                  of 179Document
                                 Pg 152 of 178
                                                                        Page 152

      1                  THE COURT:     Okay.    Thank you.

      2            (Laughter)

      3                  MR. HUEBNER:     That's the only time in my life my

      4      argument has been shorter than my opponents.

      5            (Laughter.

      6                  THE COURT:     All right.      All right.

      7                  I have before me a motion by the Debtors for

      8      either approval of their entry into or the approval of the

      9      assumption of any fee reimbursement letter, a copy of which

     10      is attached to the motion whereby they would agree to have

     11      the estate pay the reasonable fees and expenses of certain

     12      designated professionals for the loop of plaintiffs who pre-

     13      bankruptcy had agreed to a settlement framework with the

     14      Debtors.    That has now been embodied in a term sheet.

     15                  The agreement has been modified as reflected in

     16      the proposed order submitted to chambers late last week and

     17      discussed on the record today and provided to the parties.

     18      But the basic concept is the same which is that the work

     19      that the four designated law firms and currently one

     20      designated financial advisor would be doing during the

     21      course of this case, not subject to strong rights of the

     22      Debtors to terminate the agreement, however, would be paid.

     23                  Because the Debtors are in bankruptcy such a

     24      proposal needs to be put forth and subject to notice of a

     25      hearing and the agreement has received a number of

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 154 Main
                                                                  of 179Document
                                 Pg 153 of 178
                                                                        Page 153

      1      objections as well as support from the other large group of

      2      states who have not yet agreed to a settlement framework in

      3      this case but are, in certain respects, working with the ad

      4      hoc committee that has reached a settlement framework.

      5                  The first issue for me to consider is whether the

      6      rubric under which the Debtors are seeking approval of the

      7      reimbursement agreement is permissible.

      8                  The United States Trustee has taken the position

      9      that because fees are at issue and obviously these are not

     10      the fees and expenses of professionals to be compensated

     11      under Section 330 and 331 of the Code, and that they're not

     12      retained under Section 327 or 1104 of the Code, that the

     13      only source for the authority to pay such fees and expenses

     14      appears in Section 503(b) of the Bankruptcy Code and

     15      specifically 503(b)(3) or (4) of the Code.

     16                  The Debtors, on the other hand, contend that I

     17      have the separate power to approve their motion as the

     18      assumption of a contract under Section 365 of the Code or

     19      for a proposed use of the estate's assets, in this case

     20      cash, under Section 363(b) of the Bankruptcy Code.

     21                  Other courts have addressed this issue before.

     22      The U.S. Trustee relies heavily, perhaps, you know, almost

     23      exclusively on In Re. Lehman Brothers Holdings, Inc, David

     24      V. Elliott Management Corp. 508 Br. 283 SDNY 2014, in which

     25      the district court reversed the Bankruptcy Court on a

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 155 Main
                                                                  of 179Document
                                 Pg 154 of 178
                                                                        Page 154

      1      reserved issue that was reserved at the time of the

      2      confirmation of the Lehman Brothers Chapter 11 plan.

      3                   That issue was whether the plan itself could

      4      provide for the payment of previously incurred fees and

      5      expenses of committee -- creditors' committee members,

      6      including their counsel, under a standard separate and apart

      7      from Section 503(3) of the Bankruptcy Code.         For example,

      8      under Section 1129(a)(4) of the Bankruptcy Code.

      9                   In that case, Judge Sullivan concluded that 503(b)

     10      was the only source for paying such a claim and that

     11      Congress had specifically deleted the types of fees for

     12      committee members from the statute and therefore found that

     13      that provision of the plan could not stand.

     14                   On the other hand, the issue was directly raised

     15      on a case that I believe is much more on point in In Re.

     16      Bethlehem Steel Corp., 2003 WL 217, 38964, SDNY July 23,

     17      2003, in which District Judge Mukasey overruled an objection

     18      by the U.S. Trustee made on essentially the same basis as

     19      the objection before me and affirmed Bankruptcy Judge

     20      Lifland's approval of the Debtors' payment of the ongoing

     21      fees and expenses of the United Steelworkers of America

     22      Captain, and subject to review, as set forth in that

     23      agreement.

     24                   This was an unsecured -- this was a creditor that

     25      held an unsecured claim.      It clearly was not being retained

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 156 Main
                                                                  of 179Document
                                 Pg 155 of 178
                                                                        Page 155

      1      under Section 327 or 1104 and was not seeking payment under

      2      503(b).     Nevertheless, in a thoughtful opinion, Judge

      3      Mukasey affirmed Judge Lifland, in concluding that under

      4      Section 363(b) the payment was warranted and not precluded

      5      by Section 503 of the Bankruptcy Code.

      6                   The Court noted that these were for ongoing work.

      7      These fees would be paid for ongoing work as opposed to for

      8      past work and that the motion was made by the debtor as

      9      opposed to by a creditor.

     10                   The Court further said that subsections

     11      503(b)(3)(d) and (b)(4) are not rendered meaningless simply

     12      because a certain unique -- in certain unique circumstances

     13      the bankruptcy court approves a debtor's motion to enter

     14      into an agreement to reimburse a creditor for professional

     15      fees.

     16                   In most cases, a debtor will make no such motion

     17      as it will not be in its business interest to do so or the

     18      Court will refuse approval under Section 363(b).         That's in

     19      most cases if the creditor wants to be reimbursed, it must

     20      file an application under subsections 503(b)(3)(d) and

     21      (b)(4).

     22                   Those provisions continue to serve a purpose, a

     23      separate purpose.

     24                   I agree with that analysis and will note that just

     25      as Judge Mukasey and Judge Lifland noted in Bethlehem Steel,

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 157 Main
                                                                  of 179Document
                                 Pg 156 of 178
                                                                        Page 156

      1      there are a number of cases under the Bankruptcy Code are

      2      fact patterns under the Bankruptcy Code where Courts have

      3      approved payments of ongoing fees and expenses not under

      4      Section 503(b) but under Section 363(b) or sometimes under

      5      Section 365.

      6                   The most common is in connection with the debtor's

      7      request for approval or a restructuring support agreement

      8      that has garnered the support of some but not all of the

      9      debtor's creditors.     Often those agreements are with secured

     10      creditors but it's not clear whether they are over secured

     11      and therefore would have a right to attorney's fee.          But

     12      they are also in the past have been with unsecured

     13      creditors.

     14                   As Judge Mukasey noted, Courts have also approved

     15      paying reasonable fees and expenses of -- including legal

     16      fees of proposed bidders for the debtor's assets under

     17      Section 363 notwithstanding the potential applicability of

     18      503.   In fact, the Third Circuit made a distinction in the

     19      Applied Energy case discussed in Bethlehem Steel where there

     20      was no advance approval of such a request.          The debtor

     21      didn't seek approval until thereafter and the disappointed

     22      bidder made its request, it had to make it under Section 503

     23      and it was reviewed under 503.

     24                   But obviously the facts of the case are

     25      distinguishable from countless cases where courts have

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              Doc 550 Filed Doc
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                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 158 Main
                                                                  of 179Document
                                 Pg 157 of 178
                                                                        Page 157

      1      approved at the debtor's request the payment of fees and

      2      expenses as part of (indiscernible) procedures.

      3                  Also courts have approved the fees and expenses of

      4      secured creditors in the case fairly routinely in cash

      5      collateral orders even where there's no showing that the

      6      debtors -- that the collateral serving for the secured

      7      creditor is sufficient to cover not only the debt but also

      8      the fees and therefore the secured creditor would be

      9      entitled to the fees.     And there's no showing of the need to

     10      pay them as part of adequate protection.

     11                  Nevertheless, they're paid because of the role

     12      that the secured creditor is playing in the case.

     13                  So I conclude that the proper standard to review

     14      this motion under is, in fact, the standard applicable which

     15      I believe is applicable to both sections, 363(b) and Section

     16      365 of the Bankruptcy Code.

     17                  I will note that there is case law that --

     18      including in this District declines to approve the

     19      assumption of an agreement under Section 365 that provides

     20      for the payment of the debtor's attorney fees.         See In Re.

     21      Financial News Network, Inc., 134 Br. 732 Br. SDNY 1991,

     22      which was a clear runaround the requirements of Section 330

     23      and 331 of the Bankruptcy Code.

     24                  But, ultimately whether I'm applying 365 or 363(b)

     25      here, I believe it's the same standard for me to apply which

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 159 Main
                                                                  of 179Document
                                 Pg 158 of 178
                                                                        Page 158

      1      is whether the entry into the agreement and the performance

      2      of it including the ongoing payment of the professional fees

      3      is a proper exercise of business judgement and in the best

      4      interest of the debtors and their estates and creditors.

      5                   The case law as to the determination of what is a

      6      proper exercise of business judgment is I believe fairly

      7      clear in the Second Circuit and it is clear that

      8      notwithstanding the Integrated Resources case often cited by

      9      debtors in Section 363(b) motions, the Second Circuit has

     10      made it clear since that case that ultimately the bankruptcy

     11      judge has to make the decision as to whether the debtor has

     12      exercised proper business judgment in taking the action out

     13      of the ordinary course and/or assuming a pre-petition

     14      contract under Section 365.       See In Re. Orion Pictures

     15      Corp., 4 F.3d, 1095, 1099, Second Circuit 1993.

     16                   Most of the time most actions out of the ordinary

     17      course are unopposed.     If that's the case, the court

     18      ordinarily will defer to the debtor's judgment in entering

     19      into the agreement.     Although, even then, the court has an

     20      obligation to make sure that that judgment makes sense.          See

     21      In Re. Genco Shipping & Trading Ltd, 509 Br. 455, 463, Br.

     22      SDNY 2014.

     23                   But I believe clearly given the fact that Congress

     24      requires both under 363(b) and 365 of the Bankruptcy Code,

     25      notice of the opportunity for a hearing that where there are

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 160 Main
                                                                  of 179Document
                                 Pg 159 of 178
                                                                           Page 159

      1      objections in particular, the Court needs to carefully weigh

      2      all the opposing views as well as the views stated             in

      3      support of the motion to determine, in its judgment, whether

      4      the decision is a good one or note.

      5                   The fact is that often in bankruptcy cases as much

      6      as the code and courts urge parties in interest to work

      7      together to a common goal, there are different points of

      8      view that are almost structurally required and ultimately

      9      that is why I believe Congress made the Court the final

     10      arbiter as to what makes good business sense for something

     11      like this.

     12                   Given my review of the motion and the supporting

     13      papers, as well as the objections to the motion, as well as

     14      oral argument today, it's first clear to me that the facts

     15      are largely undisputed.

     16                   The Debtors' cases are highly unusual.          It may be

     17      there are more like them in the future.             But the Debtors are

     18      largely in a sua generous position whereby they have already

     19      agreed to turn over all of their value to their creditors.

     20                   The question is whether that agreement should be

     21      augmented by a specific set of terms basically agreed with

     22      the ad hoc consenting group or whether additional terms can

     23      be agreed to that pertain to third parties of the Debtors'

     24      shareholders and further and as equally important how the

     25      resulting estate should be distributed to the creditors.

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 161 Main
                                                                  of 179Document
                                 Pg 160 of 178
                                                                        Page 160

      1                  The unusual perhaps unique issue in these cases is

      2      that there is a distinct possibility that the allocation

      3      issues could either be dealt with in an efficient and fair

      4      way that's respectful of the various parties-in-interest in

      5      this case or the parties can spend an inordinate amount of

      6      time disputing them to all their detriment.

      7                  One would think if you sit in bankruptcy court

      8      every day, as I do, that that issue also is common to

      9      bankruptcy cases.    And, as I just articulated, it is.        What

     10      is different here, however, is that this is a fundamentally

     11      public health crisis driven case where the claimants, in one

     12      sense, can be almost every citizen in the country.         That is

     13      why every state, except the two states that have already

     14      settled with these Debtors, has taken a highly active role

     15      not only in this case but in the litigation that preceded

     16      this case in federal and state court.

     17                  Thus deciding how the public at large is to

     18      benefit from the agreement that the Debtors have already

     19      made and a potential agreement from their shareholders is

     20      truly unusual.

     21                  It appears clear to me that we would not be in

     22      this place but for the work done by the states in general

     23      and that has been acknowledged by those who have objected to

     24      this motion as well as the Debtors.

     25                  It's also clear to me that the states have a

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 162 Main
                                                                  of 179Document
                                 Pg 161 of 178
                                                                         Page 161

      1      unique role in these cases because of their unique position.

      2      First of all, they are the sovereign state governments of

      3      the 48 states involved.

      4                    Secondly,   because of that, they have unique

      5      rights under the Bankruptcy Code.           Those rights can be

      6      tested in a wasteful way or they can be reserved for a

      7      future day if the states are satisfied that the process is

      8      proceeding in a way that is credible and acceptable to them.

      9                    At this point in the case, the latter, to my

     10      relief, appears to be the approach that the states have

     11      taken.      Not only the ad hoc group of so-called settling

     12      states but also the ad hoc group of non-settling states.

     13                    But those types of issues I believe need to be

     14      dealt with sensitively throughout these cases.           I think it's

     15      correct that the Debtors recognize the unique role that the

     16      states have played and will continue to play in these cases.

     17      And, frankly, I believe that such recognition is in the best

     18      interests of all of the Debtors' creditors.

     19                    It is clear to me from today's record that the

     20      states need to perform their own analysis, their own due

     21      diligence, and be heavily involved in the rest of these

     22      cases as they have been so far.

     23                    While it appears to me that we are quite fortunate

     24      in this case to have an active and well represented official

     25      committee of unsecured creditors, the states' interests are,

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 163 Main
                                                                  of 179Document
                                 Pg 162 of 178
                                                                        Page 162

      1      as I said before, unique and require unique steps to insure

      2      that they are dealt with in a sensitive and an appropriate

      3      way.

      4                  I believe it is reasonable for them to want to

      5      perform their own due diligence, do their own analysis, and

      6      it is in the interests of the Debtors' estates and creditors

      7      that they do so in an efficient and organized way which

      8      means focusing their work through point counsel and point

      9      decision makers who then develop transparent ways to

     10      communicate to their colleagues.

     11                  The question is is it necessary, or at least a

     12      good business decision, to pay for that work at this time as

     13      the motion proposes.

     14                  That is not an easy question to answer as

     15      evidenced by the well argued objections under Section 363

     16      while applying Section 363(b)'s standard and it's my job to

     17      sift through whether this expenditure of that money just in

     18      terms of sheer dollar amount as well as any affect that that

     19      expenditure would have on these cases is a proper exercise

     20      of business judgment.

     21                  Any dollar that the Debtor can spend to solve the

     22      health crisis that is the reason for its case one would

     23      believe is a dollar well spent.        So taking any dollar away

     24      from that is a difficult decision to make.

     25                  However, it is also the case that because of the

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 164 Main
                                                                  of 179Document
                                 Pg 163 of 178
                                                                        Page 163

      1      context of this case and the difficult issues it raises,

      2      dollars will need to be spent to resolve those issues in an

      3      efficient and fair way.     The Debtor just can't put a chest

      4      of money out on the street and say come and get it.

      5                   Instead, the parties-in-interest need to approach

      6      the problems that this case presents in a very thoughtful

      7      and creative way.     That takes times and it takes money.

      8                   The creditors committee and its allies in

      9      connection with the objection to this motion takes the view

     10      that this -- the expenditure of any money here is premature

     11      because we are not yet at the stage where -- let alone there

     12      is a plan but there's not even a restructuring support

     13      agreement.

     14                   It also notes that the cost of this motion could

     15      be high although I take issue necessarily with the view that

     16      it would be 15 to 20 million dollars because that is a cost

     17      spread over several months and the Debtor has the right, at

     18      any time, to opt out of this agreement and the agreement, in

     19      any event, unless extended, ends, if there is no RSA, by, in

     20      essence, a month of so from now.

     21                   So I view the issue about whether this relief is

     22      premature a little differently.        It seems to me that with

     23      the limitations imposed by the changes to the proposed

     24      order, the work that would be compensated here would be

     25      appropriately compensated and be to the benefit of all the

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 165 Main
                                                                  of 179Document
                                 Pg 164 of 178
                                                                         Page 164

      1      parties in this case.     As far as the analyses of the Debtors

      2      and their business, which includes difficult analyses about

      3      not only their -- the value of those businesses but also how

      4      to monetizes them including non-debtor entities and also due

      5      diligence and work in connection with analyses of causes of

      6      action that the Debtors have that may well be equal to or

      7      greater than the value of their hard assets and their

      8      businesses.

      9                  I believe that's what is now appropriately

     10      compensated under this revised agreement.

     11                  The committee has argued that that work will be

     12      done anyway if I don't approve this agreement and it is

     13      possible that some portion of it will be.           However, as I

     14      said during oral argument, this motion is as much, if not

     15      more, about bringing structure to this case as it is about

     16      the actual hard dollars spent on paying for the work to be

     17      done.

     18                  I believe without such a structure, i.e., where

     19      there are clear lines of communication and clearly defined

     20      roles for the professionals for the ad hoc group, there

     21      would be a substantial risk that the trust, based on

     22      assessments of the Debtors' credibility, that has been

     23      generated over the last three months or so, would be frayed

     24      and potentially lead to what I believe would be a major step

     25      back in this case which is or which would be various states

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 166 Main
                                                                  of 179Document
                                 Pg 165 of 178
                                                                         Page 165

      1      and the PEC group feeling that they were on their own and

      2      taking therefore diverse and unorganized positions.

      3                  Besides the due diligence, the next major step in

      4      this case, which I've already, and I know I sound like a

      5      broken record, but I've said it two or three times now,

      6      needs to be focused is creative thinking about the

      7      allocation of the Debtors' assets.

      8                  I continue to believe that the states play a major

      9      role in that process.     The role I'm envisioning for them is

     10      not one where they say we get everything.           I think that

     11      should be clear and I think it is clear to them.

     12                  But, rather, where they act as -- in the best

     13      principles of federalism, for their state, the coordinator

     14      for the victims in their state.

     15                  Thus, I would expect the people from Mr. Neiger's

     16      group, for example, to be working with the states closely to

     17      maximize benefits because it appears to me from his

     18      description of his group that they're not so much focusing

     19      on individual claims as a way to deal with a whole host of

     20      individuals.

     21                  And there may be very good ways to do that in a

     22      particular state and less good ways in another state and I

     23      hope that the states will act as a way to coordinate that

     24      type review.

     25                  There is a legitimate concern that those hopes

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 167 Main
                                                                  of 179Document
                                 Pg 166 of 178
                                                                        Page 166

      1      will not be fulfilled.     I don't think that will be the case.

      2      I think the states appreciate that this money needs to go

      3      where it is most in need of going and that          we don't repeat

      4      the experience of some states from the tobacco settlements,

      5      for example.

      6                  But because of that concern, even though I believe

      7      it is not the likely outcome in this case, I think that

      8      there should be two additional conditions on certain of the

      9      work reimbursement.

     10                  First, I believe work done on this critical issue

     11      of allocation should, like the pre-petition work covered by

     12      the agreement now, be payable upon the earlier of the

     13      Court's approval of an RSA or confirmation of a plan.

     14                  For those of you who are not bankruptcy lawyers

     15      that doesn't mean that I'm disapproving it.          Rather, I would

     16      look at the time that an RSA is proposed and see whether it,

     17      in fact, makes good business sense and that may not mean

     18      that it has to be universally accepted but that it is a

     19      focal point for moving the case to the next step.

     20                  I want to be clear that what I'm conditioning on

     21      the approval of an RSA is not all of the work but just work

     22      on the allocation issue and, knowing the professionals

     23      involved, I know they know how to bill by separate tasks to

     24      cover that.

     25                  Secondly, I believe that that RSA needs to have

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 168 Main
                                                                  of 179Document
                                 Pg 167 of 178
                                                                        Page 167

      1      within it, if not -- and I'm not ruling out anything before

      2      then, but it needs to have within it a valid and credible

      3      proposal for the emergency use before confirmation of a

      4      plan, of a substantial amount of the Debtors' cash because I

      5      do think it is important for the parties-in-interest to be

      6      focusing on that use now.

      7                   I appreciate that those two conditions put the ad

      8      hoc group at some risk for some portion of the fees at issue

      9      here.   On the other hand, I believe that that risk to them

     10      is minimal given how they've conducted themselves so far in

     11      this case and my belief that past is prologue, i.e., that

     12      they will continue to be constructive; continue to try to

     13      achieve consensus and, most importantly, consistent with

     14      their roles as representatives of individual states as well

     15      as the plaintiffs who have -- who brought the pre-petition

     16      litigation, that brought us to where we are today, will see

     17      the need to continue to contribute in these cases in a way

     18      that brings the parties together in an efficient and fair

     19      way.

     20                   So, with the changes that had previously been

     21      agreed to, all of which I believe were well considered and

     22      warranted, I will approve the motion with those two

     23      additions.

     24                   MR. HUEBNER:     Your Honor, I would never agree to

     25      leave a hearing with the Court having a potential factual

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19-23649-rdd
        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 169 Main
                                                                  of 179Document
                                 Pg 168 of 178
                                                                         Page 168

      1      mis-impression.     So there is one small thing you said that I

      2      actually don't think is --

      3                  THE COURT:     The date for the RSA?

      4                  MR. HUEBNER:     Correct.      Let me explain because

      5      it's actually three different documents have to actually all

      6      be tracked to understand it.         In fact, everyone needs to

      7      understand it and certainly the Court most of all.

      8                  The September 15th fee letter contains a

      9      termination right for the Debtors if an RSA is not executed

     10      by the parties by December 13th, 2019, unless extended by

     11      the company.

     12                  THE COURT:     Right.

     13                  MR. HUEBNER:     So we have -- originally we were

     14      trying to pace them to a fast schedule and we had a

     15      termination right unless we chose to extend it.

     16                  THE COURT:     Right.

     17                  MR.   HUEBNER:    Then on October 11, that I'm pretty

     18      sure I won't misspeak, because I actually have it in my

     19      speech in a footnote in case it came up, the UCC stipulation

     20      that we agreed to we discussed earlier today obligates us

     21      not to get approval for an RSA unless the UCC consents to it

     22      before April 8th, 2020.       The exact words for the avoidance

     23      of doubt.

     24                  The Debtors agree that during the initial stay

     25      period they will not, one, file a Chapter 11 plan, or

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 170 Main
                                                                  of 179Document
                                 Pg 169 of 178
                                                                            Page 169

      1      disclosure statements for any of the Debtors or, two, a

      2      motion seeking approval of a restructuring support agreement

      3      or a similar agreement with any party, in each case, absent

      4      the support of the UCC.       So, that's two.

      5                  Then three is the term sheet with the ad hoc group

      6      that was entered into three days before.              That gives them a

      7      right to seek to terminate the stay if we do not have an RSA

      8      approved by (indiscernible).

      9                  So just -- unless I misheard --

     10                  THE COURT:     But you still have the right to

     11      terminate it December 13th.

     12                  MR. HUEBNER:     A hundred percent, Your Honor.         My

     13      only point is you -- I believe you said, and forgive me if I

     14      misheard, although I don't think that I did, this may all be

     15      resolved in a month anyway.

     16                  THE COURT:     Well, if the people aren't working

     17      they way they're supposed to, you can terminate it.

     18                  MR. HUEBNER:     Yes.    My only point is we would be

     19      violating our stip with the UCC.

     20                  THE COURT:     To file something.

     21                  MR. HUEBNER:     To --

     22                  THE COURT:     I understand that.

     23                  MR. HUEBNER:     -- move for approval which we have

     24      no plans to do.

     25                  THE COURT:     I understand that.

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 171 Main
                                                                  of 179Document
                                 Pg 170 of 178
                                                                          Page 170

      1                  MR. HUEBNER:     I apologize if I thought any one --

      2      no one anything they don't already know but I just thought

      3      that the interplay of the documents is not simple.

      4                  THE COURT:     Right.

      5                  MR. HUEBNER:     And I want -- I wanted to be clear

      6      for myself.

      7                  THE COURT:     But you do have a reality check.       You

      8      see --

      9                  MR. HUEBNER:     Every morning.

     10                  THE COURT:     -- that this is -- well.       But -- but I

     11      mean you can --

     12                  MR. HUEBNER:     No, no.     That's not humor at all.

     13                  THE COURT:     No.   But you can literally opt out --

     14                  MR. HUEBNER:     Every morning.

     15                  THE COURT:     -- in a month.

     16                  MR. HUEBNER:     Or a week.       Or two weeks or three.

     17                  THE COURT:     Although I doubt you would do that.

     18                  MR. HUEBNER:     I think that's probably --

     19                  THE COURT:     So I guess the one aspect that I

     20      should clarify is that the emergency fund point is like an

     21      outside for the term sheet that I said because that would be

     22      an April.

     23                  MR. HUEBNER:     After April frankly.

     24                  THE COURT:     Hopefully people will focus on that

     25      before then, too.

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 172 Main
                                                                  of 179Document
                                 Pg 171 of 178
                                                                                 Page 171

      1                   MR. HUEBNER:     Yeah.     Your Honor, you know, if

      2      (indiscernible) and it's aftermath taught anybody wise

      3      anything, it's that when Judge Drain expresses his views

      4      very clearly several times in open court, it probably makes

      5      sense to listen.

      6                   I'm pretty confident that parties understand

      7      exactly what the Court believes is the right set of things

      8      to do in the coming weeks.

      9                   The Debtors I believe certainly do and we'll be

     10      back to the table as soon as we leave the courtroom.

     11                   THE COURT:     All right.      So you're going to have to

     12      obviously revise the order somewhat.

     13                   MR. HUEBNER:     Yes.     And will settle it obviously

     14      with the objectors.

     15                   THE COURT:     Well, you don't have to formally

     16      settle it but you should circulate it.

     17                   MR. HUEBNER:     That's what I meant.          Yes.

     18                   THE COURT:     Okay.     All right.       Very good.    Thank

     19      you.

     20              (Whereupon, the proceedings were concluded at 2:24

     21      p.m.)

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                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 173 Main
                                                                  of 179Document
                                 Pg 172 of 178
                                                                        Page 172

      1                                    I N D E X

      2

      3                                     RULINGS

      4                                                                     Page

      5      Motion of Debtors for Entry of an Order

      6      (I) Authorizing the Rejection of Commercial Lease

      7      and (II) Granting Related Relief filed by Eli J.

      8      Vonnegut on behalf of Purdue Pharma L.P. (ECF 435)              19

      9

     10      Motion of Debtors for Authority to Employ

     11      Professionals Used in the Ordinary Course of Business

     12      Nunc Pro Tune to the Petition Date filed by Eli J.

     13      Vonnegut on behalf of Purdue Pharma L.P. (ECF 128)              21

     14

     15      Debtors' Motion Establishing Procedures for Interim

     16      Compensation and Reimbursement of Expenses for Retained

     17      Professionals filed by Eli J. Vonnegut on behalf of

     18      Purdue Pharma L.P. (ECF 434)                                    22

     19

     20      Application of Debtors for Authority to Retain and

     21      Employ Dechert LLP as Special Counsel to the Debtors

     22      Nunc Pro Tune to the Petition Date filed by Eli J.

     23      Vonnegut on behalf of Purdue Pharma L.P. (ECF 424)              25

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 174 Main
                                                                  of 179Document
                                 Pg 173 of 178
                                                                        Page 173

      1                                    I N D E X

      2

      3                                     RULINGS

      4                                                                     Page

      5      Application of Debtors for Authority to Retain and

      6      Employ King & Spalding LLP as Special Counsel to the

      7      Debtors Nunc Pro Tune to the Petition Date filed by

      8      Eli J. Vonnegut on behalf of Purdue Pharma L.P.

      9      (ECF 427)                                                       25

     10

     11      Debtors' Application for Authority to Retain and

     12      Employ AlixPartners, LLP as Financial Advisor Nunc

     13      Pro Tune to the Petition Date filed by Eli J.

     14      Vonnegut on behalf of Purdue Pharma L.P. (ECF 429)              27

     15

     16      Debtors' Application for an Order Authorizing

     17      Employment and Retention of Prime Clerk LLC as

     18      Administrative Advisor Nunc Pro Tune to the

     19      Petition Date filed by Eli J. Vonnegut on behalf of

     20      Purdue Pharma L.P. (ECF 439)                                    27

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                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 175 Main
                                                                  of 179Document
                                 Pg 174 of 178
                                                                        Page 174

      1                                    I N D E X

      2

      3                                     RULINGS

      4                                                                     Page

      5      Application of the Official Committee of Unsecured

      6      Creditors of Purdue Pharma L.P., et al. to Retain and

      7      Employ Akin Gump Strauss Hauer & Feld LLP as Counsel,

      8      Nunc Pro Tune to September 26, 2019 filed by Ira S.

      9      Dizengoff on behalf of The Official Committee of

     10      Unsecured Creditors of Purdue Pharma L.P., et al.

     11      (ECF 421)                                                       25

     12

     13      Application of the Official Committee of Unsecured

     14      Creditors for Entry of an Order Authorizing Retention

     15      and Employment of Bayard, P.A. as Efficiency Counsel

     16      to the Official Committee of Unsecured Creditors,

     17      Nunc Pro Tune to September 29, 2019 filed by Ira S.

     18      Dizengoff on behalf of The Official Committee of

     19      Unsecured Creditors of Purdue Pharma L.P., et al.

     20      (ECF 422)                                                       25

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 176 Main
                                                                  of 179Document
                                 Pg 175 of 178
                                                                        Page 175

      1                                    I N D E X

      2

      3                                     RULINGS

      4                                                                     Page

      5      Application of the Official Committee of Unsecured

      6      Creditors of Purdue Pharma L.P., et al. to Retain and

      7      Employ Province, Inc. as Financial Advisor Nunc Pro

      8      Tunc to October 1, 2019 filed by Ira S. Dizengoff on

      9      behalf of The Official Committee of Unsecured Creditors

     10      of Purdue Pharma L.P, et al. (ECF 423)                          27

     11

     12      Application for Order Authorizing Employment and

     13      Retention of Jefferies LLC as Investment Banker to

     14      the Official Committee of Unsecured Creditors Nunc Pro

     15      Tunc to October 4, 2019 filed by Ira S. Dizengoff on

     16      behalf of The Official Committee of Unsecured Creditors

     17      of Purdue Pharma L.R, et al. (ECF 425)                          27

     18

     19      Application of the Official Committee of Unsecured

     20      Creditors of Purdue Pharma L.P., et al. to Retain and

     21      Employ Kurtzman Carson Consultants LLC as Information

     22      Agent, Nunc Pro Tune to November 1, 2019 filed by Ira S.

     23      Dizengoff on behalf of The Official Committee of

     24      Unsecured Creditors of Purdue Pharma L.R, et al.

     25      (ECF 426)                                                       27

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              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 177 Main
                                                                  of 179Document
                                 Pg 176 of 178
                                                                        Page 176

      1                                    I N D E X

      2

      3                                     RULINGS

      4                                                                     Page

      5      Motion of the Official Committee of Unsecured

      6      Creditors of Purdue Pharma L.R, et al. for Entry of

      7      an Order Clarifying the Requirement to Provide Access

      8      to Confidential or Privileged Information and Approving

      9      a Protocol Regarding Creditor Requests for Information

     10      filed by Ira S. Dizengoff on behalf of The Official

     11      Committee of Unsecured Creditors of Purdue Pharma

     12      L.R, et al. (ECF 415)                                           28

     13

     14      Motion of Debtors for Entry of Interim and Final

     15      Orders Authorizing (I) Debtors to Continue to Use

     16      Existing Cash Management Systems and Maintain Existing

     17      Bank Accounts and Business Forms and (II) Financial

     18      Institutions to Honor and Process Related Checks and

     19      Transfers filed by Eli J. Vonnegut on behalf of Purdue

     20      Pharma L.R (ECF 5)                                              51

     21

     22      Application of Debtors for Authority to Employ and

     23      Retain Davis Polk & Wardwell LLP as Attorneys for the

     24      Debtors Nunc Pro Tune to the Petition Date filed by Eli

     25      J. Vonnegut on behalf of Purdue Pharma L.R (ECF 419)            38

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 178 Main
                                                                  of 179Document
                                 Pg 177 of 178
                                                                        Page 177

      1                                    I N D E X

      2

      3                                     RULINGS

      4                                                                     Page

      5      Application of Debtors for Authority to Retain and

      6      Employ Skadden, Arps, Slate, Meagher & Flom LLP as

      7      Special Counsel to the Debtors Nimc Pro Tune to the

      8      Petition Date filed by Eli J. Vonnegut on behalf of

      9      Purdue Pharma L.R (ECF 438)                                     38

     10

     11      Application of Debtors for Authority to Retain and

     12      Employ Wilmer Cutler Pickering Hale and Dorr LLP as

     13      Special Counsel to the Debtors Nunc Pro Tune to the

     14      Petition Date filed by Eli J. Vonnegut on behalf of

     15      Purdue Pharma L.R (ECF 427)                                     38

     16

     17      Motion to Assume the Prepetition Reimbursement

     18      Agreement with Ad Hoc Committee, and to Pay the Fees

     19      and Expenses of the Ad Hoc Committee's Professionals

     20      filed by Eli J. Vonnegut on behalf of Purdue Pharma

     21      L.P. (ECF 394)                                                  167

     22

     23

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        Case 22-11068-JTD
              Doc 550 Filed Doc
                            11/27/19
                                3724-4Entered
                                         Filed 11/12/23
                                               11/27/19 10:48:17
                                                         Page 179 Main
                                                                  of 179Document
                                 Pg 178 of 178
                                                                           Page 178

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